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                       UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION




ST. CLAIR COUNTY EMPLOYEES
RETIREMENT SYSTEM, Individually and on
Behalf of All Others Similarly Situated,

                         Plaintiff,

vs.                                         No. 3:18-cv-00988


ACADIA HEALTHCARE COMPANY, INC., et al.,

                         Defendants.




                            EXPERT REPORT

                                       OF

                             LUCY P. ALLEN


                               February 28, 2022




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I.        SCOPE OF ASSIGNMENT

          1.       I have been asked by counsel for Defendants to analyze price impact of the
allegedly false and misleading statements and/or omissions related to Acadias U.S. operations
that Plaintiffs claim inflated Acadia Healthcare Company, Inc.s (Acadia or the Company)
stock price between April 30, 2014 and November 15, 2018 (the alleged Class Period).1 For
the purpose of this analysis of price impact, I have been asked to assume Plaintiffs claim of
market efficiency.



II.       SUMMARY OF FINDINGS

          2.       Plaintiffs theory is that Acadia made alleged misrepresentations regarding the
quality, staffing and compliance at Acadias U.S. facilities and that those statements
impacted Acadias stock price and caused the price to be artificially inflated. According to
Plaintiffs, this inflation was eliminated by two alleged corrective disclosuresthe Aurelius
Value report and the Seeking Alpha article. Plaintiffs claim that the Aurelius Value and Seeking
Alpha reports disclosed systematic instances of patient abuse and neglect and severe
problems at Acadias facilities, caused primarily by understaffing and consistent with declining
quality of care.2

          3.       I find no price impact from the alleged misrepresentations related to Acadias
U.S. operations because there is no link between Acadias stock price movements and the alleged
misrepresentations or the correction of the alleged misrepresentations. In particular, Acadias
stock did not react when information that was corrective of the alleged misrepresentations was
released to the market. There was no price reaction to the alleged corrective information in either
the Aurelius Value report or the Seeking Alpha article. Moreover, there was no price reaction to
other disclosures of the type of information Plaintiffs allege is corrective that was released
during the alleged Class Period. Thus, the lack of price reaction to corrective disclosures of the




1
     Consolidated Complaint for Violations of the Federal Securities Laws, dated April 1, 2019 (Complaint), ¶1.
2
     Complaint, ¶¶185 and 190.


                                                                            1
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alleged misrepresentations demonstrates that the alleged misrepresentations did not have price
impact.

          4.       I find that there was no statistically significant reaction in Acadias stock price to
the Aurelius Value report, the first alleged corrective disclosure. According to Plaintiffs experts
event study, as well as an alternative event study I conducted, Acadias stock price reaction to
the Aurelius Value report, after controlling for market and industry movements, is within the
range of normal expected daily variation in the stock price, and cannot be distinguished from
zero. In other words, according to Plaintiffs experts own event study, there was no price
reaction to this allegedly corrective disclosure as the movement of the price on this date is just
the usual noise.3 The fact that the release of the very information that is purportedly corrective
of the alleged misrepresentations regarding Acadias U.S. operations did not cause any
statistically significant reaction in Acadias stock price affirmatively demonstrates that the
alleged misrepresentations regarding Acadias U.S. operations did not have price impact on
Acadias stock.

          5.       I find that Acadias stock price also did not react to the Seeking Alpha article, the
second alleged corrective disclosure. The intraday price movements and trading volume of
Acadias stock, as well as analyst and market commentary, show that the price decline on
November 16, the date of the Seeking Alpha article, was not due to the information allegedly
disclosed in the Seeking Alpha article but rather due to negative news about the potential sale of
Acadia  news that is unrelated to the alleged fraud  which demonstrates that the alleged
misrepresentations regarding Acadias U.S. operations did not have price impact.

          6.       In addition, I find that the information regarding the quality, staffing and
compliance in Acadias U.S. facilities of the type Plaintiffs allege is corrective of the alleged
misrepresentations was released on a number of occasions during the alleged Class Period. There
was no market reaction after any of these announcements, demonstrating that the alleged
misrepresentations did not have price impact. The lack of price impact of the alleged
misrepresentations is consistent with the generic nature of many of the alleged
misrepresentations.



3
    Dalrymple Deposition at 137:19-23 and 169:5-11.


                                                                            2
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III.   QUALIFICATIONS AND REMUNERATION

            A.   Qualifications

       7.        I am a Managing Director of NERA Economic Consulting (NERA) and a
member of NERAs Securities and Finance Practice. NERA provides practical economic advice
related to highly complex business and legal issues arising from competition, regulation, public
policy, strategy, finance, and litigation. NERA was established in 1961 and now employs
approximately 500 people in more than 20 offices worldwide. NERAs Securities and Finance
Practice, which performs research in securities and financial markets, dates from the early 1970s
and employs a research staff of more than 100 professionals holding degrees in economics,
finance, and mathematics. The practice group counts among its clients major securities
exchanges, risk managers, principals needing valuation services, and parties in litigation.

       8.        I have an A.B. from Stanford University, an M.B.A. with a concentration in
Finance and Accounting from Yale University, and M.A. and M. Phil. degrees in Economics,
also from Yale University. Prior to joining NERA, I was an Economist for both President George
H. W. Bushs and President Bill Clintons Council of Economic Advisers, providing economic
analysis on regulation and health care policy issues. In my over 20 years at NERA, I have been
frequently engaged as an economic consultant or expert witness to perform valuations and
estimate damages. In the course of this work, I have analyzed the effect of information on stock
prices of over 100 companies. I have testified at trials in Federal District Court and Delaware
Chancery Court, before the American Arbitration Association and the Judicial Arbitration
Mediation Service, and in depositions. My resume with recent publications and testifying
experience is included as Appendix A.

            B.   Remuneration

       9.        NERA is being compensated for time spent by me and my team at standard billing
rates and for out-of-pocket expenses at cost. NERA currently bills for my time at $1,050 per
hour. NERAs fees are not in any way contingent upon the content of my opinions or the
outcome of this matter.




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IV.    MATERIALS CONSIDERED

       10.      In preparing this report, I considered the following categories of materials (a
complete list of materials considered is included as Appendix B):

       a) Complaint;

       b) Memorandum of Law in Support of Lead Plaintiffs Motion for Class Certification,
             dated May 3, 2021;

       c) Report of W. Scott Dalrymple, dated May 3, 2021 (Dalrymple Report), including
             supporting spreadsheets and programs and materials relied upon;

       d) Deposition of W. Scott Dalrymple, dated June 3, 2021 (Dalrymple Deposition);

       e) Analyst reports on Acadia and the healthcare and hospital management industries
             from Thomson Reuters and documents produced in discovery;

       f) Acadias filings with the U.S. Securities and Exchange Commission (SEC);

       g) Press releases, conference call transcripts and news stories on Acadia from Factiva
             and Bloomberg, L.P.;

       h) Stock price and trading volume, shares outstanding, equity float, short interest,
             implied volatility, and institutional and insider holdings data for Acadia from FactSet
             Research Systems, Inc. and Bloomberg, L.P.;

       i) Price data for market and industry indexes from Bloomberg, L.P.;

       j) Document produced by one of the proposed class representatives investment
             managers (RHJA0000073);

       k) Acadia financial reports 2014-2019 (ACADIA00000050-00000509,
             ACADIA00000519-00000550)

       l) Academic literature and textbooks on finance, securities, valuation and statistics; and

       m) Legal decisions on class certification and market efficiency.




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V.        SUMMARY OF ALLEGATIONS

          11.     Acadia is a pure-play provider of behavioral healthcare services, with operations
in the United States and the United Kingdom during the alleged Class Period. 4 Acadias business
strategy is to acquire and develop behavioral healthcare facilities. 5 At the end of 2017, Acadia
operated 582 behavioral healthcare facilities with approximately 17,800 beds in 39 states, the
U.K. and Puerto Rico.6 In 2017, Acadias U.K. operations accounted for 36% of total revenue.7

          12.     Plaintiffs claim that Acadias stock price was inflated during the alleged Class
Period as a result of certain false and misleading statements and omissions. In particular,
Plaintiffs allegations generally fall into two categories: Acadias U.S. operations and Acadias
U.K. operations.8

          13.     Regarding Acadias U.S. operations, Plaintiffs claim relates to alleged quality of
care issues. Plaintiffs allege that Acadia falsely stated that:

                  offering quality care was of fundamental importance to Acadias business model,
                  and that its facilities provided high-quality care that would drive Acadias
                  success;

                  Acadia adequately staffed its facilities to ensure its ability to provide appropriate
                  care to patients; and

                  Acadias facilities were in compliance with relevant regulatory requirements.9

Plaintiffs claim that the alleged truth regarding Acadias U.S. operations was that Acadia did
not provide quality care and that it understaffed its facilities and hired unqualified staff in
order to cut costs to the detriment of patient care.10



4
     Acadia 2017 Form 10-K, filed February 27, 2018, p. 1.
5
     Acadia 2017 Form 10-K, filed February 27, 2018, p. 1.
6
     Acadia 2017 Form 10-K, filed February 27, 2018, p. 1.
7
     Acadia 2017 Form 10-K, filed February 27, 2018, p. 4.
8
     Complaint, §§V(A) and V(B).
9
     Complaint, ¶3.
10
     Complaint, ¶¶4-5.


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          14.      Plaintiffs claim the alleged misrepresentations related to Acadias U.S. operations
were corrected in two alleged corrective disclosures:

                   On October 11, 2018, short-seller Aurelius Value published a report documenting
                   systematic instances of patient abuse and neglect at dozens of Acadia facilities,
                   caused primarily by understaffing.11

                   On November 16, 2018, Seeking Alpha published an article that attributed
                   Acadias recent revenue and margin increases to cost cutting and reducing the
                   quality of care.12

          15.      Regarding Acadias U.K. operations, Plaintiffs claim that Acadia falsely stated
that Acadias U.K. operations would achieve substantial revenue and earnings growth in the
face of nursing shortages and negative media reports about the Companys operations, when in
reality defendants had no reasonable basis to believe, and did not actually believe, that such
results would materialize.13

          16.      Plaintiffs claim the alleged misrepresentations related to Acadias U.K. operations
were corrected on October 24, 2017 when Acadia announced that it had badly missed its Q3
2017 revenue and earnings targets, and was substantially reducing its guidance for the remainder
of the year, and that same facility revenue growth for U.K. facilities had slowed to 3.8%.14

          17.      I have been asked to analyze price impact of the alleged misrepresentations
regarding Acadias U.S. operations.15 A full list of the alleged misrepresentations regarding
Acadias U.S. operations is attached as Appendix C.

          18.      The chart below shows Acadias stock price and trading volume, and the alleged
misrepresentations and the alleged corrective disclosures regarding Acadias U.S. operations.



11
     Complaint, ¶¶9,185 citing Acadia Healthcare: Destructive Greed, Aurelius Value, October 11, 2018.
12
     Complaint, ¶¶11, 190 citing Acadia Healthcare: Very Scary Findings From A 14-Month Investigation, Seeking
     Alpha, November 16, 2018.
13
     Complaint, ¶¶3 and 6.
14
     Complaint, ¶¶8, 108.
15
     I have not been asked to analyze price impact of the alleged misrepresentations regarding Acadias U.K.
     operations.


                                                                            6
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                                                                                                  Alleged US-Based Misrepresentations
                                               Acadia Healthcare Company, Inc.
                                               Stock Price and Trading Volume                     Alleged US-Based Corrective
                                                                                                  Disclosures
     $100                                                                                                                         80
                                                            Alleged Class Period
                                                 April 30, 2014 through November 15, 2018
                                                                                               11/16/18
     $90                                                                                       Seeking Alpha publishes article    70
                                              M11                                              discussing "questionable
                                                                                               business practices."
     $80
                                                 M12
                                        M10                                                                                       60
                                                       M14
     $70                                                       M18

                            M6         M8 M9               M17     M20
                                                                                                                                  50
     $60                  M5          M7                                M22
                                                    M13                   M23
                       M2        M4                       M15 M19                  M37-38
     $50                                                                                                                          40
                                                             M16              M26-28
                                                                 M21                           M41           M46
                          M3                                                            M39-          M45
                                                                                                                     M48
     $40             M1                                                            M29- 40      M42                  M49
                                                                        M25                                                       30
                                                                                   36                    M44
                                                                        M24                           M43 M47
     $30
                                                                                                10/11/18
                                                                                                Aurelius Value                    20
     $20                                                                                        issues a report on
                                                                                                CMS violations.
                                                                                                                                  10
     $10


      $0                                                                                                                          0



 Notes and Sources:
 Data from Bloomberg, L.P. Events and annotations from the Complaint.




VI.         METHODOLOGY

            19.      An analysis of price impact is an analysis of whether the alleged
misrepresentations affected the market price when made.16 In general, the price impact of an
alleged misrepresentation can be analyzed in at least two ways: (1) directly by analyzing the
market reaction following an alleged misrepresentation, including analyzing the stock price
movement and examining market and analyst commentary following the alleged
misrepresentations, or (2) indirectly by analyzing the market reaction to a disclosure that is
corrective of an alleged misrepresentation.17




16
     See, for example, Halliburton I, 131 S. Ct. 2179, 2186 (2011). ([P]rice impact  that is, whether the alleged
     misrepresentations affected the market price in the first place.)
17
     See, for example, Halliburton II, 134 S. Ct. 2398 (2014).


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          20.       It is my understanding that Plaintiffs are claiming that the alleged
misrepresentations either maintained the alleged inflation in the stock price or were misleading
by omission, and thus it is my understanding that according to Plaintiffs theory a statistically
significant price increase would not be expected at the time the alleged misrepresentations were
made. Nonetheless, I analyzed the market reaction following the alleged misrepresentations,
including analyzing the stock price reaction and examining market and analyst commentary
following the alleged misrepresentations and found no evidence of price impact of the alleged
misrepresentations when made.18 Note that many of the alleged misrepresentations were generic
in nature.19 For example, Plaintiffs repeatedly claim as an alleged misrepresentation the

     Note that simply testing whether there were statistically significant price reactions on the dates of the alleged
     corrective disclosures may not be a reliable analysis of price impact of the alleged misrepresentations for a
     number of reasons, including the following:
     a)   The alleged corrective disclosures may not actually be corrective of the alleged misrepresentations. (If the
          alleged corrective disclosures are not in fact corrective, they cannot help one determine the price impact of
          the alleged misrepresentations.);
     b) The alleged corrective disclosure dates may not properly correspond to when the alleged misrepresentations
        were first corrected in the market. (Since, in an efficient market, only new news should affect a securitys
        price, the reaction to repeated news is not a reliable indicator of what the price impact of the news would be
        initially. If news that is not new affects the price, then that is an indication that the market is not efficient.);
     c)   The price reaction on the alleged corrective disclosure dates may be the result of confounding factors or
          news unrelated to the alleged fraud; and
     d) Market conditions may have changed between the time that the alleged misrepresentations were made and
        the time of the alleged corrective disclosures.
18
     The price reactions following the 49 alleged misrepresentations related to Acadias U.S. operations occurred on
     47 separate trading days (since some of the alleged misrepresentations occurred on the same trading day). On 39
     of these days there was no statistically significant price increase according to Mr. Dalrymples event study. For
     the remaining eight days with a statistically significant price increase, all of which occurred on days when
     Acadia announced quarterly earnings, analyst commentary indicates that the positive price reaction was due to
     positive news unrelated to the alleged misrepresentations. For example, on October 30, 2014, Plaintiffs claim
     that Acadia misleadingly touted its high-quality services. However, on the same date, Acadia announced positive
     earnings results, increased its guidance and announced the acquisition of CRC Health Group. Analysts indicated
     that Acadias price increase on that day was due to exceptional volumes, raised guidance and the CRC
     acquisition. See, for example, Baird report, dated October 30, 2014. See Appendix C for a list of the 49 alleged
     misrepresentations related to Acadias U.S. operations.
19
     Note also that Plaintiffs appear to be mischaracterizing what Acadia said in a number of the alleged
     misrepresentations. For example, Plaintiffs claim that on February 22, 2017 Acadia represented that the
     Companys quality and compliance department did nothing but track efficacy of care (Complaint, ¶216).
     However, what Acadia actually said on February 22, 2017 was that the Company could do a better job of
     tracking efficacy and that the federal government had failed to provide psychiatric hospitals funding to improve
     their computer systems so that they could better track efficacy. Acadia Healthcare Company, Inc. at RBC Capital
     Markets Healthcare Conference, February 22, 2017. See Appendix C for the actual language of the alleged
     misrepresentation, along with the characterization of the alleged misrepresentations according to Plaintiffs.
     Plaintiffs characterize many of the alleged misrepresentations relating to staffing levels at Acadias U.S.
     facilities as misleading in part because Acadia allegedly did not maintain sufficient staffing to accommodate its
     growth. However, Acadias financial data indicates this is inaccurate. From the first quarter of 2016 to the first

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following statement in the Overview section of Acadias 10-K and 10-Q filings: We strive to
improve the operating results of our facilities by providing high quality services.20 The lack of
price impact of the alleged misrepresentations is consistent with the generic nature of many of
the alleged misrepresentations.

          21.      To analyze price impact of the alleged misrepresentations in this case, I examined
publicly available information related to Acadia and Plaintiffs allegations. I reviewed Plaintiffs
claims in the Complaint and other pleadings, and the Dalrymple Report, and examined the
alleged misrepresentations and the alleged corrective disclosures (including what information
was allegedly false, when the alleged truth was purportedly revealed to the market and what
information was alleged to be corrective). I analyzed publicly available information on Acadia,
including analyst reports, press releases, conference call transcripts, SEC filings, and news
stories from Bloomberg and Factiva.21 I focused on what the market knew about the alleged
misrepresentations, and on how the market reacted in terms of analyst and other market
commentary and price reactions to the alleged misrepresentations.

          22.      Analyst reports are periodic reports issued by professional financial analysts at
brokerage firms who perform research and analysis on specific industries and companies.
Analysts analyze companies by studying publicly available information, such as SEC filings, as
well as participating on conference calls and attending investor conferences where they can ask
questions directly to management. Analysts use this information to model and value companies
and industries, using financial techniques such as discounted cash flow models and valuation
multiples. Using these valuations, analysts typically issue price targets (i.e., what price they
expect the stock of a company to be in a certain time period), provide estimates reflecting their
expectations of the companys future financial performance (such as estimates of future revenue,
profits and earnings per share (EPS)), and give recommendations to buy, hold or sell the stock.
Analysts typically issue reports after new information about the company is released. These


     quarter of 2018, U.S. quarterly patient days grew 9.19% and the number of full-time U.S. employees at Acadia
     grew 9.64%. See Acadia financial reports 2014-2019 (ACADIA00000050-00000509, ACADIA00000519-
     00000550)
20
     Complaint, ¶112.
21
     Bloomberg is a commonly used provider of financial data and news, and Factiva is an online news reporting
     service and archive owned by Dow Jones & Company, Inc. that aggregates news content from nearly 33,000
     sources from around the world.


                                                                             9
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reports play an important role in disseminating information about a stock and can be a valuable
source of information on market knowledge and sentiment at the time.22

          23.      The review of analyst reports is a standard and generally accepted methodology
for determining what information is important to the market in valuing a stock, and thus, for
determining whether a piece of information had price impact.23 This position is echoed in the
Dalrymple Report, which states:

                In addition to supporting analysts buy/sell recommendations and price targets for
                Acadia, these reports also reflected analysts responses, from both a quantitative and
                qualitative perspective, to new, value-relevant information. [ ] The breadth and
                depth of coverage during the Class Period demonstrates that newly available, value-
                relevant financial information was actively monitored and scrutinized by a network of
                investment professionals and media outlets, who quickly digested new information
                and disseminated their reactions to Acadia investors.24


          24.      There were at least 1,031 reports issued by 21 analysts covering Acadia during the
alleged Class Period.25

          25.      Plaintiffs and Mr. Dalrymple assert that the market for Acadia stock was efficient
during the alleged Class Period, and thus, that Acadias stock price immediately reflected




22
     The review of analyst reports is a standard and generally accepted methodology for determining what
     information is important to the market in valuing a stock. In particular, courts have relied on analyst reports in
     determining what information is important to the market in valuing a stock and in determining the cause of stock
     price movements. See, for example, In Re TECO Energy Inc. Securities Litigation, 2006 U.S. Dist. LEXIS
     18101 (M.D. Fla. March 30, 2006) (Specifically, the analyst reports on September 3, 2002, September 23, 2002,
     October 8, 2002, and January 23, 2003 address ratings cuts, opinions, and predictions regarding TECOs stock
     value but do not reference any misstatements, omissions, or accounting practices by Defendants as the reason for
     the bleak forecasts or changes in market conditions.) and Barrie v. Intervoice-Brite, Inc., 2006 U.S. Dist.
     LEXIS 69299 (N.D. Tex. Sept. 25, 2006) (Barrys review of analyst reports and the public press also shows that
     those information sources did not link the June 6 disclosure to any prior earnings or revenues that were
     supposedly overstated.). The First Circuit has also recommended analyzing contemporaneous content for
     explaining stock price movements, citing a paper that specifically describes performing content analysis of
     analyst reports and commentary. Bricklayers & Trowel Trades International Pension Fund v. Credit Suisse
     Securities (USA) LLC, 752 F.3d 82, 92 (1st Cir. 2014), citing David Tabak, Making Assessments About
     Materiality Less Subjective Through the Use of Content Analysis, 2007.
23
     Courts often look to the number of analyst reports published on a company as an indication of market efficiency.
     See, for example, Cammer v. Bloom, 711 F. Supp. 1264 (D.N.J. 1989).
24
     Dalrymple Report, ¶¶38,40.
25
     Based on available analyst reports from Thomson Reuters and documents produced in discovery.


                                                                            10
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newly available value-relevant information.26 According to Mr. Dalrymple, new value-
relevant information is information that impacts the stock price.27 For the purpose of this
analysis of price impact, I have been asked to assume Plaintiffs claim of market efficiency,
including adopting the event study methodology put forward by Mr. Dalrymple.

          26.      An event study can be used to test whether the stock price reacts on the date of a
particular announcement. An event study is a commonly accepted statistical analysis that
measures the movement in a stocks price after an event or public announcement, typically
adjusting for the movement in the overall market and/or industry. 28 Academics often use an
event study to determine how stock prices respond to new information. 29 An event study
typically uses a statistical analysis called a regression to estimate the relationship between the
companys daily stock returns and the daily returns of market and/or industry indices.30 Using
the regression results and the returns of the indices, the predicted stock price movement and
abnormal stock price movement (or the amount the stock price moves in excess of the predicted
amount) can be calculated for the event/period being tested. Then, the statistical significance of
the abnormal stock price movement can be tested.

          27.      In addition to adopting Mr. Dalrymples event study, I tested an alternative event
study specification and found that the conclusions of the price impact analysis did not change.
The alternative event study controlled for market movements with the NASDAQ Composite
Index, an index of over 3,000 companies listed on the NASDAQ, and for industry movements
with the S&P 600 Health Care Providers & Services Index, an off-the-shelf index of publicly


26
     Dalrymple Report, ¶10, ¶27, citing John Campbell, et al., The Econometrics of Financial Markets (1997), ¶40
     and ¶56, citing Joseph Aharony and Itzhak Swary, Quarterly Dividend and Earnings Announcements and
     Stockholders Returns: An Empirical Analysis, The Journal of Finance 35(1), 1980.
27
     Dalrymple Report, ¶¶26,40, 47, 56, 65, 92.
28
     See, for example, Alexander, Janet C., The Value of Bad News in Securities Class Actions, UCLA Law
     Review, 41: 1994, Fischel, Daniel R., Use of Modern Finance Theory in Securities Fraud Cases Involving
     Actively Traded Securities, The Business Lawyer 38: 1982, and Dunbar, Frederick C., and David I. Tabak,
     Materiality and Magnitude: Event Studies in the Courtroom, Litigation Services Handbook: The Role of the
     Financial Expert (John Wiley & Sons, Inc.: New York, NY, 3rd ed., 2001), ch. 19.
29
     See, for example, MacKinlay, A. Craig, Event Studies in Economics and Finance, Journal of Economic
     Literature, 35: 1997, and Bowman, Robert G., Understanding and Conducting Event Studies, Journal of
     Business Finance & Accounting, 10(4): 1983.
30
     Regression analysis is used to estimate the relationship between two or more variables. See, for example, Hogg,
     Robert V. and Elliot A. Tanis, Probability and Statistical Inference, (Prentice Hall: Upper Saddle River, NJ, 5th
     ed., 1997).


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traded Health Care Providers & Services companies.31 The control period consisted of a rolling
period of 252 trading days before each event tested, excluding the alleged misrepresentations and
alleged corrective disclosures.

VII. THE ALLEGED MISREPRESENTATIONS RELATED TO ACADIAS U.S.
     OPERATIONS DID NOT HAVE PRICE IMPACT

            A.    Acadias stock price did not react to the October 11, 2018 alleged
                  corrective disclosure, which demonstrates that the alleged
                  misrepresentations regarding Acadias U.S. operations did not have
                  price impact

          28.     Plaintiffs allege that Acadias stock price was inflated during the alleged Class
Period as a result of alleged misrepresentations regarding the quality, staff[ing] and
compliance of Acadias U.S. facilities.32 Plaintiffs claim that the release of the Aurelius Value
report on October 11, 2018 partially corrected Acadias stock price by revealing the alleged truth
regarding systematic instances of patient abuse and neglect at dozens of Acadia facilities.33
Thus, according to Plaintiffs theory, the alleged misrepresentations regarding Acadias U.S.
operations impacted Acadias stock price and caused the price to be artificially inflated, and this
inflation was partially eliminated by the corrective disclosures in the Aurelius Value report.34

          29.     To test Plaintiffs theory, I used Mr. Dalrymples event study, as well as the event
study methodology described in Section VI above, to measure whether there was a statistically
significant price reaction following the release of the allegedly corrective Aurelius Value report.
Contrary to Plaintiffs theory, there was no statistically significant reaction in Acadias stock
price on October 11, 2018 following the release of the Aurelius Value report. According to the
event study, Acadias stock price reaction on October 11, 2018, after controlling for market and
industry movements, is within the range of normal expected daily variation in the stock price,




31
     Data obtained from Bloomberg, L.P. using the tickers CCMP Index for the NASDAQ Composite Index, and
     S6HCPS Index for the S&P 600 Health Care Providers & Services Index.
32
     Complaint, ¶3.
33
     Complaint ¶¶9,185.
34
     Complaint, ¶179,185,232.


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and cannot be distinguished from zero.35 In other words, according to Mr. Dalrymples own
event study there was no price reaction to this allegedly corrective disclosure as the movement of
the price on this date is just the usual noise.36 The fact that the release of the very information
that is purportedly corrective of the alleged misrepresentations regarding Acadias U.S.
operations did not cause any statistically significant reaction in Acadias stock price
affirmatively demonstrates that the alleged misrepresentations regarding Acadias U.S.
operations did not have price impact on Acadias stock. According to Mr. Dalrymples own
event study the Aurelius Value report is not value-relevant information and thus does not
impact the stock price. The table below shows the results of Mr. Dalrymples event study for
October 11, 2018:




                          Price Reaction Following the Aurelius Value Report
                                               According to Dalrymple Event Study

                                           Market         Industry         Acadia
                            Acadia           Index          Index        Predicted         Price                     Statistically
                                                                                                               1                     1
             Date           Return          Return         Return          Return        Reaction        t-stat      Significant?

           10/11/18         -5.22%          -2.05%          -2.57%         -3.12%          -2.10%         -1.35           No

     Notes and Sources:
         Data from the Dalrymple Report.
     1
         Significance is based on the price reaction's t-statistic, calculated as the price reaction divided by the standard error
         of the regression over the sample period. "Yes" indicates significance at the 5% level.


The table below shows the results of the alternative event study (described in Section VI) for
October 11, 2018:




35
     In addition, my team and I reviewed news on Acadia released on October 11, 2018 and found that there was no
     other news announced on that date that could have offset any negative reaction in Acadias stock price.
36
     Dalrymple Deposition at 137:19-23 and 169:5-11.


                                                                            13
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                          Price Reaction Following the Aurelius Value Report
                                              According to Alternative Event Study

                                           Market         Industry         Acadia
                            Acadia           Index          Index        Predicted         Price                     Statistically
                                                                                                               1                     1
             Date           Return          Return         Return          Return        Reaction        t-stat      Significant?

           10/11/18         -5.22%          -1.26%          -3.25%         -3.09%          -2.14%         -1.34           No

     Notes and Sources:
         Data from Bloomberg, L.P. The market index is the NASDAQ Composite Index and the industry index is the S&P 600
         Health Care Providers & Services Index.
     1
         Significance is based on the price reaction's t-statistic, calculated as the price reaction divided by the standard error
         of the regression over the sample period. "Yes" indicates significance at the 5% level.


            30.       Acadias intraday prices (i.e., stock prices during the trading day rather than just
the closing price) provide further evidence demonstrating that there was no market reaction to
the release of the Aurelius Value report.37 The Aurelius Value report was released at 11:11 AM.38
The chart below shows Acadias intraday stock price from 11 AM to 1 PM. Acadias stock price
was at $35.62 right before the Aurelius Value report was released at 11:11 AM. As shown in the
chart below, after some initial volatility following the release of the Aurelius Value report,
Acadias stock price bounced back in less than an hour to levels above the price before the
Aurelius Value report was released, reaching $35.66 by 12:08 PM.




37
     Mr. Dalrymple testified that it is possible to use intraday prices to determine the separate impacts from two
     pieces of information that were disclosed on the same day but at different times. Dalrymple Deposition at 29:6-
     16 and 30:5-7.
38
     Twitter post by @AureliusValue at 11:11 AM on October 11, 2018 linking to the Aurelius Value report.


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                            Acadia's Intraday Share Price Before and After the Aurelius Value Report
                                          Between 11 AM and 1 PM on October 11, 2018

      $40                                                                                                                 300

                                   Price at 11:10 AM on 10/11: $35.62
      $35
                                                                                                                          250

      $30
                  Alleged Corrective Disclosure
                  11:11 AM                                                                                                200
      $25         Aurelius Value Report



      $20                                                                                                                 150


      $15
                                                                                                                          100

      $10

                                                                                                                          50
       $5


       $0                                                                                                                 0
         11:00      11:10      11:20      11:30    11:40   11:50   12:00   12:10   12:20   12:30   12:40   12:50   1:00        4:00
          AM         AM         AM         AM       AM      AM      PM      PM      PM      PM      PM      PM     PM          PM
 Notes and Sources:
 Intraday prices and volume from Bloomberg, L.P.



            31.        Plaintiffs claim that the price reaction on October 12 is related to the Aurelius
Value report.39 However, given that there was no statistically significant price reaction on
October 11 according to Plaintiffs own event study, there is no basis to conclude that in an
efficient market Acadias price would start reacting to the Aurelius Value report on October 12,
almost a full trading day after the report was released. Research has shown that stock prices in an
efficient market react very quickly to new information. For example, according to a study
frequently cited in finance textbooks, after company announcements of earnings or dividends,
the majority of the stock market response is already completed within 5 to 10 minutes. 40



39
     Complaint ¶¶10,189.
40
     See, for example, Richard A. Brealey & Stewart C. Myers, Principles of Corporate Finance (McGraw-Hill: New
     York, 7th ed., 2003) 351-353 (To analyze the semistrong form of the efficient-market hypothesis, researchers
     have measured how rapidly security prices respond to different items of news, such as earnings or dividend
     announcements, news of a takeover, or macroeconomic information [ ] A study by Patell and Wolfson shows
     just how fast prices move when new information becomes available. They found that, when a firm publishes its
     latest earnings or announces a dividend change, the major part of the adjustment in price occurs within 5 to 10
     minutes of the announcement.) (emphasis added). See also James M. Patell & Mark A. Wolfson, The

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          32.      Moreover, even if there was some basis to conclude that the reaction started on
October 12, according to Plaintiffs theory, the reaction would have continued the next trading
day, October 15, when Acadias stock price bounced back by almost 8% despite no new
company-specific news.41 If there is evidence of a price reaction (i.e., there is a statistically
significant price reaction on the first day), then it is standard to consider the continuation of the
reaction in consecutive statistically significant one-day price movements until new information is
released.42 Ignoring the fact that Acadias stock did not react on October 11, which would be
inconsistent with Plaintiffs claim of market efficiency, and using a standard approach of
considering consecutive statistically significant one-day price movements until new information
is released, the cumulative price reaction is not statistically significant. In particular, there were
statistically significant one day price reactions, in differing directions, on October 12, 15 and 16,
yielding a cumulative reaction from October 12 to October 16 that was not statistically
significant.43 Importantly, allowing the reaction to start on October 12, the day after the Aurelius
Value report was released, is not consistent with Mr. Dalrymples theory of market efficiency or
his own analysis and standard methodology for event studies, which do not test whether the stock
reacted a day after the news was released if it did not react on the effective day of the news
release (i.e., the first trading day that the stock could have reacted).44 The table below shows the
one-day and cumulative price reactions of Acadias stock from October 12 to October 17, 2018
using Mr. Dalrymples event study.




     Intraday Speed of Adjustment of Stock Prices to Earnings and Dividend Announcements, Journal of Financial
     Economics 13 (1984), 223-252.
41
     The trading volume on October 15 was higher than the trading volume on October 11 and October 12.
42
     See, for example, Koch, James V., et al. Do Investors Care if Steve Jobs is Healthy? Atlantic Economic
     Journal 39(1): 2011, and Krivin, D., et al., Determination of the Appropriate Event Window Length in
     Individual Studies, available at https://papers.ssrn.com/sol3/papers.cfm?abstract_id=466161, 2003.
43
     There was no new company-specific news released on October 12, 15 and 16, 2018. In addition, even if the price
     reaction on October 11, which was not statistically significant, is included, the cumulative price reaction from
     October 11 to October 16 was not statistically significant.
44
     Dalrymple Report, ¶¶65-70, Exhibit 2.


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                                 Price Reaction Following the Aurelius Value Report
                                                    According to Dalrymple Event Study

                                                        Acadia               One-Day Price Reactions                 Cumulative Price Reaction
                         Acadia         Acadia        Predicted         Price                     Statistically        Price        Statistically
                                                                                            1                    1                                1
          Date          Volume          Return          Return        Reaction        t-stat      Significant?       Reaction      Significant?

        10/11/18         4.13M          -5.22%          -3.12%         -2.10%          -1.35           No
        10/12/18         3.29M          -4.09%           0.46%         -4.55%          -2.91           Yes
        10/15/18         5.34M           7.63%          -0.28%          7.91%           4.98           Yes
        10/16/18         2.50M          -1.29%           3.29%         -4.57%          -2.77           Yes             -1.22%           No
        10/17/18         3.37M           0.81%          -0.40%          1.21%           0.72           No

  Notes and Sources:
   Data from the Dalrymple Report.
  1
      Significance is based on the price reaction's t-statistic, calculated as the price reaction divided by the standard error of the regression
      over the sample period. "Yes" indicates significance at the 5% level.


The table below shows the one-day and cumulative price reactions of Acadias stock from
October 11 to October 17, 2018 using the alternative event study described in Section VI:

                                 Price Reaction Following the Aurelius Value Report
                                                    According to Alternative Event Study

                                                        Acadia               One-Day Price Reactions                 Cumulative Price Reaction
                         Acadia         Acadia        Predicted         Price                     Statistically        Price        Statistically
                                                                                            1                    1                                1
          Date          Volume          Return          Return        Reaction        t-stat      Significant?       Reaction      Significant?

        10/11/18         4.13M          -5.22%          -3.09%          -2.14%         -1.34           No
        10/12/18         3.29M          -4.09%          -0.66%          -3.42%         -2.15           Yes
        10/15/18         5.34M           7.63%           0.17%           7.46%          4.63           Yes
        10/16/18         2.50M          -1.29%           2.88%          -4.17%         -2.50           Yes             -0.13%           No
        10/17/18         3.37M           0.81%           0.08%           0.73%          0.43           No

  Notes and Sources:
   Data from Bloomberg, L.P. The market index is the NASDAQ Composite Index and the industry index is the S&P 600 Health Care
   Providers & Services Index.
  1
      Significance is based on the price reaction's t-statistic, calculated as the price reaction divided by the standard error of the regression
      over the sample period. "Yes" indicates significance at the 5% level.


          33.        The analyst commentary following the release of the Aurelius Value report is
consistent with the lack of a price reaction to the Aurelius Value report. Thirteen of the 15 (or
87%) analysts covering Acadia at the time did not even issue reports following the Aurelius
Value report. The two analysts that issued reports acknowledged that the Aurelius Value report




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portrayed the Company in a negative light, but did not indicate that the report revealed anything
new about Acadias quality of care in the U.S.

             Some Perspective. A number of problematic instances are cited in the report. As those
             who follow the inpatient psych sector know, the potential for adverse events in the
             space is high and happens more than is true in almost any other healthcare
             services sector. Patients are generally admitted to an inpatient psych facility because
             they are actively trying to hurt themselves or someone else. Further, there is a
             significantly tight supply of nurses willing to work in these types of facilities. Finally,
             there is generally limited capacity to meet current demand for inpatient services. So,
             our experience has been that it takes time to assess allegations such as those raised
             in this report. Referral sources generally appreciate the challenges the sector faces
             and often do not have alternative placement options for patients who show up in ERs
             in crisis. As a result patient flows do not change quickly absent overt state
             regulatory action against a facility. In that regard, state regulators are also aware of
             the industrys challenging population and labor shortages. They also know that like
             some other healthcare provider settings, the incidence of getting cited for a
             deficiency during an inspection can be higher than the public might expect.
             Because of the limited availability of alternative providers and the intense need to
             place patients, regulators will work with providers to give them time to remedy
             issues. Still, regulators will take action in egregious situations and not allow a facility
             to continue to take patients. These steps are usually taken on a facility-by-facility
             basis. Adverse publicity makes a regulator scrutinize a provider more closely; cutting
             off a facility means the regulators believe the facility has serious problems that must
             be addressed. Because incidents are not uncommon, regulators and operators
             interact frequently making a common pervasive issue across an entire system
             hard to develop without regulators being aware there is a problem. [Credit
             Suisse, 10/11/18, emphasis added]

             We have not yet reached ACHC for comment, although we believe that these claims
             are at odds with managements behavior and success in the past. [Cantor Fitzgerald,
             10/11/18]

       34.      A week after the Aurelius Value report was released, several analysts referenced
the Aurelius Value report in reports focused on earnings previews and/or rumors of a potential
buyout. None of the analysts indicated that they had learned anything new about Acadias quality
of care in the U.S. but instead reminded investors that Acadia generally treats a troubled patient
population. The analysts indicated that the Aurelius Value report was nothing we havent seen
before and that there have been similar pieces on its competitors, but that the report could
lead to more regulatory scrutiny.

             Short reports: The stock is down ~12% since just before reporting 2Q and ~15%
             since the beginning of September just before a short report. A new short report
             emerged in October, that centered around staffing levels at ACHC facilities, drawing

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                a line from staffing levels to a variety of incidents at ACHC facilities. It suggests that
                ACHC will need to increase staffing levels, resulting in lower margins. We would
                remind investors that: 1) ACHC generally treats a troubled patient population,
                there have been similar pieces on UHS [Acadias competitor] by Buzzfeed, and 2)
                the piece does highlight insider sales last summer, which remains a sticking point for
                many investors. In short nothing we havent seen before, but likely an overhang on
                the stock. The larger concern is if the headline risk impacts operations from more
                regulator scrutiny. [Stephens, 10/17/18, emphasis added]
                We also believe competition could make it more difficult to fill beds and recently
                published reports alleging abuse at ACHC facilities could heighten the
                regulatory environment and/or change referral behavior and negatively affect
                occupancy rates. [Craig Hallum, 10/17/18, emphasis added]


             B.    Acadias stock price did not react to the November 16, 2018 alleged
                   corrective disclosure, but rather reacted to news unrelated to the
                   alleged fraud about the potential sale of Acadia, which demonstrates
                   that the alleged misrepresentations regarding Acadias U.S. operations
                   did not have price impact

          35.      Plaintiffs allege that Acadias stock price was inflated during the alleged Class
Period as a result of alleged misrepresentations regarding the quality, staff[ing] and
compliance of Acadias U.S. facilities.45 Plaintiffs claim that the publication of the Seeking
Alpha article on November 16, 2018 corrected Acadias stock price by revealing the alleged truth
that Acadias recent revenue and margin increases were due to cost-cutting and reducing the
quality of care.46 Thus, according to Plaintiffs theory, the alleged misrepresentations regarding
Acadias U.S. operations impacted Acadias stock price and caused the price to be artificially
inflated, and this inflation was eliminated by the corrective disclosures in the Seeking Alpha
article.47

          36.      Contrary to Plaintiffs theory, the intraday price movements and trading volume
of Acadias stock show that the price decline on November 16 was not due to the information
allegedly disclosed in the Seeking Alpha article but rather due to negative news about the




45
     Complaint, ¶3.
46
     Complaint ¶¶11,190.
47
     Complaint, ¶179,192,232.


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potential sale of Acadia.48 There were two news events that occurred on November 16: the
alleged corrective disclosure, published in a Seeking Alpha article at 8:57 AM, before the market
open, and a CNBC report published at 9:45 AM, after the market open. The later CNBC report
on Acadia disclosed negative news unrelated to the alleged fraud. An analysis of intraday price
movement and trading volume shows that Acadias stock did not react after the Seeking Alpha
article was published but rather reacted later in the day after the CNBC report came out.

          37.      The Seeking Alpha article was published before market hours, at 8:57 AM, on
November 16. Acadias stock opened at a price of $37.61 at 9:30 AM on November 16. By 9:43
AM, Acadias stock was at $37.42, a decline of 1.16% from the prior days closing of $37.86.
Acadias stock price decline in the first 13 minutes of trading was consistent with the decline of
the market index over the same time period (the NASDAQ Composite index declined from
$7,259.03 to $7,182.08, a decline of 1.06%). Thus, there was no reaction in Acadias stock after
the publication of the Seeking Alpha article.

          38.     On the same day, November 16, 2018, after the Seeking Alpha article was
released, CNBCs David Faber reported negative news about Acadias sale process. 49 In
particular, CNBC reported that the process for the potential sale of Acadia had stalled. News
about the potential sale of Acadia was considered important to the market. For example, as
discussed below, news about the potential sale of Acadia in October 2018 had caused an increase
in Acadias stock price. The CNBC report was made at 9:45 AM, 48 minutes after the Seeking
Alpha article was released and 15 minutes after the market opened. Bloomberg News followed
immediately with a one-sentence story at 9:45 AM: Acadia Healthcare Sales Process Said to
Have Stalled: CNBCs Faber.50 Immediately after the CNBC report and Bloomberg story,
Acadias stock price began to decline on very high trading volume, triggering a trading halt two
minutes later at 9:47 AM. There were 460,224 shares of Acadia traded in the two minutes
between the CNBC report and the trading halt, about five times more than the 91,903 shares
traded in the first 13 minutes of trading on November 16. Trading was resumed a few minutes


48
     Acadia Healthcare: Very Scary Findings From A 14-Month Investigation, Seeking Alpha, November 16, 2018.
49
     https://archive.org/details/CNBC_20181116_140000_Squawk_on_the_Street/start/2700/end/2760
50
     Acadia Healthcare Sales Process Said to Have Stalled: CNBCs Faber, Bloomberg, November 16, 2018, 9:45
     AM. See, also, 09:45 EDT Acadia sales process has been stalled, CNBCs Faber reports, theflyonthewall,
     November 16, 2018, 9:45 AM.


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later. Acadias stock declined by 12% from 9:43 AM, right before the CNBC report, to 9:51 AM,
right after trading resumed. Acadias stock continued to decline triggering a second trading halt
at 10:21 AM. Trading again resumed a few minutes later. Acadias stock declined by 23% from
9:43 AM, right before the CNBC report, to 10:25 AM, right after trading resumed after the
second trading halt. Acadias stock hit an intraday low of $28.59 at 10:49 AM before closing at
$32.55.

          39.   The chart below shows Acadias intraday stock price and volume during the first
hour of trading on November 16, 2018, along with the Seeking Alpha alleged corrective
disclosure, the CNBC report and the trading halts. The black dots show Acadias stock price at
the end of the prior days closing, the blue dots show Acadias stock price from the opening of
the market until before the CNBC report and the red dots show Acadias price after the CNBC
report was released. As shown in the chart, Acadias stock price did not react after the Seeking
Alpha article was published (the black and blue dots remained at the same level) and the price
only dropped after the CNBC report came out at 9:45 AM (the red dots). The green bars show
Acadias trading volume per minute. As shown in the chart, Acadias volume was low after the
Seeking Alpha article was published but increased substantially after the CNBC report came out
at 9:45 AM.




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                           Acadia's Intraday Share Price Before and After the CNBC Announcement
                      Pre-          During the First Hour of Trading on November 16, 2018
                     Market
                     Hours
      $45                                                                                                                         1,600
                       Prior Day Closing
                         Price: $37.86
      $40                                                                                                                         1,400

      $35                    Opening Price: $37.61                                                                                1,200

      $30
                            Alleged
                                                           9:45 AM                                                                1,000
                            Corrective
                            Disclosure                     CNBC reports that Acadia's
      $25
                            8:57 AM                        sales process has "stalled"
                            Seeking Alpha                                                                                         800
      $20                   Report

                                                                                                                                  600
      $15                                                 9:47 - 9:50 AM                                    10:21 - 10:24 AM
                                                          Trading halted                                    Trading halted
                                                                                                                                  400
      $10


       $5                                                                                                                         200


       $0
       $0                                                                                                                          0
        11/15 11/15 9:30               9:35        9:40   9:45   9:50      9:55   10:00   10:05 10:10   10:15 10:20   10:25   10:30
       3:55 PM 4:00 PM AM              AM          AM     AM     AM        AM      AM      AM    AM      AM    AM      AM      AM
 Notes and Sources:
 Intraday prices and volume from Bloomberg, L.P.



            40.        Contrary to Plaintiffs theory, analysts attributed the decline in Acadias stock
price on November 16, 2018 to the negative news about Acadias sales process and not to the
Seeking Alpha article. In particular, four analysts issued reports covering the news on November
16. All four analysts attributed Acadias stock price decline on that day to the negative news
about Acadias sales process and none of the analysts even mentioned the Seeking Alpha article.

                  We reiterate our Strong Buy rating on shares of ACHC, but are lowering our price
                  target to $40 (form $45) on reports by CNBC and other media outlets that the
                  previously reported go-private transaction has stalled. This report caused shares to fall
                  23% in early morning trading. [Raymond James, 11/16/18]
                  CNBC reports that ACHCs sales process has stalled, and that the process does not
                  look particularly promising. [ ] The stock is trading down 20% intraday on the
                  news. [Cantor Fitzgerald, 11/16/18]
                  CNBCs David Faber tweeted on Nov 16 regarding issues with the ACHC sale
                  process that has been recently reported in the NY Post driving a 20% intra-day sell
                  off and 14% sell off at market close. [Leerink, 11/19/18]
                  Last week, ACHC shares fell 23% as expectations for a private equity buyout
                  faltered. [Credit Suisse, 11/20/18]

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          41.      Similarly, Rice Hall James & Associates, the investment advisor for one of the
proposed class representatives, attributed Acadias price decline on November 16, 2018 to a
press report saying PE buyout talks have stalled and did not even mention the Seeking Alpha
article.51

          42.      According to Mr. Dalrymples testimony, analysts discuss new value-relevant
information if that information has a significant impact on the share price. 52 Thus, according
to Mr. Dalrymples testimony, the value-relevant information that impacted Acadias stock
price on November 16 was the negative news about Acadias sales process and not the alleged
corrective information in the Seeking Alpha article.

          43.      Several news stories also attributed the price decline on November 16 to the
CNBC report.53 In fact, the same author of the Seeking Alpha article published another article
four days later, in which he attributed Acadias price decline on November 16 to the CNBC
report and not his own article.54 Plaintiffs cite an article published in the Motley Fool website by
Brian Feroldi. Mr. Feroldi wrote that the decline in Acadias price on November 16 appears to
be linked to the release of a report from a short-seller.55 However, Mr. Feroldis article was the
only news story that attributed Acadias stock price decline to the Seeking Alpha article.

          44.      Further evidence that Acadias stock price decline on November 16, 2018 was
due to negative news about the sale process and not the alleged corrective disclosure is the fact
that Acadias stock price increased when positive news about the sales process was announced in
the month before November 16, 2018.



51
     RHJA0000073.
52
     Dalrymple Deposition at 98:13-22.
53
     See, for example, 09:48 EDT Acadia sinks after CNBCs Faber says sales process has stalled,
     Theflyonthewall.com, November 16, 2018, Acadia Healthcare deal with KKR is not ill-fated: source, New
     York Post, November 19, 2018, Acadia hammered on report sale talks stalling, Nashville Post, November 19,
     2018, Amid chatter that deal is falling apart, report says Acadia sale talks are on track, Nashville Business
     Journal Online, November 20, 2018. and Purported Buyout Of Acadia Healthcare By KKR: Takeover Chatter
     Should Be Verifiable When Lives Are On The Line, Seeking Alpha, November 20, 2018.
54
     Purported Buyout Of Acadia Healthcare By KKR: Takeover Chatter Should Be Verifiable When Lives Are
     On The Line, Seeking Alpha, November 20, 2018.
55
     Heres Why Acadia Healthcare Company Inc. Is Plummeting, Motley Fool, November 16, 2018. Note that
     there was no decline in Acadias stock price after Motley Fool article was released at 12:31 PM. In particular,
     Acadias stock price increased 1% in the next half-hour and 6% by the time the market closed on November 16.


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          45.      On October 18, 2018, Reuters reported that Acadia was in talks with private
equity firms KKR & Co and TPG Global about selling itself in a leveraged buyout. Acadias
stock price increased 8% on October 18, a statistically significant price increase according to Mr.
Dalrymples event study.56 Analysts attributed the price increase to the buyout news and
speculated that a deal could close in the $40-45/share range (Acadias stock price closed at
$35.77 on October 17, 2018).

                Acadia shares gained nearly 8% on Thursday following a Reuters report of potential
                LBO talks with KKR and TPG. [RBC, 10/18/18]
                ACHCs stock is up >5-10% following press reports suggesting the company has
                been approached by PE firms, including KKR and TPG. [ ] Per our analysis, we
                think an LBO in the $40-45/share range could make sense for a PE bidder, with
                perhaps some optionality from separating the US and UK operations over time.
                [Baird, 10/18/18]

          46.      On October 31, 2018, after market close, the New York Post reported that KKR
was nearing a deal to buy Acadia. Acadias stock price increased 8% on November 1, a
statistically significant price increase according to Mr. Dalrymples event study.57 The chart
below shows Acadias stock, the news stories about Acadias potential sale and the alleged
corrective disclosures related to Acadias U.S. operations.




56
     Dalrymple backup, Rolling Regression Outputs.xlsx.
57
     Dalrymple backup, Rolling Regression Outputs.xlsx.


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                                                     Daily Stock Price and Trading Volume
                                                      Potential Buy-Out Deal with KKR

       $80                                                                                                                           80
                                    Alleged Class Period
                         April 30, 2014 through November 15, 2018
       $70                                                                                                                           70

                                                       10/31/18 (After
                                10/18/18               Market Close)
       $60                      Reuters reports        NY Post reports KKR                                                           60
                                buy-out talks with     and Acadia near deal
                                KKR and TPG            (6.2% stat. sig. price
                                (8.5% stat. sig.       reaction)                 11/16/18 (9:45 AM)
       $50                      price reaction)                                  CNBC's David Faber reports that the                 50
                                                                                 deal "is not looking promising" (-15.6%
                                                                                 stat. sig. price reaction)
       $40                                                                                                                           40



       $30                                                                                                                           30
                      10/11/18
                      Aurelius Value
                      issues a report on                                        11/16/18 (8:57 AM)
       $20            CMS violations                                            Seeking Alpha publishes an                           20
                                                                                article discussing "questionable
                                                                                business practices"

       $10                                                                                                                           10



        $0                                                                                                                           0



 Notes and Sources:
 Data from Bloomberg, L.P. Events and annotations from Complaint and news articles. Log price reactions from the Dalrymple Report.



          47.        In sum, a detailed review and analysis of the intraday price movements separating
two events and the analyst and market commentary shows that Acadias price reaction on
November 16, 2018 was not due to the alleged corrective disclosure in the Seeking Alpha article,
but rather to news unrelated to the alleged fraud about the potential sale of Acadia, which
demonstrates that the alleged misrepresentations regarding Acadias U.S. operations did not have
price impact.




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            C.    Further evidence that the alleged misrepresentations regarding
                  Acadias U.S. operations did not impact Acadias stock price prior to
                  the alleged corrective disclosures is that the stock price did not react to
                  the disclosure of numerous similar news stories regarding the quality
                  of care at Acadias U.S. facilities

          48.     Plaintiffs theory is that the alleged misrepresentations impacted Acadias stock
price because they misrepresented or concealed the alleged truth regarding the quality,
staff[ing] and compliance of Acadias U.S. facilities.58 Plaintiffs claim that the October 11,
2018 Aurelius Value report and the November 16, 2018 Seeking Alpha article revealed the
alleged truth regarding the quality of care at Acadias U.S. facilities that was concealed by the
alleged fraud. Plaintiffs claim that the Aurelius Value report disclosed systematic instances of
patient abuse and neglect at dozens of Acadia facilities, caused primarily by understaffing and
that the Seeking Alpha article disclosed severe problems at several of Acadias facilities that
were consistent with declining quality of care and that due to the number of suicides at some
of their facilities, Acadias ability to accept certain patients has been restricted by state-level
governments.59 As discussed above, neither of the two alleged corrective disclosures had price
impact. Moreover, information regarding the quality of care at Acadias U.S. facilities of the type
that Plaintiffs allege is corrective of the alleged misrepresentations was released on a number
of other occasions during the alleged Class Period. As with the Aurelius Value and Seeking
Alpha reports, there was no price reaction in Acadias stock price after any of these
announcements, and no indication that these announcements changed analysts perceptions of the
quality of care at Acadias U.S. facilities, demonstrating that the alleged misrepresentations
regarding Acadias U.S. operations did not have price impact.

          49.     We reviewed publicly available information to see if negative information
regarding quality, staffing and compliance issues at Acadias facilities of the type
Plaintiffs allege was concealed by the alleged fraud was released during the alleged Class Period,
and analyzed whether there was any stock price reaction after the release of this corrective
type of information. We found no evidence of any stock price reaction to these similar
disclosures. In particular, there were public reports and articles disclosing quality, staffing

58
     Complaint, ¶3.
59
     Complaint, ¶¶185 and 190.


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and compliance issues at Acadias facilities during the alleged Class Period and no statistically
significant price reaction after these disclosures. In other words, the release of information on
quality of care issues at Acadias U.S. facilities that Plaintiffs claim would have been corrective
did not cause any statistically significant movement in Acadias stock price. The lack of any
price reaction to the release of this information is consistent with the lack of a price reaction to
the allegedly corrective information regarding the quality of care at Acadias U.S. facilities in the
Aurelius Value and Seeking Alpha reports, and further demonstrates that the alleged
misrepresentations did not have price impact.

          50.      In particular, we analyzed 22 public reports and articles disclosing quality,
staffing and/or compliance issues at Acadias facilities. According to both Mr. Dalrymples
and the alternative event study, there was no statistically significant price reaction after the
release of 21 of the 22 disclosures of quality of care issues at Acadias U.S. facilities.60 On the
one date when there was a statistically significant price decline, September 15, 2017, the
evidence indicates that Acadias price reaction was not due to news about quality of care but
rather due to negative news unrelated to the alleged fraud. In particular, there were two negative
news events on September 15, 2017: a WXYZ Detroit article disclosing quality of care issues at
one of Acadias facilities that was published on September 14 at 10:58 PM,61 before market open
on September 15, and a CNBC report discussing negative news unrelated to the alleged fraud
that was published on September 15 at 11:37 AM, after market open.62 The WXYZ Detroit
article discussed quality of care issues at Acadias Metro Detroit psychiatric hospital and the
CNBC report disclosed that a bill to repeal and replace key parts of the Affordable Care Act
(ACA) had almost enough votes to pass. An analysis of Acadias intraday price movement and
trading volume shows that Acadias stock did not react after the WXYZ Detroit article was


60
     According to Mr. Dalrymple, when analyzing the statistical significance of a price reaction to an event, the 95%
     statistical confidence level is the commonly applied standard. Deposition of W. Scott Dalrymple, June 3, 2021,
     137:24-139:17. Using the 95% confidence level means that there is a 5% chance of finding a statistically
     significant price reaction even when there is no company-specific news of importance to the market, and the
     stock price moves solely due to its normal daily fluctuations. Thus, for every 22 price reactions analyzed at the
     95% confidence level, on average, it is expected that one will be statistically significant for no reason other than
     the normal daily variation in the stock price (5% of 22 equals 1.10).
61
     Ex-employees: Metro Detroit psych hospital so understaffed its dangerous, WXYZ Detroit, September 14,
     2017, 10:58 PM.
62
     Senator says Obamacare repeal bill close to enough votes to pass, but theres reason to be skeptical, CNBC,
     September 15, 2017, 11:37 AM.


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published but rather reacted later in the day after the CNBC report came out. Further evidence
that the reaction was not due to the quality of care announcement but rather due to negative news
unrelated to the alleged fraud is that none of the three analysts that issued reports after September
15 mentioned the WXYZ Detroit article or indicated in any way that the market had learned
anything new about the quality of care at Acadias U.S. facilities.63 Instead, Jefferies, one of the
analysts that issued a report after September 15, explicitly attributed the recent weakness in
Acadias stock to the negative news in the CNBC report, noting that the ACA repeal bill was
gaining traction.64

          51.      We reviewed reports and commentary by analysts covering Acadia during the
alleged Class Period to determine whether any of the public reports and articles discussing
quality of care issues at Acadias facilities described above changed the markets perception
about the quality of care at Acadias U.S. facilities as Plaintiffs claim. The results of my review
are consistent with the lack of any price reaction to these events. None of the analysts covering
Acadia made any comment that is consistent with Plaintiffs theory that the revelation of these
types of quality, staffing and compliance issues at Acadias facilities were corrective of
the alleged fraud. Instead, in reports during the alleged Class Period, analysts noted that
behavioral health facilities are frequently the subject of negative news stories. For example:

          Behavioral health services have also frequently been the subject of adverse press
          accounts and unfavorable public opinion, which can slow the demand for services
          provided by individual behavioral health services providers. [Cantor Fitzgerald, May 5,
          2014]
          Due to the fragile nature of the patient population, behavioral providers have historically
          been subject to critical news headlines following adverse patient outcomes. In some
          cases, negative headlines have contributed to state/federal surveys and/or admissions
          holds from key referral sources. [Baird, August 5, 2015]
          Occasionally behavioral health facilities have negative news stories written about them
          and this can put negative pressure on the stock price of these companies. Sometimes there
          may be government investigations opened to look into the allegations further and this can
          create uncertainty for investors. [Craig Hallum, February 16, 2016]

          52.      The table below shows the 22 public reports and articles discussing quality of care
issues at Acadias U.S. facilities, along with whether there was a statistically significant price


63
     Jefferies, September 20, 2017, Raymond James, September 21, 2017, and Stephens, September 21, 2017.
64
     Jefferies, September 20, 2017.


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reaction after the release of these reports and articles and whether analyst commentary is
consistent with Plaintiffs theory.

                         Market Reactions to Reports Related to Acadia's U.S. Operations
                                                                                                 Stat. Sig. Price Reaction?
                                                                                                  Dalrymple Alternative Analyst Comment
           Date                                                                                     Event      Event     Consistent with
     Event & Reaction                         Event                               Source            Study     Study     Plaintiffs' Theory?

  1. 8/23/15 & 8/24/15     Sierra Tuscson pays state civil penalties        Arizona Daily Star       No          No               No
  2. 11/7/15 & 11/9/15     Fort Myers staff allegedly missed "red flags"    Naples Daily News        No          No               No
                           when hiring employee who allegedly
                           sexually assaulted patients
  3. 4/11/16 & 4/11/16     DHS Confirms Investigation into Piney            KNWA Fox24               No          No               No
                           Ridge
  4. 5/6/16 & 5/6/16       Allegations of staff forcing children to fight   KNWA Fox24               No          No               No
                           at Piney Ridge
  5. 6/20/16 & 6/20/16     Park Royal Hospital settles sexual abuse         News Press               No          No               No
                           lawsuit
  6. 6/22/16 & 6/22/16     Lawsuit alleging rape of minor in presence       5 News Online            No          No               No
                           of Acadia employee
  7. 7/15/16 & 7/18/16     Lawsuit alleging negligence in alleged on-       5 News Online            No          No               No
                           site rape
  8. 12/2/16 & 12/2/16     Teen sentenced to probation for raping three     RawStory                 No          No               No
                           boys and trying to assault another at an
                           Acadia facility
  9. 6/13/17 & 6/13/17     Boy dies after allegedly left in a hot van by    Inside Edition           No          No               No
                           Acadia staff for eight hours
 10. 6/16/17 & 6/19/17     Four charged in Acadia daycare van death         Arkansas Times           No          No               No

 11. 9/14/17 & 9/15/17     Alleged Understaffing at Metro Detroit           WXYZ News                 Yes        Yes               No
 12. 12/18/17 & 12/19/17 NLR Childcare Center under investigation           Fox 16 News               No         No                No
                           by DHS for alleged child mistreatment
 13. 1/3/18 & 1/4/18       Sex crime alleged by Park Royal patient          News Press                No         No                No
 14. 2/13/18 & 2/14/18     Allegations of staff encouraging fights and      WISH TV                   No         No                No
                           violence with kids at youth facility
 15. 2/14/18 & 2/15/18     Two suicides in five days alleged at             Meningitis Etc.           No         No                No
                           Belmont
 16. 2/17/18 & 2/20/18     Alleged understaffing at Priory's                Daily Mail                No         No                No
                           Roehampton hospital
 17. 2/19/18 & 2/20/18     CEO of Park Royal Hospital steps down            News Press                No         No                No
 18. 4/11/18 & 4/12/18     Former Piney Ridge employee accused of           5 News Online             No         No                No
                           trying to solicit a nude photo from a former
                           underage patient
 19. 4/13/18 & 4/16/18     DCS placed a referral hold on Resource           WISH TV                   No         No                No
                           Residential Treatment Facility
 20. 5/23/18 & 5/23/18     Wrongful death lawsuit against Sonora            Tucson News Now           No         No                No
                           Behavioral Health after 17-year-old patient
                           commits suicide
 21. 5/25/18 & 5/25/18     Patient referrals temporarily halted at Ohio     Columbus Dispatch         No         No                No
                           Hospital for Psychiatry
 22. 8/22/18 & 8/23/18     Lemont counselor charged with sexually           ABC 7 Chicago             No         No                No
                           assaulting patient during therapy sessions
 Notes and Sources:
     Events from Factiva, Acadia Healthcare: Destructive Greed, Aurelius Value , October 11, 2018, and Acadia Healthcare: Very Scary Findings
     From A 14-Month Investigation, Seeking Alpha , November 16, 2018. Event study results from the Dalrymple Report and alternative event
     study methodology detailed in Section VI.




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          53.      In sum, Plaintiffs claim that the alleged inflation in Acadias stock price, caused
by the alleged misrepresentations regarding quality of care issues at Acadias U.S. facilities, was
corrected by the Aurelius Value and Seeking Alpha reports, neither of which had price impact.
Moreover, similar disclosures regarding quality of care issues at Acadias U.S. facilities of the
type Plaintiffs allege is corrective of the alleged misrepresentations were also announced during
the alleged Class Period to no reaction. As with the Aurelius Value and Seeking Alpha reports,
there was no price reaction in Acadias stock price after any of these announcements, and no
indication that these announcements changed analysts perceptions of the quality of care at
Acadias U.S. facilities, further demonstrating that the alleged misrepresentations did not have
price impact.65



            D.     Acadia warned and analysts noted, before and during the alleged Class
                   Period, that incidents in Acadias psychiatric hospitals could lead to
                   negative publicity and media coverage

          54.      It is not surprising that the alleged corrective disclosures did not have price
impact because Acadia warned and analysts noted, before and during the alleged Class Period,
that incidents in Acadias psychiatric hospitals could lead to negative publicity and media
coverage. For example, in its Form 10-K for 2013, filed on February 21, 2014 (before the alleged
Class Period), Acadia warned of the potential risk of negative publicity or unfavorable media
attention as a result of incidents involving its patients.

                We have been and could become the subject of negative media coverage as a result
                of incidents involving one or more of our patients. If we were to receive such
                negative publicity or unfavorable media attention, whether warranted or unwarranted,




65
     Additional evidence contrary to Plaintiffs theory is the pattern of Acadias same-store admissions growth
     following the alleged corrective disclosures. Given Plaintiffs theory, one would expect the number of patients at
     Acadias facilities to decline after the alleged truth regarding the quality of care at Acadias U.S. facilities was
     disclosed to the market. However, the number of patients at Acadias facilities did not decline after the alleged
     Class Period. On the contrary, Acadia reported positive growth in its same-store admissions. (Same-store
     admissions is a metric used to measure the annual change in the number of patients in the companys facilities
     that have been operating for a year or more). Acadias same-store admissions grew for six consecutive quarters
     after the end of the alleged Class Period (from the fourth quarter of 2018 to the first quarter of 2020). Moreover,
     Acadias same-store admissions growth outpaced its closest competitor, UHS, for every quarter after the alleged
     Class Period to the present. See Acadia Healthcare, Inc. and Universal Health Services, Inc. SEC Filings.


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                the trading price of our common stock and reputation could be significantly,
                adversely affected.66


          55.      Acadia repeated identical or substantially similar statements regarding the risks
associated with its business operations in its 10-Ks for 2014-2017, filed during the alleged Class
Period on February 27, 2015,67 February 26, 2016,68 February 24, 2017,69 and February 27,
2018.70

          56.      Analysts both prior to and during the alleged Class Period noted that the market
was aware of the risk that incidents in Acadias psychiatric hospitals could lead to negative
publicity and media coverage.

                Acadia could become the subject of negative publicity or media coverage as a
                result of incidents involving its patients. This could result in increased regulatory
                burdens, governmental investigations and judgments or fines against the company.
                [Wells Fargo, 12/6/13, emphasis added]
                The behavioural health industry has in the past been the subject of negative media
                reports for problems at facilities where patients have harmed themselves or others.
                While ACHC has instituted training policies and procedures across all of its facilities
                to reduce this risk, we are likely to see more negative headlines in the future.
                [UBS, 10/22/14, emphasis added]
                Finally, companies in the behavioral health industry are exposed to headline risk, or
                the potential for unfavorable public attention, often brought about by journalists.
                Acadias principal competitor in the United States, UHS, was the subject of a series
                of journalist reports that criticized some of UHSs treatment practices and staff
                conduct at certain facilities. UHS shares fell due to the unfavorable public attention.
                Even when negative publicity arises in relation to a competitor like UHS, that
                negative attention can bleed over to Acadia as well. [Credit Suisse, 11/2/17, emphasis
                added]




66
     Acadia 2013 Form 10-K, filed February 21, 2014, p. 13.
67
     Acadia 2014 Form 10-K, filed February 27, 2015, p. 24.
68
     Acadia 2015 Form 10-K, filed February 26, 2016, p. 22.
69
     Acadia 2016 Form 10-K, filed February 24, 2017, p. 19.
70
     Acadia 2017 Form 10-K, filed February 27, 2018, p. 19.


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      Lucy P. Allen




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                                      Appendix B
                                  Materials Considered
   Case Documents, Filings, and Court Decisions in this Matter

      1.   Consolidated Complaint for Violations of the Federal Securities Laws, dated April
           1, 2019
      2.   Memorandum Opinion of the Court on Defendants Motion to Dismiss, dated
           January 20, 2021
      3.   Expert Report of W. Scott Dalrymple, dated May 3, 2021
      4.   Memorandum of Law in Support of Lead Plaintiffs Motion for Class Certification,
           dated May 3, 2021
      5.   Deposition of W. Scott Dalrymple, dated June 3, 2021

   Documents produced by Mr. Dalrymple

      1. DALRYMPLE_0000001-DALRYMPLE_0010820

   SEC Filings
      1. Acadia 2013 Form 10-K, filed February 21, 2014
      2. Acadia 1Q14 Form 10-Q, filed April 30, 2014
      3. Acadia 2Q14 Form 10-Q, filed July 30, 2014
      4. Acadia 3Q14 Form 10-Q, filed October 30, 2014
      5. Acadia 2014 Form 10-K, filed February 27, 2015
      6. Acadia 1Q15 Form 10-Q, filed April 29, 2015
      7. Acadia 2Q15 Form 10-Q, filed August 5, 2015
      8. Acadia 3Q15 Form 10-Q, filed November 4, 2015
      9. Acadia 2015 Form 10-K, filed February 26, 2016
      10. Acadia 1Q16 Form 10-Q, filed April 29, 2016
      11. Acadia 2Q16 Form 10-Q, filed July 29, 2016
      12. Acadia 3Q16 Form 10-Q, filed November 2, 2016
      13. Acadia 2016 Form 10-K, filed February 24, 2017
      14. Acadia 1Q17 Form 10-Q, filed April 26, 2017
      15. Acadia 2Q17 Form 10-Q, filed July 28, 2017
      16. Acadia 3Q17 Form 10-Q, filed October 25, 2017
      17. Acadia 2017 Form 10-K, filed February 27, 2018
      18. Acadia 1Q18 Form 10-Q, filed May 3, 2018
      19. Acadia 2Q18 Form 10-Q, filed July 31, 2018
      20. Acadia 3Q18 Form 10-Q, filed November 6, 2018
      21. Acadia 2018 Form 10-K, filed March 1, 2019
      22. Acadia 1Q19 Form 10-Q, filed May 1, 2019
      23. Acadia 2Q19 Form 10-Q, filed July 31, 2019
      24. Acadia 3Q19 Form 10-Q, filed November 6, 2019
      25. Acadia 2019 Form 10-K, filed February 28, 2020
      26. Acadia 1Q20 Form 10-Q, filed May 5, 2020
      27. Acadia 2Q20 Form 10-Q, filed August 5, 2020
      28. Acadia 3Q20 Form 10-Q, filed October 30, 2020
      29. Acadia 2020 Form 10-K, filed February 26, 2021
      30. Acadia 1Q21 Form 10-Q, filed April 30, 2021
      31. UHS 2018 Form 10-K, filed February 27, 2019
      32. UHS 1Q19 Form 10-Q, filed May 8, 2019
      33. UHS 2Q19 Form 10-Q, filed August 8, 2019

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                                        Appendix B
                                    Materials Considered
      34. UHS 3Q19 Form 10-Q, filed November 8, 2019
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      2. Shares outstanding data for Acadia stock
      3. Equity float data for Acadia stock
      4. Short interest data for Acadia stock
      5. Implied volatility data for Acadia stock
      6. Price data for NASDAQ Composite Index
      7. Price data for S&P 600 Health Care Providers & Services Index
      8. Intraday price and volume data for Acadia stock
      9. Intraday price and volume data for NASDAQ Composite Index
      10. Intraday price and volume data for S&P 600 Health Care Providers & Services Index


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                                      Appendix B
                                  Materials Considered
   Analyst Reports on Acadia Healthcare, Inc. and Healthcare Services Industry

      1.    2013.12.06 - Wells Fargo
      2.    2013.12.17 - Susquehanna
      3.    2014.01.03 - Avondale Partners
      4.    2014.01.06 - Baird
      5.    2014.01.06 - Bank of America
      6.    2014.01.06 - Bank of America (2)
      7.    2014.01.06 - Bank of America (3)
      8.    2014.01.06 - Deutsche Bank
      9.    2014.01.06 - Deutsche Bank
      10.   2014.01.06 - Raymond James
      11.   2014.01.06 - RBC
      12.   2014.01.06 - Susquehanna
      13.   2014.01.08 - Deutsche Bank
      14.   2014.01.09 - RBC
      15.   2014.01.10 - Avondale Partners
      16.   2014.01.10 - Raymond James
      17.   2014.01.17 - Craig Hallum
      18.   2014.01.21 - RBC
      19.   2014.01.21 - Stephens
      20.   2014.01.27 - Jefferies
      21.   2014.01.27 - Stephens
      22.   2014.01.31 - Deutsche Bank
      23.   2014.02.03 - Jefferies
      24.   2014.02.03 - RBC
      25.   2014.02.10 - Jefferies
      26.   2014.02.10 - Wells Fargo
      27.   2014.02.19 - Avondale Partners
      28.   2014.02.19 - Baird
      29.   2014.02.19 - Bank of Montreal
      30.   2014.02.19 - Raymond James
      31.   2014.02.19 - Susquehanna
      32.   2014.02.19 - Wells Fargo
      33.   2014.02.20 - Baird
      34.   2014.02.20 - Bank of America
      35.   2014.02.20 - Bank of America (2)
      36.   2014.02.20 - Deutsche Bank
      37.   2014.02.20 - Jefferies
      38.   2014.02.20 - Raymond James
      39.   2014.02.20 - RBC
      40.   2014.02.20 - Stephens
      41.   2014.02.21 - Bank of America
      42.   2014.02.21 - RBC
      43.   2014.02.21 - Wells Fargo
      44.   2014.02.23 - Bank of Montreal
      45.   2014.02.23 - Susquehanna
      46.   2014.02.24 - Avondale Partners
      47.   2014.02.24 - Craig Hallum
      48.   2014.02.24 - Jefferies

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                                  Materials Considered
      49.   2014.02.24 - RBC
      50.   2014.02.26 - RBC
      51.   2014.03.03 - Cantor Fitzgerald
      52.   2014.03.03 - RBC
      53.   2014.03.04 - Baird
      54.   2014.03.04 - Jefferies
      55.   2014.03.04 - Stephens
      56.   2014.04.04 - Bank of America
      57.   2014.04.07 - Bank of Montreal
      58.   2014.04.09 - Avondale Partners
      59.   2014.04.17 - Deutsche Bank
      60.   2014.04.18 - Baird
      61.   2014.04.24 - Bank of America
      62.   2014.04.24 - Craig Hallum
      63.   2014.04.28 - Bank of Montreal
      64.   2014.04.29 - Avondale Partners
      65.   2014.04.29 - Baird
      66.   2014.04.29 - Bank of America
      67.   2014.04.29 - Bank of Montreal
      68.   2014.04.29 - Raymond James
      69.   2014.04.29 - Susquehanna
      70.   2014.04.30 - Avondale Partners
      71.   2014.04.30 - Baird
      72.   2014.04.30 - Bank of America
      73.   2014.04.30 - Craig Hallum
      74.   2014.04.30 - Deutsche Bank
      75.   2014.04.30 - Jefferies
      76.   2014.04.30 - Raymond James
      77.   2014.04.30 - RBC
      78.   2014.04.30 - Stephens
      79.   2014.04.30 - Susquehanna
      80.   2014.04.30 - Wells Fargo
      81.   2014.04.30 - Wells Fargo (2)
      82.   2014.05.01 - Bank of Montreal
      83.   2014.05.01 - RBC
      84.   2014.05.02 - Baird
      85.   2014.05.02 - Bank of America
      86.   2014.05.02 - Bank of America (2)
      87.   2014.05.02 - Deutsche Bank
      88.   2014.05.02 - Jefferies
      89.   2014.05.02 - Raymond James
      90.   2014.05.02 - Stephens
      91.   2014.05.05 - Cantor Fitzgerald
      92.   2014.05.05 - Jefferies
      93.   2014.05.05 - Stephens
      94.   2014.05.12 - RBC
      95.   2014.05.12 - Stephens
      96.   2014.05.15 - Bank of America
      97.   2014.05.15 - Craig Hallum
      98.   2014.05.19 - Stephens
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                                   Materials Considered
      99.    2014.05.23 - Stephens
      100.   2014.05.27 - Jefferies
      101.   2014.05.27 - Stephens
      102.   2014.06.03 - Baird
      103.   2014.06.03 - Bank of America
      104.   2014.06.03 - Bank of Montreal
      105.   2014.06.03 - Citi
      106.   2014.06.03 - Craig Hallum
      107.   2014.06.03 - Deutsche Bank
      108.   2014.06.03 - Raymond James
      109.   2014.06.03 - RBC
      110.   2014.06.03 - Stephens
      111.   2014.06.03 - Susquehanna
      112.   2014.06.03 - Wells Fargo
      113.   2014.06.04 - Craig Hallum
      114.   2014.06.04 - Jefferies
      115.   2014.06.09 - Susquehanna
      116.   2014.06.13 - Bank of America
      117.   2014.06.13 - Raymond James
      118.   2014.06.25 - Wells Fargo
      119.   2014.07.01 - Deutsche Bank
      120.   2014.07.02 - Baird
      121.   2014.07.02 - Raymond James
      122.   2014.07.02 - RBC
      123.   2014.07.02 - Stephens
      124.   2014.07.02 - Susquehanna
      125.   2014.07.03 - Avondale Partners
      126.   2014.07.03 - Avondale Partners (2)
      127.   2014.07.11 - Jefferies
      128.   2014.07.11 - Jefferies (2)
      129.   2014.07.29 - Avondale Partners
      130.   2014.07.29 - Bank of America
      131.   2014.07.29 - Bank of Montreal
      132.   2014.07.29 - Jefferies
      133.   2014.07.29 - Raymond James
      134.   2014.07.29 - Susquehanna
      135.   2014.07.29 - Wells Fargo
      136.   2014.07.30 - Avondale Partners
      137.   2014.07.30 - Baird
      138.   2014.07.30 - Bank of America
      139.   2014.07.30 - Deutsche Bank
      140.   2014.07.30 - Jefferies
      141.   2014.07.30 - Raymond James
      142.   2014.07.30 - RBC
      143.   2014.07.30 - Susquehanna
      144.   2014.07.31 - Bank of Montreal
      145.   2014.07.31 - Cantor Fitzgerald
      146.   2014.07.31 - Craig Hallum
      147.   2014.07.31 - RBC
      148.   2014.07.31 - Stephens
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                                   Materials Considered
      149.   2014.07.31 - Wells Fargo
      150.   2014.08.01 - Bank of America
      151.   2014.08.14 - Wells Fargo
      152.   2014.08.18 - Stephens
      153.   2014.08.20 - Bank of Montreal
      154.   2014.08.25 - Cantor Fitzgerald
      155.   2014.08.25 - Jefferies
      156.   2014.08.25 - Stephens
      157.   2014.08.26 - Cantor Fitzgerald
      158.   2014.08.29 - Jefferies
      159.   2014.09.02 - Stephens
      160.   2014.09.03 - Jefferies
      161.   2014.09.15 - Baird
      162.   2014.09.15 - Deutsche Bank
      163.   2014.09.15 - Deutsche Bank (2)
      164.   2014.09.15 - Raymond James
      165.   2014.09.22 - Stephens
      166.   2014.09.28 - Susquehanna
      167.   2014.09.29 - Stephens
      168.   2014.09.29 - Susquehanna
      169.   2014.10.01 - Deutsche Bank
      170.   2014.10.06 - Stephens
      171.   2014.10.08 - Bank of Montreal
      172.   2014.10.08 - Cantor Fitzgerald
      173.   2014.10.22 - UBS
      174.   2014.10.27 - Avondale Partners
      175.   2014.10.27 - Cantor Fitzgerald
      176.   2014.10.29 - Avondale Partners
      177.   2014.10.29 - Baird
      178.   2014.10.29 - Bank of Montreal
      179.   2014.10.29 - Raymond James
      180.   2014.10.29 - Susquehanna
      181.   2014.10.29 - UBS
      182.   2014.10.29 - Wells Fargo
      183.   2014.10.30 - Baird
      184.   2014.10.30 - Bank of America
      185.   2014.10.30 - Bank of America (2)
      186.   2014.10.30 - Jefferies
      187.   2014.10.30 - Raymond James
      188.   2014.10.30 - RBC
      189.   2014.10.30 - Stephens
      190.   2014.10.30 - UBS
      191.   2014.10.30 - Wells Fargo
      192.   2014.10.31 - Cantor Fitzgerald
      193.   2014.10.31 - Craig Hallum
      194.   2014.10.31 - Deutsche Bank
      195.   2014.10.31 - Stephens
      196.   2014.10.31 - Susquehanna
      197.   2014.11.02 - RBC
      198.   2014.11.03 - Avondale Partners
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                                   Materials Considered
      199.   2014.11.05 - Bank of Montreal
      200.   2014.11.12 - Wells Fargo
      201.   2014.11.21 - UBS
      202.   2014.11.24 - Bank of Montreal
      203.   2014.11.25 - Cantor Fitzgerald
      204.   2014.12.05 - Bank of America
      205.   2014.12.05 - Deutsche Bank
      206.   2014.12.19 - Craig Hallum
      207.   2015.01.05 - Deutsche Bank
      208.   2015.01.05 - Jefferies
      209.   2015.01.06 - Stephens
      210.   2015.01.27 - Deutsche Bank
      211.   2015.01.29 - Avondale Partners
      212.   2015.02.06 - Baird
      213.   2015.02.11 - Baird
      214.   2015.02.11 - Bank of Montreal
      215.   2015.02.11 - Craig Hallum
      216.   2015.02.11 - Deutsche Bank
      217.   2015.02.11 - Raymond James
      218.   2015.02.11 - Susquehanna
      219.   2015.02.11 - UBS
      220.   2015.02.11 - Wells Fargo
      221.   2015.02.12 - Avondale Partners
      222.   2015.02.12 - Avondale Partners (2)
      223.   2015.02.12 - Bank of America
      224.   2015.02.12 - Bank of America (2)
      225.   2015.02.12 - Bank of Montreal
      226.   2015.02.12 - Deutsche Bank
      227.   2015.02.12 - Jefferies
      228.   2015.02.12 - Raymond James
      229.   2015.02.12 - RBC
      230.   2015.02.12 - Stephens
      231.   2015.02.12 - Stephens (2)
      232.   2015.02.12 - Susquehanna
      233.   2015.02.12 - Wells Fargo
      234.   2015.02.13 - Baird
      235.   2015.02.13 - Craig Hallum
      236.   2015.02.13 - RBC
      237.   2015.02.18 - Deutsche Bank
      238.   2015.02.18 - Stephens
      239.   2015.02.19 - Cantor Fitzgerald
      240.   2015.02.25 - UBS
      241.   2015.03.02 - Bank of America
      242.   2015.03.02 - RBC
      243.   2015.03.02 - Susquehanna
      244.   2015.03.02 - UBS
      245.   2015.03.06 - Avondale Partners
      246.   2015.03.06 - Avondale Partners (2)
      247.   2015.03.09 - Raymond James
      248.   2015.03.12 - Raymond James
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                                   Materials Considered
      249.   2015.03.19 - Raymond James
      250.   2015.03.20 - Baird
      251.   2015.03.20 - Bank of America
      252.   2015.04.01 - Baird
      253.   2015.04.10 - Baird
      254.   2015.04.13 - Avondale Partners
      255.   2015.04.21 - Craig Hallum
      256.   2015.04.27 - Avondale Partners
      257.   2015.04.27 - Bank of America
      258.   2015.04.27 - Deutsche Bank
      259.   2015.04.27 - Susquehanna
      260.   2015.04.28 - Avondale Partners
      261.   2015.04.28 - Baird
      262.   2015.04.28 - Bank of America
      263.   2015.04.28 - Bank of Montreal
      264.   2015.04.28 - Deutsche Bank
      265.   2015.04.28 - Raymond James
      266.   2015.04.28 - Susquehanna
      267.   2015.04.28 - UBS
      268.   2015.04.28 - Wells Fargo
      269.   2015.04.29 - Bank of America
      270.   2015.04.29 - Bank of Montreal
      271.   2015.04.29 - Deutsche Bank
      272.   2015.04.29 - Jefferies
      273.   2015.04.29 - RBC
      274.   2015.04.29 - Stephens
      275.   2015.04.29 - Susquehanna
      276.   2015.04.29 - UBS
      277.   2015.04.30 - Cantor Fitzgerald
      278.   2015.04.30 - Craig Hallum
      279.   2015.04.30 - Raymond James
      280.   2015.04.30 - RBC
      281.   2015.04.30 - Stephens
      282.   2015.04.30 - Wells Fargo
      283.   2015.05.01 - Avondale Partners
      284.   2015.05.01 - Avondale Partners (2)
      285.   2015.05.04 - Susquehanna
      286.   2015.05.05 - Susquehanna
      287.   2015.05.07 - Bank of America
      288.   2015.05.12 - Bank of America
      289.   2015.05.14 - Baird
      290.   2015.05.19 - UBS
      291.   2015.05.20 - Susquehanna
      292.   2015.05.26 - UBS
      293.   2015.05.27 - Baird
      294.   2015.05.27 - Bank of America
      295.   2015.05.27 - Deutsche Bank
      296.   2015.05.27 - RBC
      297.   2015.05.27 - Susquehanna
      298.   2015.05.27 - Wells Fargo
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                                       Appendix B
                                   Materials Considered
      299.   2015.06.02 - Baird
      300.   2015.06.02 - Bank of America
      301.   2015.06.02 - Craig Hallum
      302.   2015.06.02 - Deutsche Bank
      303.   2015.06.02 - Raymond James
      304.   2015.06.02 - RBC
      305.   2015.06.02 - Susquehanna
      306.   2015.06.02 - UBS
      307.   2015.06.02 - Wells Fargo
      308.   2015.06.03 - Avondale Partners
      309.   2015.06.03 - Jefferies
      310.   2015.06.04 - Avondale Partners
      311.   2015.06.11 - Raymond James
      312.   2015.06.12 - Stephens
      313.   2015.06.12 - Stephens (2)
      314.   2015.06.16 - RBC
      315.   2015.06.25 - Bank of Montreal
      316.   2015.08.03 - Bank of America
      317.   2015.08.04 - Avondale Partners
      318.   2015.08.04 - Bank of Montreal
      319.   2015.08.04 - Mizuho
      320.   2015.08.04 - RBC
      321.   2015.08.04 - Susquehanna
      322.   2015.08.04 - UBS
      323.   2015.08.05 - Avondale Partners
      324.   2015.08.05 - Baird
      325.   2015.08.05 - Bank of America
      326.   2015.08.05 - Bank of America (2)
      327.   2015.08.05 - Raymond James
      328.   2015.08.05 - Raymond James (2)
      329.   2015.08.05 - RBC
      330.   2015.08.05 - Stephens
      331.   2015.08.05 - UBS
      332.   2015.08.05 - Wells Fargo
      333.   2015.08.06 - Bank of Montreal
      334.   2015.08.06 - Cantor Fitzgerald
      335.   2015.08.06 - Craig Hallum
      336.   2015.08.06 - RBC
      337.   2015.08.06 - Wells Fargo
      338.   2015.08.12 - Wells Fargo
      339.   2015.08.14 - Jefferies
      340.   2015.08.30 - Susquehanna
      341.   2015.09.01 - SVB Leerink (2)
      342.   2015.09.01 - SVB Leerink
      343.   2015.09.02 - Baird
      344.   2015.09.02 - Bank of America
      345.   2015.09.02 - SVB Leerink (2)
      346.   2015.09.02 - Mizuho
      347.   2015.09.02 - Raymond James
      348.   2015.09.02 - Susquehanna
                                                                        10
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                                       Appendix B
                                   Materials Considered
      349.   2015.09.02 - SVB Leerink
      350.   2015.09.02 - UBS
      351.   2015.09.03 - Craig Hallum
      352.   2015.09.10 - Wells Fargo
      353.   2015.09.14 - Susquehanna
      354.   2015.09.15 - Craig Hallum
      355.   2015.09.15 - Susquehanna
      356.   2015.09.16 - JPMorgan
      357.   2015.09.29 - Avondale Partners
      358.   2015.09.29 - SVB Leerink
      359.   2015.10.27 - Craig Hallum
      360.   2015.11.03 - Bank of Montreal
      361.   2015.11.03 - Mizuho
      362.   2015.11.03 - Susquehanna
      363.   2015.11.03 - SVB Leerink
      364.   2015.11.03 - UBS
      365.   2015.11.04 - Avondale Partners
      366.   2015.11.04 - Avondale Partners (2)
      367.   2015.11.04 - Bank of Montreal
      368.   2015.11.04 - Cantor Fitzgerald
      369.   2015.11.04 - Craig Hallum
      370.   2015.11.04 - Jefferies
      371.   2015.11.04 - Jefferies (2)
      372.   2015.11.04 - JPMorgan
      373.   2015.11.04 - JPMorgan (2)
      374.   2015.11.04 - RBC
      375.   2015.11.04 - Stephens
      376.   2015.11.04 - Susquehanna
      377.   2015.11.04 - UBS
      378.   2015.11.04 - Wells Fargo
      379.   2015.11.05 - Baird
      380.   2015.11.05 - Raymond James
      381.   2015.11.05 - RBC
      382.   2015.11.05 - Stephens
      383.   2015.11.05 - Wells Fargo
      384.   2015.11.09 - SVB Leerink
      385.   2015.11.10 - Susquehanna
      386.   2015.11.16 - UBS
      387.   2015.11.17 - SVB Leerink
      388.   2015.12.02 - RBC
      389.   2015.12.02 - Susquehanna
      390.   2015.12.02 - SVB Leerink
      391.   2015.12.04 - Jefferies
      392.   2015.12.09 - Avondale Partners
      393.   2015.12.16 - Craig Hallum
      394.   2016.01.04 - Avondale Partners
      395.   2016.01.04 - Avondale Partners (2)
      396.   2016.01.04 - Bank of Montreal
      397.   2016.01.04 - RBC
      398.   2016.01.04 - Susquehanna
                                                                        11
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                                   Materials Considered
      399.   2016.01.04 - SVB Leerink
      400.   2016.01.04 - UBS
      401.   2016.01.04 - Wells Fargo
      402.   2016.01.05 - Craig Hallum
      403.   2016.01.05 - JPMorgan
      404.   2016.01.05 - Raymond James
      405.   2016.01.05 - Stephens
      406.   2016.01.06 - UBS
      407.   2016.01.08 - Craig Hallum
      408.   2016.01.11 - Jefferies
      409.   2016.01.14 - JPMorgan
      410.   2016.01.21 - Jefferies
      411.   2016.02.01 - KeyBanc
      412.   2016.02.03 - Baird
      413.   2016.02.16 - Avondale Partners
      414.   2016.02.16 - Avondale Partners (2)
      415.   2016.02.16 - Baird
      416.   2016.02.16 - Bank of Montreal
      417.   2016.02.16 - Craig Hallum
      418.   2016.02.16 - JPMorgan
      419.   2016.02.16 - KeyBanc
      420.   2016.02.16 - SVB Leerink
      421.   2016.02.16 - Wells Fargo
      422.   2016.02.17 - Avondale Partners
      423.   2016.02.17 - Baird
      424.   2016.02.17 - Bank of America
      425.   2016.02.17 - Bank of America (2)
      426.   2016.02.17 - Jefferies
      427.   2016.02.17 - Raymond James
      428.   2016.02.17 - RBC
      429.   2016.02.17 - Stephens
      430.   2016.02.17 - Susquehanna
      431.   2016.02.17 - Susquehanna (2)
      432.   2016.02.17 - UBS
      433.   2016.02.17 - UBS (2)
      434.   2016.02.17 - Wells Fargo
      435.   2016.02.18 - Baird
      436.   2016.02.18 - Bank of Montreal
      437.   2016.02.18 - Cantor Fitzgerald
      438.   2016.02.18 - Craig Hallum
      439.   2016.02.18 - KeyBanc
      440.   2016.02.18 - RBC
      441.   2016.02.18 - RBC (2)
      442.   2016.02.18 - Stephens
      443.   2016.02.18 - Stephens (2)
      444.   2016.02.18 - Susquehanna
      445.   2016.02.18 - UBS
      446.   2016.02.18 - Wells Fargo
      447.   2016.02.19 - Craig Hallum
      448.   2016.02.22 - SVB Leerink
                                                                        12
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                                        Appendix B
                                    Materials Considered
      449.   2016.02.23 - JPMorgan
      450.   2016.02.23 - Raymond James
      451.   2016.02.23 - Raymond James (2)
      452.   2016.02.23 - RBC
      453.   2016.03.08 - Jefferies
      454.   2016.03.17 - Susquehanna
      455.   2016.03.22 - Jefferies
      456.   2016.03.24 - Craig Hallum
      457.   2016.04.01 - Mizuho
      458.   2016.04.06 - Jefferies
      459.   2016.04.07 - UBS
      460.   2016.04.13 - Baird
      461.   2016.04.16 - Craig Hallum
      462.   2016.04.18 - Craig Hallum
      463.   2016.04.21 - SVB Leerink
      464.   2016.04.25 - Jefferies
      465.   2016.04.25 - JPMorgan
      466.   2016.04.25 - Susquehanna
      467.   2016.04.25 - UBS
      468.   2016.04.26 - Avondale Partners
      469.   2016.04.26 - Baird
      470.   2016.04.26 - Bank of America
      471.   2016.04.26 - RBC
      472.   2016.04.26 - SVB Leerink
      473.   2016.04.28 - Avondale Partners
      474.   2016.04.28 - Baird
      475.   2016.04.28 - Jefferies
      476.   2016.04.28 - JPMorgan
      477.   2016.04.28 - KeyBanc
      478.   2016.04.28 - Mizuho
      479.   2016.04.28 - Stephens
      480.   2016.04.28 - Susquehanna
      481.   2016.04.28 - SVB Leerink
      482.   2016.04.28 - UBS
      483.   2016.04.28 - UBS (2)
      484.   2016.04.28 - Wells Fargo
      485.   2016.04.29 - Avondale Partners
      486.   2016.04.29 - Bank of America
      487.   2016.04.29 - Bank of America (2)
      488.   2016.04.29 - Cantor Fitzgerald
      489.   2016.04.29 - Cantor Fitzgerald (2)
      490.   2016.04.29 - JPMorgan
      491.   2016.04.29 - KeyBanc
      492.   2016.04.29 - Raymond James
      493.   2016.04.29 - RBC
      494.   2016.04.29 - UBS
      495.   2016.05.01 - Wells Fargo
      496.   2016.05.02 - Craig Hallum
      497.   2016.05.02 - JPMorgan
      498.   2016.05.02 - Raymond James
                                                                        13
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                                       Appendix B
                                   Materials Considered
      499.   2016.05.02 - RBC
      500.   2016.05.02 - Stephens
      501.   2016.05.02 - Susquehanna
      502.   2016.05.02 - SVB Leerink
      503.   2016.05.03 - Baird
      504.   2016.05.03 - Jefferies
      505.   2016.05.09 - JPMorgan
      506.   2016.05.10 - Bank of America
      507.   2016.05.18 - RBC
      508.   2016.05.19 - Craig Hallum
      509.   2016.05.20 - Craig Hallum
      510.   2016.05.23 - RBC
      511.   2016.05.25 - UBS
      512.   2016.06.22 - Craig Hallum
      513.   2016.06.23 - JPMorgan
      514.   2016.06.23 - UBS
      515.   2016.06.24 - JPMorgan
      516.   2016.06.24 - UBS
      517.   2016.06.24 - Wells Fargo
      518.   2016.06.27 - Jefferies
      519.   2016.06.28 - SVB Leerink
      520.   2016. 6.29 - Mizuho
      521.   2016.07.06 - Raymond James
      522.   2016.07.07 - Raymond James
      523.   2016.07.12 - JPMorgan
      524.   2016.07.13 - UBS
      525.   2016.07.14 - Avondale Partners
      526.   2016.07.14 - Baird
      527.   2016.07.14 - Bank of America
      528.   2016.07.14 - KeyBanc
      529.   2016.07.14 - SVB Leerink (2)
      530.   2016.07.14 - Mizuho
      531.   2016.07.14 - Raymond James
      532.   2016.07.14 - RBC
      533.   2016.07.14 - RBC (2)
      534.   2016.07.14 - RBC (3)
      535.   2016.07.14 - Stephens
      536.   2016.07.14 - Stephens (2)
      537.   2016.07.14 - Susquehanna
      538.   2016.07.14 - Susquehanna (2)
      539.   2016.07.14 - SVB Leerink
      540.   2016.07.14 - UBS
      541.   2016.07.14 - UBS (2)
      542.   2016.07.14 - Wells Fargo
      543.   2016.07.14 - Wells Fargo (2)
      544.   2016.07.15 - Baird
      545.   2016.07.15 - Baird (2)
      546.   2016.07.15 - Craig Hallum
      547.   2016.07.15 - Jefferies
      548.   2016.07.15 - Raymond James
                                                                        14
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                                       Appendix B
                                   Materials Considered
      549.   2016.07.15 - Stephens
      550.   2016.07.16 - Baird
      551.   2016.07.18 - Raymond James
      552.   2016.07.18 - RBC
      553.   2016.07.20 - Stephens
      554.   2016.07.25 - Stephens
      555.   2016.07.26 - Mizuho
      556.   2016.07.26 - Mizuho (2)
      557.   2016.07.26 - Mizuho (3)
      558.   2016.07.27 - Jefferies
      559.   2016.07.28 - Avondale Partners
      560.   2016.07.28 - Bank of America
      561.   2016.07.28 - Jefferies
      562.   2016.07.28 - Mizuho
      563.   2016.07.28 - Stephens
      564.   2016.07.28 - Susquehanna
      565.   2016.07.28 - SVB Leerink
      566.   2016.07.28 - Wells Fargo
      567.   2016.07.29 - Avondale Partners
      568.   2016.07.29 - Avondale Partners (2)
      569.   2016.07.29 - Bank of America
      570.   2016.07.29 - Bank of America (2)
      571.   2016.07.29 - Jefferies
      572.   2016.07.29 - KeyBanc
      573.   2016.07.29 - KeyBanc (2)
      574.   2016.07.29 - KeyBanc (3)
      575.   2016.07.29 - Mizuho
      576.   2016.07.29 - Raymond James
      577.   2016.07.29 - RBC
      578.   2016.07.29 - Stephens
      579.   2016.07.29 - Susquehanna
      580.   2016.07.29 - SVB Leerink
      581.   2016.07.29 - UBS
      582.   2016.07.29 - Wells Fargo
      583.   2016.07.29 - Wells Fargo (2)
      584.   2016.07.31 - Mizuho
      585.   2016.07.31 - RBC
      586.   2016.07.31 - Susquehanna
      587.   2016.08.01 - Baird
      588.   2016.08.01 - Cantor Fitzgerald
      589.   2016.08.01 - Craig Hallum
      590.   2016.08.01 - JPMorgan
      591.   2016.08.01 - Raymond James
      592.   2016.08.01 - Stephens
      593.   2016.08.02 - SVB Leerink
      594.   2016.08.02 - UBS
      595.   2016.08.09 - Cantor Fitzgerald
      596.   2016.08.09 - Craig Hallum
      597.   2016.08.15 - Wells Fargo
      598.   2016.08.25 - SVB Leerink
                                                                        15
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                                        Appendix B
                                    Materials Considered
      599.   2016.08.26 - RBC
      600.   2016.09.01 - KeyBanc
      601.   2016.09.06 - Cantor Fitzgerald
      602.   2016.09.06 - Cantor Fitzgerald (2)
      603.   2016.09.06 - Jefferies
      604.   2016.09.09 - Baird
      605.   2016.09.15 - Baird
      606.   2016.09.16 - UBS
      607.   2016.09.21 - RBC
      608.   2016.09.22 - Avondale Partners
      609.   2016.09.22 - Baird
      610.   2016.09.22 - Craig Hallum
      611.   2016.09.22 - Mizuho
      612.   2016.09.22 - RBC
      613.   2016.09.22 - UBS
      614.   2016.09.22 - UBS (2)
      615.   2016.09.23 - SVB Leerink
      616.   2016.09.26 - JPMorgan
      617.   2016.09.26 - UBS
      618.   2016.09.27 - Jefferies
      619.   2016.09.29 - UBS
      620.   2016.10.03 - Cantor Fitzgerald
      621.   2016.10.03 - Raymond James
      622.   2016.10.06 - Raymond James
      623.   2016.10.07 - Jefferies
      624.   2016.10.07 - UBS
      625.   2016.10.10 - RBC
      626.   2016.10.10 - UBS
      627.   2016.10.13 - Avondale Partners
      628.   2016.10.17 - Cantor Fitzgerald
      629.   2016.10.17 - Keybanc
      630.   2016.10.17 - KeyBanc (2)
      631.   2016.10.17 - SVB Leerink
      632.   2016.10.17 - UBS
      633.   2016.10.18 - Avondale Partners
      634.   2016.10.18 - Bank of America
      635.   2016.10.18 - Cantor Fitzgerald
      636.   2016.10.18 - JPMorgan
      637.   2016.10.18 - KeyBanc
      638.   2016.10.18 - Mizuho
      639.   2016.10.18 - Mizuho (2)
      640.   2016.10.18 - Raymond James
      641.   2016.10.18 - RBC
      642.   2016.10.18 - Susquehanna
      643.   2016.10.18 - UBS
      644.   2016.10.18 - Wells Fargo
      645.   2016.10.19 - Avondale Partners
      646.   2016.10.19 - Baird
      647.   2016.10.19 - Craig Hallum
      648.   2016.10.19 - Jefferies
                                                                        16
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                                       Appendix B
                                   Materials Considered
      649.   2016.10.19 - Stephens
      650.   2016.10.19 - SVB Leerink
      651.   2016.10.19 - UBS
      652.   2016.10.20 - Wells Fargo
      653.   2016.11.01 - Avondale Partners
      654.   2016.11.01 - Mizuho
      655.   2016.11.01 - Susquehanna
      656.   2016.11.01 - UBS
      657.   2016.11.01 - Wells Fargo
      658.   2016.11.02 - Baird
      659.   2016.11.02 - Bank of America
      660.   2016.11.02 - Bank of America (2)
      661.   2016.11.02 - Cantor Fitzgerald
      662.   2016.11.02 - JPMorgan
      663.   2016.11.02 - KeyBanc
      664.   2016.11.02 - Mizuho
      665.   2016.11.02 - Raymond James
      666.   2016.11.02 - RBC
      667.   2016.11.02 - Stephens
      668.   2016.11.02 - Stephens (2)
      669.   2016.11.02 - SVB Leerink
      670.   2016.11.02 - Wells Fargo
      671.   2016.11.03 - Craig Hallum
      672.   2016.11.03 - Raymond James
      673.   2016.11.03 - RBC
      674.   2016.11.03 - Susquehanna
      675.   2016.11.06 - UBS
      676.   2016.11.09 - Avondale Partners
      677.   2016.11.10 - Bank of America
      678.   2016.11.10 - Cantor Fitzgerald
      679.   2016.11.10 - Craig Hallum
      680.   2016.11.10 - Mizuho
      681.   2016.11.10 - Stephens
      682.   2016.11.16 - SVB Leerink
      683.   2016.11.17 - SVB Leerink
      684.   2016.11.18 - Raymond James
      685.   2016.11.25 - Wells Fargo
      686.   2016.12.01 - Baird
      687.   2016.12.01 - Cantor Fitzgerald
      688.   2016.12.02 - Jefferies
      689.   2016.12.07 - UBS
      690.   2016.12.13 - Cantor Fitzgerald
      691.   2016.12.13 - Raymond James
      692.   2016.12.16 - Avondale Partners
      693.   2016.12.16 - Baird
      694.   2016.12.20 - Jefferies
      695.   2016.12.22 - Bank of America
      696.   2016.12.22 - Raymond James
      697.   2016.12.23 - RBC
      698.   2016.12.23 - UBS
                                                                        17
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                                       Appendix B
                                   Materials Considered
      699.   2016.12.28 - UBS
      700.   2017.01.03 - Mizuho
      701.   2017.01.04 - Bank of America
      702.   2017.01.04 - Citi
      703.   2017.01.06 - Avondale Partners
      704.   2017.01.06 - Avondale Partners
      705.   2017.01.06 - Jefferies
      706.   2017.01.06 - Stephens
      707.   2017.01.08 - Credit Suisse
      708.   2017.01.09 - JPMorgan
      709.   2017.01.10 - Jefferies
      710.   2017.01.10 - KeyBanc
      711.   2017.01.10 - Raymond James
      712.   2017.01.10 - RBC
      713.   2017.01.16 - Wells Fargo
      714.   2017.01.20 - Avondale Partners
      715.   2017.01.23 - Craig Hallum
      716.   2017.01.27 - Cantor Fitzgerald
      717.   2017.01.31 - SVB Leerink
      718.   2017.02.13 - Craig Hallum
      719.   2017.02.16 - Avondale Partners
      720.   2017.02.16 - SVB Leerink
      721.   2017.02.21 - Credit Suisse
      722.   2017.02.21 - Deutsche Bank
      723.   2017.02.21 - William Blair
      724.   2017.02.22 - Bank of America
      725.   2017.02.22 - Cantor Fitzgerald
      726.   2017.02.22 - Craig Hallum
      727.   2017.02.22 - Craig Hallum (2)
      728.   2017.02.22 - Mizuho
      729.   2017.02.22 - RBC
      730.   2017.02.23 - Avondale Partners
      731.   2017.02.23 - Baird
      732.   2017.02.23 - Bank of Montreal
      733.   2017.02.23 - Cantor Fitzgerald
      734.   2017.02.23 - Credit Suisse
      735.   2017.02.23 - Deutsche Bank
      736.   2017.02.23 - Jefferies
      737.   2017.02.23 - JPMorgan
      738.   2017.02.23 - KeyBanc
      739.   2017.02.23 - Mizuho
      740.   2017.02.23 - Stephens
      741.   2017.02.23 - SVB Leerink
      742.   2017.02.23 - UBS
      743.   2017.02.23 - Wells Fargo
      744.   2017.02.23 - William Blair
      745.   2017.02.24 - Avondale Partners
      746.   2017.02.24 - Bank of America
      747.   2017.02.24 - Bank of America (2)
      748.   2017.02.24 - Cantor Fitzgerald
                                                                        18
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                                      Appendix B
                                  Materials Considered
      749.   2017.02.24 - KeyBanc
      750.   2017.02.24 - KeyBanc (2)
      751.   2017.02.24 - Mizuho
      752.   2017.02.24 - Raymond James
      753.   2017.02.24 - Raymond James (2)
      754.   2017.02.24 - RBC
      755.   2017.02.24 - SVB Leerink
      756.   2017.02.24 - Wells Fargo
      757.   2017.02.25 - RBC
      758.   2017.02.27 - Craig Hallum
      759.   2017.02.27 - JPMorgan
      760.   2017.02.27 - RBC
      761.   2017.02.27 - Stephens
      762.   2017.02.27 - UBS
      763.   2017.03.03 - Citi
      764.   2017.03.04 - Deutsche Bank
      765.   2017.03.07 - Craig Hallum
      766.   2017.03.07 - Raymond James
      767.   2017.03.10 - Cantor Fitzgerald
      768.   2017.03.23 - Baird
      769.   2017.03.24 - Cantor Fitzgerald
      770.   2017.03.26 - Citi
      771.   2017.03.29 - Bank of America
      772.   2017.04.04 - Deutsche Bank
      773.   2017.04.06 - Deutsche Bank
      774.   2017.04.11 - Raymond James
      775.   2017.04.25 - Baird
      776.   2017.04.25 - Bank of America
      777.   2017.04.25 - Cantor Fitzgerald
      778.   2017.04.25 - Citi
      779.   2017.04.25 - Deutsche Bank
      780.   2017.04.25 - Jefferies
      781.   2017.04.25 - JPMorgan
      782.   2017.04.25 - KeyBanc
      783.   2017.04.25 - Mizuho
      784.   2017.04.25 - Raymond James
      785.   2017.04.25 - RBC
      786.   2017.04.25 - SVB Leerink
      787.   2017.04.25 - UBS
      788.   2017.04.25 - Wells Fargo
      789.   2017.04.26 - Bank of America
      790.   2017.04.26 - Cantor Fitzgerald
      791.   2017.04.26 - Craig Hallum
      792.   2017.04.26 - Deutsche Bank
      793.   2017.04.26 - KeyBanc
      794.   2017.04.26 - KeyBanc (2)
      795.   2017.04.26 - Mizuho
      796.   2017.04.26 - Raymond James
      797.   2017.04.26 - Stephens
      798.   2017.04.26 - Stephens (2)
                                                                        19
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                                        Appendix B
                                    Materials Considered
      799.   2017.04.26 - UBS
      800.   2017.04.27 - JPMorgan
      801.   2017.04.27 - RBC
      802.   2017.04.27 - SVB Leerink
      803.   2017.04.27 - UBS
      804.   2017.04.27 - Wells Fargo
      805.   2016.17.02 - Avondale Partners
      806.   2017.05.03 - Deutsche Bank
      807.   2017.05.10 - UBS
      808.   2017.05.11 - Jefferies
      809.   2017.05.15 - SVB Leerink
      810.   2017.05.16 - Bank of America
      811.   2017.05.18 - UBS
      812.   2017.05.22 - UBS
      813.   2017.05.25 - UBS
      814.   2017.05.25 - UBS (2)
      815.   2017.05.30 - KeyBanc
      816.   2017.06.01 - Baird
      817.   2017.06.01 - Jefferies
      818.   2017.06.09 - Jefferies
      819.   2017.06.09 - Raymond James
      820.   2017.06.21 - Raymond James
      821.   2017.06.22 - Mizuho
      822.   2017.07.05 - Craig Hallum
      823.   2017.07.06 - Wells Fargo
      824.   2017.07.13 - SVB Leerink
      825.   2017.07.13 - UBS
      826.   2017.07.18 - William Blair
      827.   2017.07.27 - Baird
      828.   2017.07.27 - Bank of America
      829.   2017.07.27 - Cantor Fitzgerald
      830.   2017.07.27 - Citi
      831.   2017.07.27 - Deutsche Bank
      832.   2017.07.27 - JPMorgan
      833.   2017.07.27 - KeyBanc
      834.   2017.07.27 - Mizuho
      835.   2017.07.27 - RBC
      836.   2017.07.27 - Stephens
      837.   2017.07.27 - SVB Leerink
      838.   2017.07.27 - UBS
      839.   2017.07.27 - William Blair
      840.   2017.07.28 - Bank of America
      841.   2017.07.28 - Cantor Fitzgerald
      842.   2017.07.28 - Cantor Fitzgerald (2)
      843.   2017.07.28 - Craig Hallum
      844.   2017.07.28 - Deutsche Bank
      845.   2017.07.28 - Jefferies
      846.   2017.07.28 - KeyBanc
      847.   2017.07.28 - Mizuho
      848.   2017.07.28 - Raymond James
                                                                        20
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                                       Appendix B
                                   Materials Considered
      849.   2017.07.28 - Raymond James (2)
      850.   2017.07.28 - RBC
      851.   2017.07.28 - Stephens
      852.   2017.07.28 - SVB Leerink
      853.   2017.07.31 - JPMorgan
      854.   2017.07.31 - KeyBanc
      855.   2017.07.31 - RBC
      856.   2017.07.31 - UBS
      857.   2017.08.01 - William Blair
      858.   2017.08.03 - Bank of America
      859.   2017.08.03 - RBC
      860.   2017.08.14 - Raymond James
      861.   2017.08.14 - RBC
      862.   2017.08.18 - Raymond James
      863.   2017.08.18 - RBC
      864.   2017.08.29 - SVB Leerink
      865.   2017.09.05 - Jefferies
      866.   2017.09.05 - SVB Leerink
      867.   2017.09.08 - SVB Leerink
      868.   2017.09.11 - JPMorgan
      869.   2017.09.20 - Jefferies
      870.   2017.09.21 - Raymond James
      871.   2017.09.21 - Stephens
      872.   2017.10.04 - Raymond James
      873.   2017.10.11 - Bank of America
      874.   2017.10.11 - Jefferies
      875.   2017.10.16 - KeyBanc
      876.   2017.10.17 - Bank of Montreal
      877.   2017.10.24 - Cantor Fitzgerald
      878.   2017.10.24 - JPMorgan
      879.   2017.10.24 - JPMorgan
      880.   2017.10.24 - KeyBanc
      881.   2017.10.24 - SVB Leerink (2)
      882.   2017.10.24 - Mizuho
      883.   2017.10.24 - RBC
      884.   2017.10.24 - Stephens
      885.   2017.10.24 - SVB Leerink
      886.   2017.10.24 - William Blair
      887.   2017.10.25 - Baird
      888.   2017.10.25 - Bank of America
      889.   2017.10.25 - Bank of America (2)
      890.   2017.10.25 - Bank of Montreal
      891.   2017.10.25 - Citi
      892.   2017.10.25 - Craig Hallum
      893.   2017.10.25 - Deutsche Bank
      894.   2017.10.25 - Jefferies
      895.   2017.10.25 - JPMorgan
      896.   2017.10.25 - KeyBanc
      897.   2017.10.25 - Raymond James
      898.   2017.10.25 - Raymond James (2)
                                                                        21
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                                       Appendix B
                                   Materials Considered
      899.   2017.10.25 - RBC
      900.   2017.10.25 - RBC (2)
      901.   2017.10.25 - Stephens
      902.   2017.10.25 - SVB Leerink
      903.   2017.10.26 - JPMorgan
      904.   2017.10.26 - RBC
      905.   2017.10.29 - Baird
      906.   2017.10.29 - Mizuho
      907.   2017.11.02 - Craig Hallum
      908.   2017.11.02 - Credit Suisse
      909.   2017.11.16 - Mizuho
      910.   2017.12.06 - Mizuho
      911.   2017.12.09 - Jefferies
      912.   2017.12.11 - Citi
      913.   2017.12.13 - Baird
      914.   2017.12.14 - Bank of America
      915.   2017.12.14 - JPMorgan
      916.   2017.12.19 - Jefferies
      917.   2017.12.19 - Jefferies (2)
      918.   2017.12.21 - Raymond James
      919.   2017.12.22 - Raymond James
      920.   2018.01.04 - Bank of America
      921.   2018.01.04 - Jefferies
      922.   2018.01.04 - RBC
      923.   2018.01.04 - Stephens
      924.   2018.01.05 - SVB Leerink
      925.   2018.01.08 - Credit Suisse
      926.   2018.01.08 - JPMorgan
      927.   2018.01.08 - RBC
      928.   2018.01.09 - Cantor Fitzgerald
      929.   2018.01.18 - Raymond James
      930.   2018.01.24 - Mizuho
      931.   2018.01.29 - Wells Fargo
      932.   2018.01.29 - Wells Fargo (2)
      933.   2018.02.15 - Jefferies
      934.   2018.02.16 - Jefferies
      935.   2018.02.20 - Cantor Fitzgerald
      936.   2018.02.21 - Baird
      937.   2018.02.21 - Bank of Montreal
      938.   2018.02.21 - Cantor Fitzgerald
      939.   2018.02.21 - Citi
      940.   2018.02.21 - Credit Suisse
      941.   2018.02.21 - Deutsche Bank
      942.   2018.02.21 - Jefferies
      943.   2018.02.21 - JPMorgan
      944.   2018.02.21 - RBC
      945.   2018.02.21 - Wells Fargo
      946.   2018.02.21 - William Blair
      947.   2018.02.22 - Bank of America
      948.   2018.02.22 - Cantor Fitzgerald
                                                                        22
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                                       Appendix B
                                   Materials Considered
      949.   2018.02.22 - Craig Hallum
      950.   2018.02.22 - Craig Hallum (2)
      951.   2018.02.22 - Raymond James
      952.   2018.02.22 - Stephens
      953.   2018.02.22 - SVB Leerink
      954.   2018.02.22 - Wells Fargo
      955.   2018.02.23 - Credit Suisse
      956.   2018.02.23 - Deutsche Bank
      957.   2018.02.23 - Raymond James
      958.   2018.02.23 - William Blair
      959.   2018.02.25 - RBC
      960.   2018.02.26 - JPMorgan
      961.   2018.02.27 - SVB Leerink
      962.   2018.02.28 - Jefferies
      963.   2018.03.05 - Raymond James
      964.   2018.03.19 - JPMorgan
      965.   2018.03.19 - SVB Leerink
      966.   2018.03.22 - Wells Fargo
      967.   2018.03.28 - Credit Suisse
      968.   2018.03.29 - Bank of America
      969.   2018.04.03 - Baird
      970.   2018.04.06 - Jefferies
      971.   2018.04.11 - Baird
      972.   2018.04.18 - RBC
      973.   2018.04.30 - Bank of America
      974.   2018.04.30 - Credit Suisse
      975.   2018.04.30 - Wells Fargo
      976.   2018.05.01 - Bank of Montreal
      977.   2018.05.01 - Cantor Fitzgerald
      978.   2018.05.01 - Citi
      979.   2018.05.01 - Credit Suisse
      980.   2018.05.01 - Jefferies
      981.   2018.05.01 - JPMorgan
      982.   2018.05.01 - Mizuho
      983.   2018.05.01 - RBC
      984.   2018.05.01 - Stephens
      985.   2018.05.01 - SVB Leerink
      986.   2018.05.01 - Wells Fargo
      987.   2018.05.01 - William Blair
      988.   2018.05.02 - Baird
      989.   2018.05.02 - Bank of America
      990.   2018.05.02 - Cantor Fitzgerald
      991.   2018.05.02 - Credit Suisse
      992.   2018.05.02 - Raymond James
      993.   2018.05.02 - Stephens
      994.   2018.05.02 - SVB Leerink
      995.   2018.05.02 - Wells Fargo
      996.   2018.05.03 - Craig Hallum
      997.   2018.05.03 - Raymond James
      998.   2018.05.03 - RBC
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                                      Appendix B
                                  Materials Considered
      999. 2018.05.06 - JPMorgan
      1000. 2018.05.10 - Jefferies
      1001. 2018.05.16 - Bank of America
      1002. 2018.05.16 - Raymond James
      1003. 2018.05.21 - JPMorgan
      1004. 2018.06.07 - Jefferies
      1005. 2018.06.08 - SVB Leerink
      1006. 2018.06.14 - William Blair
      1007. 2018.06.20 - Jefferies
      1008. 2018.06.20 - RBC
      1009. 2018.07.30 - Bank of Montreal
      1010. 2018.07.30 - Cantor Fitzgerald
      1011. 2018.07.30 - Citi
      1012. 2018.07.30 - Credit Suisse
      1013. 2018.07.30 - Jefferies
      1014. 2018.07.30 - JPMorgan
      1015. 2018.07.30 - RBC
      1016. 2018.07.30 - Stephens
      1017. 2018.07.30 - SVB Leerink
      1018. 2018.07.30 - Wells Fargo
      1019. 2018.07.30 - William Blair
      1020. 2018.07.31 - Baird
      1021. 2018.07.31 - Baird (2)
      1022. 2018.07.31 - Bank of America
      1023. 2018.07.31 - Bank of America (2)
      1024. 2018.07.31 - Cantor Fitzgerald
      1025. 2018.07.31 - Craig Hallum
      1026. 2018.07.31 - Mizuho
      1027. 2018.07.31 - Raymond James
      1028. 2018.07.31 - Raymond James (2)
      1029. 2018.07.31 - RBC
      1030. 2018.07.31 - Stephens
      1031. 2018.07.31 - SVB Leerink
      1032. 2018.07.31 - Wells Fargo
      1033. 2018.08.01 - Bank of America
      1034. 2018.08.01 - Bank of Montreal
      1035. 2018.08.01 - Credit Suisse
      1036. 2018.08.01 - JPMorgan
      1037. 2018.08.03 - Jefferies
      1038. 2018.08.17 - SVB Leerink
      1039. 2018.08.28 - Mizuho
      1040. 2018.09.04 - Jefferies
      1041. 2018.09.06 - Wells Fargo
      1042. 2018.09.25 - Jefferies
      1043. 2018.09.26 - Wells Fargo
      1044. 2018.09.27 - Baird
      1045. 2018.09.27 - Raymond James
      1046. 2018.09.27 - RBC
      1047. 2018.10.03 - Credit Suisse
      1048. 2018.10.03 - Credit Suisse
                                                                        24
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                                       Appendix B
                                   Materials Considered
      1049. 2018.10.11 - Cantor Fitzgerald
      1050. 2018.10.11 - Credit Suisse
      1051. 2018.10.15 - RBC
      1052. 2018.10.16 - Wells Fargo
      1053. 2018.10.17 - Craig Hallum
      1054. 2018.10.17 - Stephens
      1055. 2018.10.18 - Baird
      1056. 2018.10.18 - Bank of America
      1057. 2018.10.18 - Bank of Montreal
      1058. 2018.10.18 - Cantor Fitzgerald
      1059. 2018.10.18 - Citi
      1060. 2018.10.18 - Credit Suisse
      1061. 2018.10.18 - JPMorgan
      1062. 2018.10.18 - Mizuho
      1063. 2018.10.18 - Raymond James
      1064. 2018.10.18 - RBC
      1065. 2018.10.18 - SVB Leerink
      1066. 2018.10.24 - RBC
      1067. 2018.11.01 - SVB Leerink
      1068. 2018.11.05 - Bank of Montreal
      1069. 2018.11.05 - Citi
      1070. 2018.11.05 - Credit Suisse
      1071. 2018.11.05 - Jefferies
      1072. 2018.11.05 - JPMorgan
      1073. 2018.11.05 - Raymond James
      1074. 2018.11.05 - RBC
      1075. 2018.11.05 - SVB Leerink
      1076. 2018.11.05 - Wells Fargo
      1077. 2018.11.06 - Baird
      1078. 2018.11.06 - Bank of America
      1079. 2018.11.06 - Bank of America (2)
      1080. 2018.11.06 - Bank of Montreal
      1081. 2018.11.06 - Cantor Fitzgerald
      1082. 2018.11.06 - Cantor Fitzgerald (2)
      1083. 2018.11.06 - Craig Hallum
      1084. 2018.11.06 - Credit Suisse
      1085. 2018.11.06 - JPMorgan
      1086. 2018.11.06 - Mizuho
      1087. 2018.11.06 - Raymond James
      1088. 2018.11.06 - Stephens
      1089. 2018.11.06 - Wells Fargo
      1090. 2018.11.06 - William Blair
      1091. 2018.11.07 - Mizuho
      1092. 2018.11.07 - RBC
      1093. 2018.11.07 - SVB Leerink
      1094. 2018.11.09 - Stephens
      1095. 2018.11.13 - RBC
      1096. 2018.11.14 - Citi
      1097. 2018.11.14 - Credit Suisse
      1098. 2018.11.14 - Raymond James
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                                      Appendix B
                                  Materials Considered
      1099. 2018.11.15 - UBS
      1100. 2018.11.15 - UBS (2)
      1101. 2018.11.16 - Cantor Fitzgerald
      1102. 2018.11.16 - Raymond James
      1103. 2018.11.19 - SVB Leerink
      1104. 2018.11.20 - Cantor Fitzgerald
      1105. 2018.11.20 - Credit Suisse
      1106. 2018.11.26 - Jefferies
      1107. 2018.12.03 - Citi
      1108. 2018.12.14 - UBS
      1109. 2018.12.17 - Baird
      1110. 2018.12.17 - Bank of America
      1111. 2018.12.17 - Citi
      1112. 2018.12.17 - Credit Suisse
      1113. 2018.12.17 - Jefferies
      1114. 2018.12.17 - Stephens
      1115. 2018.12.17 - SVB Leerink
      1116. 2018.12.17 - UBS
      1117. 2018.12.17 - Wells Fargo
      1118. 2018.12.17 - William Blair
      1119. 2018.12.19 - JPMorgan
      1120. 2018.12.20 - UBS
      1121. 2019.01.02 - Deutsche Bank
      1122. 2019.01.03 - Bank of America
      1123. 2019.01.04 - Credit Suisse
      1124. 2019.01.04 - Jefferies
      1125. 2019.01.04 - RBC
      1126. 2019.01.04 - SVB Leerink
      1127. 2019.01.11 - Bank of Montreal
      1128. 2019.01.14 - Wells Fargo
      1129. 2019.01.18 - Baird
      1130. 2019.01.18 - Credit Suisse
      1131. 2019.01.18 - Raymond James
      1132. 2019.01.22 - Deutsche Bank
      1133. 2019.01.22 - SVB Leerink
      1134. 2019.01.22 - Wells Fargo
      1135. 2019.01.25 - Mizuho
      1136. 2019.01.28 - JPMorgan
      1137. 2019.02.25 - Jefferies
      1138. 2019.02.28 - Bank of Montreal
      1139. 2019.02.28 - Citi
      1140. 2019.02.28 - Credit Suisse
      1141. 2019.02.28 - Deutsche Bank
      1142. 2019.02.28 - Jefferies
      1143. 2019.02.28 - JPMorgan
      1144. 2019.02.28 - Raymond James
      1145. 2019.02.28 - SVB Leerink
      1146. 2019.02.28 - UBS
      1147. 2019.02.28 - Wells Fargo
      1148. 2019.02.28 - William Blair
                                                                        26
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                                      Appendix B
                                  Materials Considered
      1149. 2019.03.01 - Baird
      1150. 2019.03.01 - Baird (2)
      1151. 2019.03.01 - Bank of America
      1152. 2019.03.01 - Bank of America (2)
      1153. 2019.03.01 - Citi
      1154. 2019.03.01 - Deutsche Bank
      1155. 2019.03.01 - Mizuho
      1156. 2019.03.01 - RBC
      1157. 2019.03.01 - Stephens
      1158. 2019.03.01 - Wells Fargo
      1159. 2019.03.03 - UBS
      1160. 2019.03.04 - Bank of Montreal
      1161. 2019.03.04 - Credit Suisse
      1162. 2019.03.04 - Jefferies
      1163. 2019.03.04 - JPMorgan
      1164. 2019.03.04 - Raymond James
      1165. 2019.03.04 - RBC
      1166. 2019.03.04 - SVB Leerink
      1167. 2019.03.08 - Stephens
      1168. 2019.03.14 - Credit Suisse
      1169. 2019.03.15 - Credit Suisse
      1170. 2019.03.18 - JPMorgan
      1171. 2019.03.26 - SVB Leerink
      1172. 2019.03.27 - BAML
      1173. 2019.03.27 - Wells Fargo
      1174. 2019.04.25 - Stephens
      1175. 2019.04.30 - Stephens
      1176. 2019.05.01 - Stephens
      1177. 2019.05.30 - Stephens
      1178. 2020.01.28 - Stephens
      1179. 2020.01.31 - Stephens
      1180. 2020.02.27 - Stephens
      1181. 2020.02.28 - Stephens
      1182. 2020.03.19 - Stephens




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                                                                                                                                             Alleged US-Based Misrepresentations

Misrep#                                                                                Date             Event                         Alleged US-Based Misrepresentation                             Plaintiffs Characterization of Alleged Misrepresentation

M1                                                                                     4/30/14 1Q14 10-Q            Our business strategy is to acquire and develop inpatient behavioral           Acadia consistently touted its high-quality services as a
                                                                                                                    healthcare facilities and improve our operating results within our              key factor in improving its operating results in its Forms 10-K,
                                                                                                                    inpatient facilities and our other behavioral healthcare operations. We         signed by Jacobs and Duckworth, and in its Forms 10-Q,
                                                                                                                    strive to improve the operating results of our facilities by providing          signed by Duckworth2
                                                                                                                    high quality services, expanding referral networks and marketing
                                                                                                                    initiatives while meeting the increased demand for behavioral healthcare
                                                                                                                    services through expansion of our current locations as well as
                                                                                                                    developing new services within existing locations1
M2                                                                                     7/30/14 2Q14 10-Q            Our business strategy is to acquire and develop inpatient behavioral           Acadia consistently touted its high-quality services as a
                                                                                                                    healthcare facilities and improve our operating results within our              key factor in improving its operating results in its Forms 10-K,
                                                                                                                    inpatient facilities and our other behavioral healthcare operations. We         signed by Jacobs and Duckworth, and in its Forms 10-Q,
                                                                                                                    strive to improve the operating results of our facilities by providing          signed by Duckworth4
                                                                                                                    high quality services, expanding referral networks and marketing
                                                                                                                    initiatives while meeting the increased demand for behavioral healthcare
                                                                                                                    services through expansion of our current locations as well as
                                                                                                                    developing new services within existing locations3
M3                                                                                     7/30/14 2Q14                 [Acadias same-facility growth]:                                                On the earnings call, Jacobs claimed that the Companys
                                                                                               Conference           reflect[ed] [a] growing demand for high-quality inpatient behavioral           strong same facility performance for the quarter6
                                                                                               Call                 healthcare.5
M4                                                                                    10/30/14 3Q14 10-Q            Our business strategy is to acquire and develop inpatient behavioral           Acadia consistently touted its high-quality services as a
                                                                                                                    healthcare facilities and improve our operating results within our              key factor in improving its operating results in its Forms 10-K,

                                                                                 1
                                                                                     Complaint, ¶112, citing Acadia 1Q14 Form 10-Q, filed April 30, 2014, 4:06 P.M., p. 22. Emphasis original.
                                                                                 2
                                                                                     Complaint, ¶112.
                                                                                 3
                                                                                     Complaint, ¶112, citing Acadia 2Q14 Form 10-Q, filed July 30, 2014, 4:02 P.M., p. 26. Emphasis original.
                                                                                 4
                                                                                     Complaint, ¶112.
                                                                                 5
                                                                                     Complaint, ¶115, citing Acadia 2Q14 earnings conference call, July 30, 2014. The conference call was held at 9:00 A.M. See, Acadia Healthcare Announces Date for
                                                                                     Second Quarter 14 Earnings Release, Dow Jones Newswires, July 14, 2014.
                                                                                                                                                                                                                                                                   Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 70 of 107




                                                                                 6   Complaint, ¶115.

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                                                                                                                                            Alleged US-Based Misrepresentations

Misrep#                                                                                Date              Event                        Alleged US-Based Misrepresentation                            Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                                    inpatient facilities and our other behavioral healthcare operations. We        signed by Jacobs and Duckworth, and in its Forms 10-Q,
                                                                                                                    strive to improve the operating results of our facilities by providing         signed by Duckworth8
                                                                                                                    high quality services, expanding referral networks and marketing
                                                                                                                    initiatives while meeting the increased demand for behavioral healthcare
                                                                                                                    services through expansion of our current locations as well as
                                                                                                                    developing new services within existing locations7
M5                                                                                    10/30/14 3Q14                 Thank you all very, very much and always keep quality, doing the              Jacobs ended the earnings call by assuring investors that the
                                                                                               Conference           right thing, that is absolutely the first priority of this company is          Company prioritized the quality of its behavior health
                                                                                               Call                 doing that. So once again, see you at the end of the fourth quarter.9         services10
M6                                                                                    11/11/14 Stephens Fall        As with [the] whole Company, you know, we want to deliver good,               In discussing the risks Acadia faced from its recently
                                                                                               Investment           quality care and not have any bad incidents. So that is always the             announced acquisition of CRC Health Group, Inc. (CRC),
                                                                                               Conference           greatest risk to us is a bad incident occurring. We try everything we          Duckworth emphasized that preventing patient incidents was a
                                                                                                                    can to keep that from happening, but knowing our industry that                 top priority12
                                                                                                                    happens.11
M7                                                                                     2/27/15 FY14 10-K            Management believes our focus on behavioral healthcare and history of         Throughout the Class Period, Acadia also stressed in its
                                                                                                                    completing acquisitions provides us with a strategic advantage in              Forms 10-K that the Companys growth strategy based on
                                                                                                                    sourcing, evaluating and closing acquisitions. We leverage our                 strategic acquisitions emphasized quality of service16
                                                                                                                    management teams expertise to identify and integrate acquisitions
                                                                                                                    based on a disciplined acquisition strategy that focuses on quality of

                                                                                 7
                                                                                     Complaint, ¶112, citing Acadia 3Q14 Form 10-Q, filed October 30, 2014, 5:07 P.M., p. 31. Emphasis original.
                                                                                 8
                                                                                     Complaint, ¶112.
                                                                                 9
                                                                                     Complaint, ¶116, citing Acadia 3Q14 Conference Call, October 30, 2014. The conference call was held on 9:00 A.M. See, Acadia Healthcare Announces Date for Third
                                                                                     Quarter 2014 Earnings Release, Dow Jones Newswires, October 20, 2014. Emphasis original.
                                                                                 10   Complaint, ¶116.
                                                                                 11
                                                                                      Complaint, ¶117, citing Acadia presentation at 2014 Stephens Fall Investment Conference, November 11, 2014. Emphasis original.
                                                                                 12
                                                                                      Complaint, ¶117.
                                                                                                                                                                                                                                                                Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 71 of 107




                                                                                 16   Complaint, ¶113.

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                                                                                                                                            Alleged US-Based Misrepresentations

Misrep#                                                                                Date              Event                        Alleged US-Based Misrepresentation                             Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                                    service, return on investment and strategic benefits. We also have a            Acadia consistently touted its high-quality services as a
                                                                                                                    comprehensive post-acquisition strategic plan to facilitate the                 key factor in improving its operating results in its Forms 10-K,
                                                                                                                    integration of acquired facilities that includes improving facility             signed by Jacobs and Duckworth, and in its Forms 10-Q,
                                                                                                                    operations, retaining and recruiting psychiatrists and other healthcare         signed by Duckworth17
                                                                                                                    professionals and expanding the breadth of services offered by the
                                                                                                                    facilities13                                                                   Throughout the Class Period, Acadia consistently assured
                                                                                                                                                                                                    investors that it was in substantial compliance with all
                                                                                                                    Our business strategy is to acquire and develop behavioral healthcare          regulatory requirements in its Forms 10-K, signed by Jacobs
                                                                                                                    facilities and improve our operating results within our facilities and our      and Duckworth18
                                                                                                                    other behavioral healthcare operations. We strive to improve the
                                                                                                                    operating results of our facilities by providing high-quality services,
                                                                                                                    expanding referral networks and marketing initiatives while meeting the
                                                                                                                    increased demand for behavioral healthcare services through expansion
                                                                                                                    of our current locations as well as developing new services within
                                                                                                                    existing locations14

                                                                                                                    The healthcare industry is subject to numerous laws, regulations and
                                                                                                                    rules including, among others, those related to government healthcare
                                                                                                                    program participation requirements, various licensure and accreditation
                                                                                                                    standards, reimbursement for patient services, health information
                                                                                                                    privacy and security rules, and government healthcare program fraud
                                                                                                                    and abuse provisions. Providers that are found to have violated any of
                                                                                                                    these laws and regulations may be excluded from participating in
                                                                                                                    government healthcare programs, subjected to loss or limitation of


                                                                                 13
                                                                                      Complaint, ¶113, citing Acadia FY14 Form 10-K, filed February 27, 2015, 4:16 P.M., p. 5. Emphasis original.
                                                                                 14
                                                                                      Complaint, ¶112, citing Acadia FY14 Form 10-K, filed February 27, 2015, 4:16 P.M., p. 1. Emphasis original.
                                                                                 17
                                                                                      Complaint, ¶112.
                                                                                                                                                                                                                                                                   Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 72 of 107




                                                                                 18   Complaint, ¶150.

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                                                                                                                                             Alleged US-Based Misrepresentations

Misrep#                                                                                Date              Event                        Alleged US-Based Misrepresentation                              Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                                     licenses to operate, subjected to significant fines or penalties and/or
                                                                                                                     required to repay amounts received from the government for previously
                                                                                                                     billed patient services. Management believes we are in substantial
                                                                                                                     compliance with all applicable laws and regulations and is not
                                                                                                                     aware of any material pending or threatened investigations
                                                                                                                     involving allegations of wrongdoing.15
M8                                                                                     4/29/15 1Q15 10-Q             Our business strategy is to acquire and develop behavioral healthcare          Acadia consistently touted its high-quality services as a
                                                                                                                     facilities and improve our operating results within our facilities and our      key factor in improving its operating results in its Forms 10-K,
                                                                                                                     other behavioral healthcare operations. We strive to improve the                signed by Jacobs and Duckworth, and in its Forms 10-Q,
                                                                                                                     operating results of our facilities by providing high-quality services,         signed by Duckworth20
                                                                                                                     expanding referral networks and marketing initiatives while meeting the
                                                                                                                     increased demand for behavioral healthcare services through expansion
                                                                                                                     of our current locations as well as developing new services within
                                                                                                                     existing locations19
M9                                                                                     5/12/15 Bank of               This is our secret to success, these green boxes, these division               In his prepared remarks, Jacobs touted Acadias
                                                                                               America               structures. The accountability, responsibility, the freedom we give those       organizational structure and quality control as a secret to the
                                                                                               Merrill Lynch         division presidents and those local CEOs of our company, putting in that        Companys success22
                                                                                               Health Care           our clinical departments, our oversight of the quality, just absolutely
                                                                                               Conference            is the secret to our success. Absolutely the secret to our success.21
M10                                                                                     6/2/15 Jefferies             [Brian Tanquilut  Jefferies Analyst:] Last question for me. So as we          When questioned about the Companys successful history in
                                                                                               Global                think about margins, I mean you guys have done a great job pushing              increasing profit margins at its facilities, Turner insisted that
                                                                                                                     margins higher on a same store basis. So is that something that we think

                                                                                 15
                                                                                      Complaint, ¶150, citing Acadia FY14 Form 10-K, filed February 27, 2015, 4:16 P.M., p. 14. Emphasis original.
                                                                                 19
                                                                                      Complaint, ¶112, citing Acadia 1Q15 Form 10-Q, filed April 29, 2015, 4:12 P.M., p. 26. Emphasis original.
                                                                                 20
                                                                                      Complaint, ¶112.
                                                                                 21
                                                                                  Complaint, ¶118, citing Acadia presentation at 2015 Bank of America Merrill Lynch Healthcare Conference, May 12, 2015. Acadia presented at 12:20 P.M. See, Acadia
                                                                                  Healthcare to Present at Bank of America Merrill Lynch 2015 Health Care Conference, Businesswire, May 7, 2015. Emphasis original.
                                                                                                                                                                                                                                                                         Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 73 of 107




                                                                                 22   Complaint, ¶118.

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                                                                                                  Healthcare        should keep going? How should we think about your margins? Or is it            the Companys efforts for increased profitability did not come
                                                                                                  Conference        something that has a cap or a regulator internally?                            at any expense of the quality of care24
                                                                                                                    [Turner:] I think the margins are going to settle in around 27%, give or
                                                                                                                    take 100 basis points. And now that our same store base is getting so
                                                                                                                    large and more  and the UK were PiC will drop in the third quarter into
                                                                                                                    the same store, I think our margins going to be in that 27% range. And
                                                                                                                    thats where it should be. I think its where its going to be with us
                                                                                                                    providing great quality care at the local level. So thats what I see on
                                                                                                                    margins.23
M11                                                                                      8/5/15 2Q15 10-Q           Our business strategy is to acquire and develop behavioral healthcare         Acadia consistently touted its high-quality services as a
                                                                                                                    facilities and improve our operating results within our facilities and our     key factor in improving its operating results in its Forms 10-K,
                                                                                                                    other behavioral healthcare operations. We strive to improve the               signed by Jacobs and Duckworth, and in its Forms 10-Q,
                                                                                                                    operating results of our facilities by providing high-quality services,        signed by Duckworth26
                                                                                                                    expanding referral networks and marketing initiatives while meeting the
                                                                                                                    increased demand for behavioral healthcare services through expansion
                                                                                                                    of our current locations as well as developing new services within
                                                                                                                    existing locations.25
M12                                                                                      9/9/15 Wells Fargo         [Audience Member:] Generally speaking or broadly, how do you try to           In response to a question regarding Acadias efforts to
                                                                                                Healthcare          minimize adverse patient event at your facilities?                             minimize adverse patient events, Jacobs reiterated that patient
                                                                                                Conference          [Jacobs:] Well, we have a robust clinical risk management                      care was the Companys first priority28
                                                                                                                    department at the corporate office, but this is the primary
                                                                                                                    responsibility of the CEO, his medical staff, or their medical staff, and

                                                                                 23
                                                                                   Complaint, ¶119, citing Acadia presentation at 2015 Jefferies Global Healthcare Conference, June 2, 2015. Acadia presented at 4:30 P.M. See, Acadia Healthcare to
                                                                                  Present at Jefferies 2015 Global Healthcare Conference, Businesswire, May 28, 2015. Emphasis original.
                                                                                 24   Complaint, ¶119.
                                                                                 25
                                                                                      Complaint, ¶112, citing Acadia 2Q15 Form 10-Q, filed August 5, 2015, 4:11 P.M., p. 29. Emphasis original.
                                                                                 26
                                                                                      Complaint, ¶112.
                                                                                                                                                                                                                                                                     Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 74 of 107




                                                                                 28   Complaint, ¶120.

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                                                                                                                    our employees at the local level; that is their job, take care of the patient.
                                                                                                                    And we can provide corporate resources to assist you in that and can do
                                                                                                                    benchmarking and trending and point out areas for improvement, but at
                                                                                                                    the end of the day, its the responsibility of the CEO of that facility to
                                                                                                                    make sure the quality of care is there. And throughout the Company,
                                                                                                                    our CEOs (inaudible) on the side of good patient care is that take
                                                                                                                    care of our patients first.27
M13                                                                                    11/4/15 3Q15 10-Q            Our business strategy is to acquire and develop behavioral healthcare           Acadia consistently touted its high-quality services as a
                                                                                                                    facilities and improve our operating results within our facilities and our       key factor in improving its operating results in its Forms 10-K,
                                                                                                                    other behavioral healthcare operations. We strive to improve the                 signed by Jacobs and Duckworth, and in its Forms 10-Q,
                                                                                                                    operating results of our facilities by providing high-quality services,          signed by Duckworth30
                                                                                                                    expanding referral networks and marketing initiatives while meeting the
                                                                                                                    increased demand for behavioral healthcare services through expansion
                                                                                                                    of our current locations as well as developing new services within
                                                                                                                    existing locations29
M14                                                                                    11/4/15 3Q15                 [Gary Lieberman  Wells Fargo Analyst:] Maybe on some of the other               On the earnings call, Jacobs repeatedly assured analysts that,
                                                                                               Conference           labor that you saw. A number of other acute care operators have                  unlike its competitors, Acadia was not at all affected by the
                                                                                               Call                 discussed pressure on contract labor. Are you see anything there either          labor pressures facing the behavioral health industry33
                                                                                                                    in your facilities or in the broader markets that you could share with us?
                                                                                                                    [Jacobs:] Gary, its isolated here in the country for us. You know there
                                                                                                                    might be one city or two cities as far as the labor market might be a little
                                                                                                                    bit tighter, but that has not been a  once again, that is not a top three
                                                                                                                    priority on our list. However, in the UK finding nurses is more of a


                                                                                 27
                                                                                   Complaint, ¶120, citing Acadia presentation at 2015 Wells Fargo Healthcare Conference, September 9, 2015. Acadia presented at 1:45 P.M. See, Acadia Healthcare to
                                                                                  Present at Wells Fargo and Baird Healthcare Conferences, Businesswire, September 3, 2015. Emphasis original.
                                                                                 29
                                                                                      Complaint, ¶112, citing Acadia 3Q15 Form 10-Q, filed November 4, 2015, 4:17 P.M., p. 31. Emphasis original.
                                                                                 30
                                                                                      Complaint, ¶112.
                                                                                                                                                                                                                                                                       Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 75 of 107




                                                                                 33   Complaint, ¶131.

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                                                                                                                 challenge. They have plenty of physicians but have less nurses, so we
                                                                                                                 would like to take their physicians over here and take some of our
                                                                                                                 nurses over there and we would be in great shape. But the UK has a
                                                                                                                 little tougher time for nurses, but here in the United States we may have
                                                                                                                 an isolated market or two where that might be an issue, but its nothing
                                                                                                                 that makes it to the top three of our list. 31

                                                                                                                  [Ana Gupte  Leerink Analyst:] Okay. Thanks. The final question just
                                                                                                                 on the salaries ratio, is there any plan to increase staffing per patient or
                                                                                                                 anything that might cause pressure going forward or should we expect
                                                                                                                 this to remain largely flattish?
                                                                                                                 [Jacobs:] We expect it to remain flattish. We believe our hospital  our
                                                                                                                 facilities are appropriately staffed today, and so we expect this to be flat
                                                                                                                 for next year.32
M15                                                                                    2/25/16 FY15 10-K         Management believes our focus on behavioral healthcare and history of         Throughout the Class Period, Acadia also stressed in its
                                                                                                                 completing acquisitions provides us with a strategic advantage in              Forms 10-K that the Companys growth strategy based on
                                                                                                                 sourcing, evaluating and closing acquisitions. We leverage our                 strategic acquisitions emphasized quality of service37
                                                                                                                 management teams expertise to identify and integrate acquisitions
                                                                                                                 based on a disciplined acquisition strategy that focuses on quality of         Acadia consistently touted its high-quality services as a
                                                                                                                 service, return on investment and strategic benefits. We also have a           key factor in improving its operating results in its Forms 10-K,
                                                                                                                 comprehensive post-acquisition strategic plan to facilitate the                signed by Jacobs and Duckworth, and in its Forms 10-Q,
                                                                                                                 integration of acquired facilities that includes improving facility            signed by Duckworth38
                                                                                                                 operations, retaining and recruiting psychiatrists and other healthcare

                                                                                 31
                                                                                   Complaint, ¶131, citing Acadia 3Q15 earnings conference call, November 4, 2015. The conference call was held at 9:00 A.M. See, Acadia Healthcare Announces Date for
                                                                                  Third Quarter 2015 Earnings Release, Dow Jones Institutional News, October 23, 2015.
                                                                                 32
                                                                                   Complaint, ¶131, citing Acadia 3Q15 earnings conference call, November 4, 2015. The conference call was held at 9:00 A.M. See, Acadia Healthcare Announces Date for
                                                                                  Third Quarter 2015 Earnings Release, Dow Jones Institutional News, October 23, 2015.
                                                                                 37
                                                                                      Complaint, ¶113.
                                                                                                                                                                                                                                                               Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 76 of 107




                                                                                 38   Complaint, ¶112.

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                                                                                                                     professionals and expanding the breadth of services offered by the             Throughout the Class Period, Acadia consistently assured
                                                                                                                     facilities.34                                                                 investors that it was in substantial compliance with all
                                                                                                                                                                                                    regulatory requirements in its Forms 10-K, signed by Jacobs
                                                                                                                     Our business strategy is to acquire and develop behavioral healthcare         and Duckworth39
                                                                                                                     facilities and improve our operating results within our facilities and our
                                                                                                                     other behavioral healthcare operations. We strive to improve the
                                                                                                                     operating results of our facilities by providing high-quality services,
                                                                                                                     expanding referral networks and marketing initiatives while meeting the
                                                                                                                     increased demand for behavioral healthcare services through expansion
                                                                                                                     of our current locations as well as developing new services within
                                                                                                                     existing locations35

                                                                                                                     The healthcare industry is subject to numerous laws, regulations and
                                                                                                                     rules including, among others, those related to government healthcare
                                                                                                                     program participation requirements, various licensure and accreditation
                                                                                                                     standards, reimbursement for patient services, health information
                                                                                                                     privacy and security rules, and government healthcare program fraud
                                                                                                                     and abuse provisions. Providers that are found to have violated any of
                                                                                                                     these laws and regulations may be excluded from participating in
                                                                                                                     government healthcare programs, subjected to loss or limitation of
                                                                                                                     licenses to operate, subjected to significant fines or penalties and/or
                                                                                                                     required to repay amounts received from the government for previously
                                                                                                                     billed patient services. Management believes we are in substantial
                                                                                                                     compliance with all applicable laws and regulations and is not



                                                                                 34
                                                                                      Complaint, ¶113, citing Acadia 2015 Form 10-K, filed February 26, 2016, 5:57 P.M., p. 6. Emphasis original.
                                                                                 35
                                                                                      Complaint, ¶112, citing Acadia 2015 Form 10-K, filed February 26, 2016, 5:57 P.M., p. 1. Emphasis original.
                                                                                                                                                                                                                                                                  Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 77 of 107




                                                                                 39   Complaint, ¶150.

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                                                                                                                     aware of any material pending or threatened investigations
                                                                                                                     involving allegations of wrongdoing.36
M16                                                                                      4/8/16 Def 14A               creating a world-class organization that sets the standard of                 In opposing the proposal, Acadias Board claimed the
                                                                                                                     excellence in the treatment of specialty behavioral health and                  Company conduct[s] [its] business in compliance with
                                                                                                                     addiction disorders;                                                            applicable law including environmental, health and safety
                                                                                                                       creating behavioral health centers where people receive                       regulations, and we work hard to be an exceptional employer,
                                                                                                                     individualized and quality care that enables them to regain hope in             a good neighbor and a good citizen. Instead, the Board
                                                                                                                     a supportive, caring environment; offering an enviable internal                 suggested it would be best to focus resources on the core
                                                                                                                     culture and environment that encourages and supports both professional          elements of the Companys business strategy, which
                                                                                                                     and personal growth that our employees are proud of; and                        included:41
                                                                                                                       developing partnerships with physicians, professionals, and payers
                                                                                                                     within the communities we serve through the delivery of high quality
                                                                                                                     specialty behavioral health services at affordable costs while always
                                                                                                                     putting the patient first40
M17                                                                                    4/29/16 1Q16 10-Q             Our business strategy is to acquire and develop behavioral healthcare          Acadia consistently touted its high-quality services as a
                                                                                                                     facilities and improve our operating results within our facilities and our      key factor in improving its operating results in its Forms 10-K,
                                                                                                                     other behavioral healthcare operations. We strive to improve the                signed by Jacobs and Duckworth, and in its Forms 10-Q,
                                                                                                                     operating results of our facilities by providing high-quality services,         signed by Duckworth43
                                                                                                                     expanding referral networks and marketing initiatives while meeting the
                                                                                                                     increased demand for behavioral healthcare services through expansion
                                                                                                                     of our current locations as well as developing new services within
                                                                                                                     existing locations42


                                                                                 36
                                                                                      Complaint, ¶150, citing Acadia 2015 Form 10-K, filed February 26, 2016, 5:57 P.M., p. 11. Emphasis original.
                                                                                 40
                                                                                      Complaint, ¶121, citing Acadia DEF14A, filed April 8, 2016, 11:35 A.M., p. 20. Emphasis original.
                                                                                 41   Complaint, ¶121.
                                                                                 42
                                                                                      Complaint, ¶112, citing Acadia 1Q16 Form 10-Q, filed April 29, 2016, 4:32 P.M., p. 28. Emphasis original.
                                                                                                                                                                                                                                                                    Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 78 of 107




                                                                                 43   Complaint, ¶112.

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M18                                                                                    5/10/16 Bank of           [Kevin Fischbeck  BofA Merrill Lynch Analyst:] And do you think             Jacobs again stressed that Acadia maintained sufficient
                                                                                               America           that  well, I guess do you see a shortage of psychiatrists? I guess one of   staffing levels to keep up with its patient growth46
                                                                                               Merrill Lynch     your competitors highlighted that as an issue. And if you were to get this
                                                                                               Health Care       type of volume come through the system, would that put a point of
                                                                                               Conference        pressure  would that be a gating factor to treating the patients?
                                                                                                                 [Jacobs:] I dont see the psychiatrists being a gating factor; it may end
                                                                                                                 up being an isolated case, but as you all are really aware of the Acadia
                                                                                                                 story, for 5 years now we put up 8%-plus patient day growth. And
                                                                                                                 weve been able to do that yearover- year and have the clinical staff,
                                                                                                                 whether its nurses or med techs or psychiatrists, in place to meet
                                                                                                                 that need.44

                                                                                                                 [Kevin Fischbeck  BofA Merrill Lynch Analyst:] We mentioned a
                                                                                                                 little bit (inaudible) question up here (inaudible) set that up. We
                                                                                                                 mentioned a little bit that on the psychiatrist side, youre not really
                                                                                                                 seeing labor shortage. Any labor pressure on the wait  on the kind of
                                                                                                                 nurse or staff side?
                                                                                                                 [Jacobs:] No, not really. Were able to find the staff to meet the
                                                                                                                 needs. Our budget has a 2% to 3% merit wage increase in it for our
                                                                                                                 employees and weve been able to live with that. And then our CEOs
                                                                                                                 and our HR departments have done a good job finding the appropriate
                                                                                                                 staff. There might be an isolated facility where there might be a
                                                                                                                 temporary shortage at one time, but nothing that really is corporate-wide
                                                                                                                 or even statewide. It would be an individual facility, so weve been very
                                                                                                                 fortunate in being able to attract the employees that we need for our
                                                                                                                 facility. We have 37,000 of them approximately today and probably

                                                                                 44
                                                                                  Complaint, ¶132, citing Acadia presentation at 2016 Bank of America Merrill Lynch Healthcare Conference, May 10, 2016. Acadia presented at 7:20 P.M. See, Acadia
                                                                                  Healthcare to Participate in Bank of America Merrill Lynch 2016 Health Care Conference, BusinessWire, May 3, 2016. Emphasis original.
                                                                                                                                                                                                                                                            Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 79 of 107




                                                                                 46   Complaint, ¶132.

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                                                                                                                 36,000 of them, as Brent mentioned earlier, do patient care or support
                                                                                                                 the patient care at the local level. And inside the company, our slogan is
                                                                                                                 improving the lives we touch, because we know we improve the lives of
                                                                                                                 the patient. But many times, its many more members of that family, we
                                                                                                                 improve their lives too. So thats what we stay focused on.45
M19                                                                                    5/24/16 UBS Global        [A.J. Rice  UBS Analyst:] Ill ask a question and then well see, we        Again, Jacobs reiterated Acadias ability to sufficiently staff
                                                                                               Healthcare        might just go to the breakout. But one of the things were hearing from       its facilities48
                                                                                               Conference        your closest peer, one of the hospital companies, is that there seems to
                                                                                                                 be some tightness of psychiatrists, tightness of maybe even clinicians
                                                                                                                 and the nurses in the psychiatric business. I know youve added bed
                                                                                                                 capacity because you needed to add. If youve got this IMD opportunity
                                                                                                                 on top of already sort of strong growth, are you going to be able to
                                                                                                                 handle the incremental volume or are you seeing any of that capacity?
                                                                                                                 How would you put  what would you say about the tightness of
                                                                                                                 clinician supply up there?
                                                                                                                 [Jacobs:] Oh sure, I forgot I was [micd]. We might see that in a specific
                                                                                                                 market but overall were able to find the clinicians whether theyre
                                                                                                                 psychiatrists or psychiatric nurses to staff our facilities. Most recently,
                                                                                                                 as I mentioned, I was visiting a hospital that just added 80 beds over the
                                                                                                                 last two years and theyve been able to find enough psychiatrists and
                                                                                                                 nurses to take care of those 80 beds. So we might have an individual
                                                                                                                 facility that might be having some issues but we started investing more
                                                                                                                 robustly in our recruitment efforts probably over two years ago. So,




                                                                                 45
                                                                                  Complaint, ¶132, citing Acadia presentation at 2016 Bank of America Merrill Lynch Healthcare Conference, May 10, 2016. Acadia presented at 7:20 P.M. See, Acadia
                                                                                  Healthcare to Participate in Bank of America Merrill Lynch 2016 Health Care Conference, BusinessWire, May 3, 2016. Emphasis original.
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                                                                                 48   Complaint, ¶133.

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                                                                                                                  weve been able to find and retain the nurses and the psychiatrists that
                                                                                                                  we need.47
M20                                                                                      6/9/16 Jefferies         As youve seen from our first-quarter results, our organic same-store           In his introductory remarks, Jacobs once again stressed the
                                                                                                Healthcare        growth was industry-leading if youre in the hospital sector, and were          importance of quality care for the patients admitted to
                                                                                                Conference        very proud of what Ron Fincher and his team have done and what we                Acadias facilities51
                                                                                                                  are doing out in the field. So the Company is in, we think, a great
                                                                                                                  position and doing well. It is hard work. We do take care of a lot of            On June 9, 2016, Jacobs and Turner presented to investors,
                                                                                                                  patients, and that is our number one goal is taking care of the                  analysts and market participants at the Jefferies Healthcare
                                                                                                                  patients, making sure they are receiving the quality care that they              Conference on behalf of Acadia, where Jacobs made similar
                                                                                                                  need, and we very much want to do that. I know our employees are                 statements on Acadias staffing efforts:52
                                                                                                                  dedicated to that, and our Company is improving the lives we touch. So
                                                                                                                  theres a lot of people we touch when we touch a familys life.49

                                                                                                                  [Brian Tanquilut  Jefferies Analyst:] Joey, one of the things that we
                                                                                                                  have heard is  we are hearing some constraints on the clinician front in
                                                                                                                  terms of hiring and capacity. So, as you are growing your beds, what do
                                                                                                                  you see in terms of the challenges or the ability to bring in whether it is
                                                                                                                  a psychiatrist or psychologist or nurses?
                                                                                                                  [Jacobs:] Okay. We, probably two years ago, invested heavily into our
                                                                                                                  internal recruitment department at the corporate office, primarily
                                                                                                                  focused on psychiatrists, and we have been very efficient and very
                                                                                                                  fortunate in being able to always be able to find the psychiatrist that
                                                                                                                  we need to make sure we can handle the growth in our bed build. So

                                                                                 47
                                                                                   Complaint, ¶133, citing Acadia presentation at 2016 UBS Global Healthcare Conference, May 24, 2016. Acadia presented at 2:00 P.M. See, Acadia Healthcare to Present
                                                                                  at UBS Global Healthcare Conference, BusinessWire, May 14, 2015.
                                                                                 49
                                                                                   Complaint, ¶122, citing Acadia presentation at 2016 Jefferies Healthcare Conference, June 9, 2016. Acadia presented at 9:00 A.M. See, Acadia Healthcare to Participate
                                                                                  in Jefferies 2016 Health Care Conference, BusinessWire, June 2, 2016. Emphasis original.
                                                                                 51
                                                                                      Complaint, ¶122.
                                                                                                                                                                                                                                                                  Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 81 of 107




                                                                                 52   Complaint, ¶134.

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                                                                                                                  psychiatrists to us, sure, we might have a single facility that might have
                                                                                                                  an issue, but overall for the Company, this has not been an issue.50
M21                                                                                    7/29/16 2Q16               [Brian Tanquilut  Jefferies Analyst:] Joey, what about clinician                On the earnings call, Jacobs was again questioned by
                                                                                               Conference         supply, just to match the build-out?                                              multiple analysts about Acadias staffing in light of the
                                                                                               Call               [Jacobs:] As I mentioned on previous conference calls, we several years           industry-wide shortage of behavioral health professionals56
                                                                                                                  ago started beefing up our recruitment department, and that has paid
                                                                                                                  dividends for us in todays environment, in that were able to find the
                                                                                                                  clinicians we need, and that has not been an issue to us growing.53

                                                                                                                  [Kevin Fischbeck  BofA Merrill Lynch Analyst:] Okay, great, thanks.
                                                                                                                  I guess I just want to go back to the psychiatrist shortage question,
                                                                                                                  which weve heard a couple more hospitals seeing that. Is it your view
                                                                                                                  that, in your markets, that the market for psychiatrists is pretty
                                                                                                                  consistent with where its been the last few years, or are you seeing
                                                                                                                  somewhat of a shortage, its just that the investments you made are
                                                                                                                  allowing you to manage through it?
                                                                                                                  [Jacobs:] Our investment is allowing us to address the needs of our
                                                                                                                  facilities. Weve got a top notch recruitment department, and working
                                                                                                                  with our division Presidents and local CEOs, were able to meet their
                                                                                                                  needs, find the psychiatrists, get them signed up, get them relocated to
                                                                                                                  the facilities where we need them. Were working closer and closer with
                                                                                                                  residency programs on new graduates, stuff like that. So were
                                                                                                                  managing our way through this, Kevin. We identified this as a basic


                                                                                 50
                                                                                   Complaint, ¶134, citing Acadia presentation at 2016 Jefferies Healthcare Conference, June 9, 2016. Acadia presented at 9:00 A.M. See, Acadia Healthcare to Participate in
                                                                                  Jefferies 2016 Health Care Conference, BusinessWire, June 2, 2016. Emphasis original.
                                                                                 53
                                                                                   Complaint, ¶135, citing Acadia 2Q16 earnings conference call, July 29, 2016. The conference call was held at 11:00 A.M. See, Acadia Healthcare Announces Date for
                                                                                  Second Quarter 2016 Earnings Release, GlobeNewsWire, July 22, 2016. Emphasis original.
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                                                                                 56   Complaint, ¶135.

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                                                                                                                 business strategy that we needed to do probably three years ago, and
                                                                                                                 then put the resources behind that.54

                                                                                                                 [Paula Torch  Avondale Analyst:] Great. Thank you. I have a couple
                                                                                                                 of questions. I just wanted to follow up on the labor and psychiatrists,
                                                                                                                 and maybe the capacity constraints. Winder, given that hospitals and
                                                                                                                 some of your other competitors are having your capacity constraints,
                                                                                                                 and youre adding 800 beds this year, and maybe potential to do a
                                                                                                                 similar amount next year, do you think that gives you an opportunity to
                                                                                                                 take share from your competitors, or even just the hospitals that have
                                                                                                                 behavioral beds within them, given that you are able to be hiring these
                                                                                                                 psychiatrists and clinicians? It seems like there are a lot of other
                                                                                                                 companies having problems with this?
                                                                                                                 [Jacobs:] We just executed our strategy, Paula, and if it ends up taking
                                                                                                                 market share from somebody, or just being there ready for the beds and
                                                                                                                 the clinicians when those patients are looking for care, either way, were
                                                                                                                 glad to be there. It will be a combination of both of those. So were
                                                                                                                 very pleased that consistently in the history of Acadia, that weve
                                                                                                                 been able to build the appropriate number of beds each year, and
                                                                                                                 find the clinicians to staff those beds, and to meet the needs of these
                                                                                                                 local communities.55
M22                                                                                   7/29/16 2Q16 10-Q          Our business strategy is to acquire and develop behavioral healthcare          Acadia consistently touted its high-quality services as a
                                                                                                                 facilities and improve our operating results within our facilities and our      key factor in improving its operating results in its Forms 10-K,
                                                                                                                 other behavioral healthcare operations. We strive to improve the
                                                                                                                 operating results of our facilities by providing high-quality services,


                                                                                 54
                                                                                   Complaint, ¶135, citing Acadia 2Q16 earnings conference call, July 29, 2016. The conference call was held at 11:00 A.M. See, Acadia Healthcare Announces Date for
                                                                                  Second Quarter 2016 Earnings Release, GlobeNewsWire, July 22, 2016. Emphasis original.
                                                                                                                                                                                                                                                                Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 83 of 107




                                                                                 55
                                                                                   Complaint, ¶135, citing Acadia 2Q16 earnings conference call, July 29, 2016. The conference call was held at 11:00 A.M. See, Acadia Healthcare Announces Date for
                                                                                  Second Quarter 2016 Earnings Release, GlobeNewsWire, July 22, 2016. Emphasis original.

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                                                                                                                                             Alleged US-Based Misrepresentations

Misrep#                                                                                Date              Event                         Alleged US-Based Misrepresentation                             Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                                     expanding referral networks and marketing initiatives while meeting the         signed by Jacobs and Duckworth, and in its Forms 10-Q,
                                                                                                                     increased demand for behavioral healthcare services through expansion           signed by Duckworth58
                                                                                                                     of our current locations as well as developing new services within
                                                                                                                     existing locations57
M23                                                                                      9/7/16 Robert W.            [Whit Mayo  Robert W. Baird Analyst:] Maybe shifting down the                 On September 7, 2016, Turner presented to investors,
                                                                                                Baird Global         P&L to some of your expenses. Theres been a lot of chatter in the              analysts and market participants at the Robert W. Baird Global
                                                                                                Healthcare           marketplace just about the shortage of psychiatrists. And I know you            Healthcare Conference on behalf of Acadia, where he
                                                                                                Conference           have had a strategy in place for a number of years to address this and          acknowledged the link between Acadias volume growth and
                                                                                                                     stay out in front. Can you maybe just talk about what youre seeing in          need for labor60
                                                                                                                     terms of wage pressure for nurses and also for psychiatrists?
                                                                                                                      [Turner:] Were not seeing a lot of  again, we live within 2% to 3%
                                                                                                                     meritbased increases. Im not seeing anything come through that says
                                                                                                                     we got to raise to the level of wages across the board in these markets.
                                                                                                                     We are very focused on staying close to that, because we are
                                                                                                                     dependent on that labor to grow our volumes. We may just be in
                                                                                                                     good markets or it may be some benefits  its probably also some
                                                                                                                     benefit of our corporate initiatives that weve had in place the last few
                                                                                                                     years just to really support the facilities in their recruiting efforts, both
                                                                                                                     from the physician as well as some of the key positions in nursing and
                                                                                                                     mental health techs and that sort of thing.59
M24                                                                                    11/2/16 3Q16                  The second factor was same-facility revenue growth in the US of 6.5%,          In discussing the factors for the lower-than-expected
                                                                                               Conference            which increased compared to 5.9% for the third quarter last year, but           earnings, Jacobs expressly disclaimed the effect of any
                                                                                               Call                  which was below our expectations for the quarter. The softness in our


                                                                                 57
                                                                                      Complaint, ¶112, citing Acadia 2Q16 Form 10-Q, filed July 29, 2016, 4:32 P.M., p. 30. Emphasis original.
                                                                                 58
                                                                                      Complaint, ¶112.
                                                                                 59
                                                                                   Complaint, ¶136, citing Acadia presentation at 2016 Robert W. Baird Healthcare Conference, September 7, 2016. Acadia presented at 10:50 A.M. See, Acadia Healthcare
                                                                                  to Present at Baird and Wells Fargo Healthcare Conferences, BusinessWire, August 31, 2016. Emphasis original.
                                                                                                                                                                                                                                                                  Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 84 of 107




                                                                                 60   Complaint, ¶136.

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                                                                                                                                        Alleged US-Based Misrepresentations

Misrep#                                                                                Date              Event                    Alleged US-Based Misrepresentation                             Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                                 same-facility volumes in the third quarter was affected by a handful           staffing issues on Acadias growth rate in his prepared
                                                                                                                 of our facilities and was not the result of any material labor                 remarks63
                                                                                                                 shortages. While we have a few markets that have labor challenges,
                                                                                                                 this is not materially affecting our growth rate. In the US, through           In response to questions from analysts, Jacobs admitted that
                                                                                                                 the nine months of 2016, weve recruited 125 psychiatrists to our              certain Acadia facilities suffered from labor shortages, but
                                                                                                                 facilities, which is similar to the total number recruited for all of 2015.    again downplayed the significance of the staffing issues64
                                                                                                                 These numbers clearly demonstrate that Acadia has the ability to
                                                                                                                 recruit psychiatrists where needed. Thus far in the fourth quarter, US
                                                                                                                 same-facility patient days grew 6.7% in October, 50 basis points better
                                                                                                                 than our experience for the third quarter.61

                                                                                                                 [Ana Gupte  Leerink Analyst:] Yes. Hi. Thanks for taking my
                                                                                                                 question. Good morning. On the staffing shortages again, youve been
                                                                                                                 saying that you havent seen them and I think you gave a number on
                                                                                                                 how many psychiatrists you recruited, but your peer  the pure-play peer
                                                                                                                 and also the acute guys are talking about it. Theres broad commentary
                                                                                                                 in the country about mental health professionals being in short supply. Is
                                                                                                                 there likely to be any wage pressure? There is a little bit of a pickup
                                                                                                                 sequentially in your salaries line. And as youre recruiting, are you
                                                                                                                 having to see any wage pressure on that that might be a bit of an offset?
                                                                                                                 [Jacobs:] We have, in our budget, a 2% to 3% merit increase of our
                                                                                                                 employees next year and we think theyre going to be able to attract the
                                                                                                                 personnel to their facilities that they need to make sure we have the
                                                                                                                 appropriate staffing in our facilities. So as I mentioned earlier, there
                                                                                                                 are some isolated markets where we would  we could have a

                                                                                 61
                                                                                   Complaint, ¶137, citing Acadia 3Q16 earnings conference call, November 2, 2016. The conference call was held at 9:00 A.M. See, Acadia Healthcare Announces Date for
                                                                                  Third Quarter 2016 Earnings Release, GlobeNewswire, October 11, 2016. Emphasis original.
                                                                                 63
                                                                                      Complaint, ¶137.
                                                                                                                                                                                                                                                                Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 85 of 107




                                                                                 64   Complaint, ¶138.

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                                                                                                                                            Alleged US-Based Misrepresentations

Misrep#                                                                                Date              Event                        Alleged US-Based Misrepresentation                             Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                                    shortage of a mental health tech or social workers or something like
                                                                                                                    that, but there is nothing companywide. And then the reason we gave
                                                                                                                    the physician numbers were  gave you the physician numbers were, we
                                                                                                                    gave you those numbers because were doing well. The recruitment
                                                                                                                    team is doing an outstanding job in finding physicians for our facilities.
                                                                                                                    So weve been able to work through that. This is the only thing we do
                                                                                                                    is behavioral health. And those are the companies that you mentioned,
                                                                                                                    theyre also focused on med/surg operations too. So weve been able to
                                                                                                                    find the employees for our facilities.62
M25                                                                                    11/2/16 3Q16 10-Q            Our business strategy is to acquire and develop behavioral healthcare          Acadia consistently touted its high-quality services as a
                                                                                                                    facilities and improve our operating results within our facilities and our      key factor in improving its operating results in its Forms 10-K,
                                                                                                                    other behavioral healthcare operations. We strive to improve the                signed by Jacobs and Duckworth, and in its Forms 10-Q,
                                                                                                                    operating results of our facilities by providing high-quality services,         signed by Duckworth66
                                                                                                                    expanding referral networks and marketing initiatives while meeting the
                                                                                                                    increased demand for behavioral healthcare services through expansion
                                                                                                                    of our current locations as well as developing new services within
                                                                                                                    existing locations65
M26                                                                                    2/22/17 RBC Capital          [Audience Member:] Thanks. One of those questions raised in the                In response to an audience question concerning efficacy of
                                                                                               Markets              negative headlines I think talked about efficacy of care. And do you            care, Jacobs insisted that the Companys quality and
                                                                                               Healthcare           guys track efficacy and do you think the industry should track efficacy?        compliance compartment tracked the efficacy of the care
                                                                                               Conference           Are people actually getting cured when they come in versus (inaudible)?         provided to Acadia patients69
                                                                                                                    [Jacobs:] We can do a better job. Now, unfortunately, the psychiatric
                                                                                                                    industry has been discriminated for years. And when the federal


                                                                                 62
                                                                                   Complaint, ¶138, citing Acadia 3Q16 earnings conference call, November 2, 2016. The conference call was held at 9:00 A.M. See, Acadia Healthcare Announces Date for
                                                                                  Third Quarter 2016 Earnings Release, GlobeNewswire, October 11, 2016. Emphasis original.
                                                                                 65
                                                                                      Complaint, ¶112, citing Acadia 3Q16 Form 10-Q, filed November 2, 2016, filed 4:17 P.M., p. 32. Emphasis original.
                                                                                 66
                                                                                      Complaint, ¶112.
                                                                                                                                                                                                                                                                   Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 86 of 107




                                                                                 69   Complaint, ¶123.

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                                                                                                                                        Alleged US-Based Misrepresentations

Misrep#                                                                                Date              Event                    Alleged US-Based Misrepresentation                            Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                                 government gave out all this money for to  for med/surg hospitals to         In response to an analyst question, Turner reiterated that the
                                                                                                                 improve their computer systems, we got nothing. So if we had gotten           nationwide staffing shortages would not bar continued Acadia
                                                                                                                 some money and was able to invest in our computer systems, we would           growth70
                                                                                                                 be able to track that better. We are investing in that, but it is more
                                                                                                                 manual than it is computerized. And we have a department headed up
                                                                                                                 by Scott Schwieger that our quality and compliance department that
                                                                                                                 does nothing but look at this. And so some parts of our business are
                                                                                                                 easier to follow up and to see about the cure. Obviously if somebody
                                                                                                                 represents themselves, the first one didnt work. 67

                                                                                                                 [Frank Morgan  RBC Analyst:] So if we get this extra volume,
                                                                                                                 obviously theres been a lot of discussions around labor and capacity,
                                                                                                                 capacity being labor capacity, not physical capacity. But what is your
                                                                                                                 thoughts on that current state. Can you  do you have the labor capacity
                                                                                                                 to handle the volume if we do get incremental volume?
                                                                                                                  [Turner:] I think  you know, as you have seen from our historical
                                                                                                                 numbers, we have been able to grow our organic revenues very healthy
                                                                                                                 numbers, upper-to midsingle digits. When you do that in an inpatient
                                                                                                                 setting, you have to have an incremental staffing. Caring for more
                                                                                                                 patients means you must bring on more staff to do that. So again, we
                                                                                                                 look at the history, we look at the trends going forward. We are in a full
                                                                                                                 employment market. The economy is doing well. But we are only
                                                                                                                 focused on behavioral health, and weve got a lot of resources and
                                                                                                                 efforts designated. Our internal recruiting, corporate recruitings,
                                                                                                                 supporting our facilities. Weve just got  everybody in the Company
                                                                                                                 knows when these next 20 beds are coming on in a certain market, so

                                                                                 67
                                                                                  Complaint, ¶123, citing Acadia presentation at 2017 RBC Capital Markets Healthcare Conference, February 22, 2017. Acadia presented at 9:30 A.M. See, Acadia
                                                                                  Healthcare to Participate in RBC Capital Markets 2017 Healthcare Conference, BusinessWire, February 17, 2017.
                                                                                                                                                                                                                                                                 Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 87 of 107




                                                                                 70   Complaint, ¶139.

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                                                                                                                                             Alleged US-Based Misrepresentations

Misrep#                                                                                Date              Event                         Alleged US-Based Misrepresentation                            Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                                     its not a surprise when those beds come online that we are expecting to
                                                                                                                     have more labor needs there. So whether we are in the right markets,
                                                                                                                     whether we have the right execution, or a combination of those things,
                                                                                                                     we do not see a barrier to our growth based on labor. Do we have a
                                                                                                                     couple of markets that are more challenging than others? Absolutely.
                                                                                                                     But we also have hundreds of facilities. So one or two markets arent
                                                                                                                     changing our trends just on the labor component.68
M27                                                                                    2/24/17 FY16 10-K             Management believes our focus on behavioral healthcare and history of         Throughout the Class Period, Acadia also stressed in its
                                                                                                                     completing acquisitions provides us with a strategic advantage in              Forms 10-K that the Companys growth strategy based on
                                                                                                                     sourcing, evaluating and closing acquisitions. We leverage our                 strategic acquisitions emphasized quality of service74
                                                                                                                     management teams expertise to identify and integrate acquisitions
                                                                                                                     based on a disciplined acquisition strategy that focuses on quality of         Acadia consistently touted its high-quality services as a
                                                                                                                     service, return on investment and strategic benefits. We also have a           key factor in improving its operating results in its Forms 10-K,
                                                                                                                     comprehensive post-acquisition strategic plan to facilitate the                signed by Jacobs and Duckworth, and in its Forms 10-Q,
                                                                                                                     integration of acquired facilities that includes improving facility            signed by Duckworth75
                                                                                                                     operations, retaining and recruiting psychiatrists and other healthcare
                                                                                                                     professionals and expanding the breadth of services offered by the             Throughout the Class Period, Acadia consistently assured
                                                                                                                     facilities71                                                                  investors that it was in substantial compliance with all
                                                                                                                                                                                                    regulatory requirements in its Forms 10-K, signed by Jacobs
                                                                                                                     Our business strategy is to acquire and develop behavioral healthcare         and Duckworth76
                                                                                                                     facilities and improve our operating results within our facilities and our
                                                                                                                     other behavioral healthcare operations. We strive to improve the

                                                                                 68
                                                                                  Complaint, ¶139, citing Acadia presentation at 2017 RBC Capital Markets Healthcare Conference, February 22, 2017. Acadia presented at 9:30 A.M. See, Acadia
                                                                                  Healthcare to Participate in RBC Capital Markets 2017 Healthcare Conference, BusinessWire, February 17, 2017. Emphasis original.
                                                                                 71
                                                                                      Complaint, ¶113, citing Acadia 2016 Form 10-K, filed February 24, 2017, 2:11 P.M., p. 3. Emphasis original.
                                                                                 74   Complaint, ¶113.
                                                                                 75
                                                                                      Complaint, ¶112.
                                                                                                                                                                                                                                                                   Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 88 of 107




                                                                                 76   Complaint, ¶150.

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                                                                                                                                             Alleged US-Based Misrepresentations

Misrep#                                                                                Date              Event                         Alleged US-Based Misrepresentation                             Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                                     operating results of our facilities by providing quality patient care,
                                                                                                                     expanding referral networks and marketing initiatives while meeting the
                                                                                                                     increased demand for behavioral healthcare services through expansion
                                                                                                                     of our current locations as well as developing new services within
                                                                                                                     existing locations72

                                                                                                                     The healthcare industry is subject to numerous laws, regulations and
                                                                                                                     rules including, among others, those related to government healthcare
                                                                                                                     program participation requirements, various licensure and accreditation
                                                                                                                     standards, reimbursement for patient services, health information
                                                                                                                     privacy and security rules, and government healthcare program fraud
                                                                                                                     and abuse provisions. Providers that are found to have violated any of
                                                                                                                     these laws and regulations may be excluded from participating in
                                                                                                                     government healthcare programs, subjected to loss or limitation of
                                                                                                                     licenses to operate, subjected to significant fines or penalties and/or
                                                                                                                     required to repay amounts received from the government for previously
                                                                                                                     billed patient services. Management believes we are in substantial
                                                                                                                     compliance with all applicable laws and regulations and is not
                                                                                                                     aware of any material pending or threatened investigations
                                                                                                                     involving allegations of wrongdoing.73
M28                                                                                    2/24/17 FY16                  [Brian Tanquilut  Jefferies Analyst:] I appreciate that color, Joey.          On the earnings call, Jacobs acknowledged the increased
                                                                                               Conference            Followup for me, margins were strong in Q4. So how should we think              difficulties the Company was facing in the labor market, but
                                                                                               Call                  about the margin progression for this year? Number one, just as we              again insisted that the Company would see increased profit
                                                                                                                     think about the synergies flowing through. And then number two, the de          margins in 2017 despite any staffing pressures78
                                                                                                                     novos improving. And then lastly, how do you tie that into kind of like
                                                                                                                     staffing, because there were obviously concerns that it is getting harder

                                                                                 72
                                                                                      Complaint, ¶112, citing Acadia 2016 Form 10-K, filed February 24, 2017, 2:11 P.M., p. 1. Emphasis original.
                                                                                 73
                                                                                      Complaint, ¶150, citing Acadia 2016 Form 10-K, filed February 24, 2017, 2:11 P.M., p. 12. Emphasis original.
                                                                                                                                                                                                                                                                    Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 89 of 107




                                                                                 78   Complaint, ¶140.

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                                                                                                                                         Alleged US-Based Misrepresentations

Misrep#                                                                                Date              Event                     Alleged US-Based Misrepresentation                            Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                                 to staff in the behavioral space. So how should we read into your margin
                                                                                                                 performance as it relates to your ability to staff all these facilities?
                                                                                                                 [Jacobs:] My expectation is that we will have margin improvement this
                                                                                                                 year. Whether that is 25 basis points to 50 basis points to 100 basis
                                                                                                                 points, the expectation is that we will have margin improvement. So far,
                                                                                                                 Ron Fincher and his recruitment team have been able to find the
                                                                                                                 necessary staff so that we are confident that when we build the 967
                                                                                                                 beds that we are able to staff those beds and that that wont be an
                                                                                                                 issue to keep us from hitting our [due] numbers. I guess the only
                                                                                                                 other comment I would say since the last call we have had, is that
                                                                                                                 the labor market is a little tighter, but once again, we have been
                                                                                                                 able to recruit and find the staff to work through that. Once again,
                                                                                                                 blocking and tackling our recruitment department, doing what it needs
                                                                                                                 to do, hitting its target, I think we signed three physicians this week. So,
                                                                                                                 if we can keep doing that, and so we should be okay there.77
M29                                                                                      3/7/17 Raymond          [John Ransom  Raymond James Analyst:] Right. I think you guys                At the conference, Jacobs reiterated that the Company had
                                                                                                James Annual     have done a nice job laying out your psychiatrist recruiting program.          sufficient staffing to meet patient needs80
                                                                                                Institutional    What I think is maybe a little less understood is, it looks to me at least
                                                                                                Investors        like a 15-year boom in behavioral health, high occupancy rates, a lot of
                                                                                                Conference       spending, that we should be at the cycle where theres pressure on labor
                                                                                                                 at below the psychiatrist level, maybe starting with the nurse level,
                                                                                                                 going down to the tech level. Do you think that over time the industry is
                                                                                                                 going to have to make a step change in terms of compensation to keep
                                                                                                                 running this hot in terms of demand? It sounds like an old fashioned
                                                                                                                 problem from the 70s where youre talking about capacity bottlenecks
                                                                                                                 and demand for labor. So how do you think that will change? How has it

                                                                                 77
                                                                                  Complaint, ¶140, citing Acadia FY16 earnings conference call, February 24, 2017, p. 8. The conference call was held at 9:00 A.M. See, Acadia Healthcare Announces
                                                                                  Date for Fourth Quarter and Year-End 2016 Earnings Release, GlobeNewswire, February 10, 2017. Emphasis original.
                                                                                                                                                                                                                                                             Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 90 of 107




                                                                                 80   Complaint, ¶141.

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                                                                                                                                        Alleged US-Based Misrepresentations

Misrep#                                                                               Date         Event                          Alleged US-Based Misrepresentation                             Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                                 changed? And do you think the industry is going to have to start paying
                                                                                                                 people like, say, drug counselors more than $45,000 a year and having
                                                                                                                 to compete more to get the higher nurses?
                                                                                                                 [Jacobs:] Obviously, the most important person to us is the
                                                                                                                 psychiatrist. And a psychiatrist can take care of about 20 patients a
                                                                                                                 day. So, you know  and thats one of the reasons were affiliating with
                                                                                                                 the joint ventures in the academic centers, is that their teaching
                                                                                                                 programs help feed all the acute facilities, whether its the psychiatrists,
                                                                                                                 the nurse, the mental health tech that we use inside our system.
                                                                                                                 I do not see salary adjustments below the psychiatrist, across the board
                                                                                                                 salary adjustments occurring because of the tightness in the market.
                                                                                                                 Fortunately for this market and fortunately for our company, during the
                                                                                                                 life of the caregiver, theyre going to migrate to what they like to do
                                                                                                                 best or a calling. And there are a lot of people, and enough so far, want
                                                                                                                 to be in the mental health area, that they want to serve their community
                                                                                                                 this type of care. So so far today we have enough of those individuals
                                                                                                                 to meet the needs. Now, Butte, Montana, will always need all of the
                                                                                                                 above, because its in Butte, Montana. Anybody here from Butte,
                                                                                                                 Montana? (Inaudible) talk about Butte, Montana. So Ive been there.
                                                                                                                 Got out of town. Im sorry; I shouldnt say that since this is taped.
                                                                                                                 But, anyway, so theres isolated pressure, but its more isolated
                                                                                                                 pressure. And we have a way of working through that through our
                                                                                                                 recruitment department. And we do not see wholesale salary
                                                                                                                 adjustments to maintain our individuals or to pay our drug counselors
                                                                                                                 $45,000.79
M30                                                                                   4/13/17 Def 14A             creating a world-class organization that sets the standard of                In opposing the proposal, Acadias Board claimed the
                                                                                                                 excellence in the treatment of specialty behavioral health and                 Company conduct[s] [its] business in compliance with
                                                                                                                 addiction disorders;                                                           applicable law including environmental, health and safety
                                                                                                                                                                                                                                                             Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 91 of 107




                                                                                 79
                                                                                   Complaint, ¶141, citing Acadia presentation at 2017 Raymond James Annual Investor Conference, March 7, 2017. Acadia presented at 1:40 P.M. See, Acadia Healthcare
                                                                                  to Participate in the Raymond James 38(th) Annual Institutional Investors Conference, BusinessWire, March 2, 2017. Emphasis original.

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                                                                                                                                             Alleged US-Based Misrepresentations

Misrep#                                                                                Date              Event                        Alleged US-Based Misrepresentation                           Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                                       creating behavioral health centers where people receive                    regulations, and we work hard to be an exceptional employer,
                                                                                                                     individualized and quality care that enables them to regain hope in          a good neighbor and a good citizen. Instead, the Board
                                                                                                                     a supportive, caring environment;                                            suggested it would be best to focus resources on the core
                                                                                                                       offering an enviable internal culture and environment that encourages      elements of the Companys business strategy, which
                                                                                                                     and supports both professional and personal growth that our employees        included:82
                                                                                                                     are proud of; and
                                                                                                                       developing partnerships with physicians, professionals, and payers
                                                                                                                     within the communities we serve through the delivery of high quality
                                                                                                                     specialty behavioral health services at affordable costs while always
                                                                                                                     putting the patient first81
M31                                                                                    4/26/17 1Q17 10-Q             Our business strategy is to acquire and develop behavioral healthcare       Acadia consistently touted its high-quality services as a
                                                                                                                     facilities and improve our operating results within our facilities and our   key factor in improving its operating results in its Forms 10-K,
                                                                                                                     other behavioral healthcare operations. We strive to improve the             signed by Jacobs and Duckworth, and in its Forms 10-Q,
                                                                                                                     operating results of our facilities by providing high-quality services,      signed by Duckworth84
                                                                                                                     expanding referral networks and marketing initiatives while meeting the
                                                                                                                     increased demand for behavioral healthcare services through expansion
                                                                                                                     of our current locations as well as developing new services within
                                                                                                                     existing locations83
M32                                                                                    4/26/17 1Q17                  [Albert J. Rice  UBS Analyst:] Okay. And then just maybe a follow-         On the earnings call, Jacobs again stressed that Acadia
                                                                                               Earnings Call         up on the labor side, any update on what youre seeing in terms of           sufficiently staffed its facilities to meet patient demand86
                                                                                                                     availability of both clinicians and psychiatrist? And hows that pipeline
                                                                                                                     look? And what are you seeing there?


                                                                                 81
                                                                                      Complaint, ¶121, citing Acadia DEF14A, filed April 13, 2017, 4:31 P.M, p. 12. Emphasis original.
                                                                                 82   Complaint, ¶121.
                                                                                 83
                                                                                      Complaint, ¶112, citing Acadia 1Q17 Form 10-Q, filed April 26, 2017, 4:17 P.M., p. 28. Emphasis original.
                                                                                 84
                                                                                      Complaint, ¶112.
                                                                                                                                                                                                                                                                  Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 92 of 107




                                                                                 86   Complaint, ¶142.

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                                                                                                                                                     Appendix C
                                                                                                                                         Alleged US-Based Misrepresentations

Misrep#                                                                                Date              Event                     Alleged US-Based Misrepresentation                             Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                                 [Jacobs:] Here in the U.S., were doing an excellent job on attracting
                                                                                                                 physicians and the technical individuals that we will need for our
                                                                                                                 facilities to meet our patients demand. The real shortage is over in
                                                                                                                 the U.K. where there is a nursing shortage over there. But we have a
                                                                                                                 plan there to be more efficient there and to use less agencies expense
                                                                                                                 there. So the U.S., were doing fine and working through any labor
                                                                                                                 issues or shortage of labor issues in any market. And then the U.K.,
                                                                                                                 were working on a strategy on how do we attract more nurses, make it
                                                                                                                 the place to work for in the U.K. Acadias revenue growth for the
                                                                                                                 quarter was primarily driven by the addition of a net 6,200 beds through
                                                                                                                 the Priory acquisition halfway through the first quarter last year. We
                                                                                                                 initiated full integration of Priory into Acadia after the U.K. facility
                                                                                                                 divestiture in November 2016. By the end of the first quarter of 17, we
                                                                                                                 had achieved about $16 million of the expected $20 million of cost
                                                                                                                 synergies from the transaction, and we expect to recognize all the cost
                                                                                                                 synergies by the fourth quarter of this year85
M33                                                                                    5/16/17 Bank of           [Kevin Fishbeck  BofA Merrill Lynch Analyst:] I guess, obviously,             When questioned about ongoing concerns of labor shortages
                                                                                               America           one of the hot button issues for this sector has been the question of labor     in the behavioral healthcare space, Jacobs assured that Acadia
                                                                                               Merrill Lynch     shortages. And can you just talk about what youre seeing there,                maintained adequately staffed facilities to provide quality care
                                                                                               Health Care       whether its been, I guess, either an issue from a margin perspective or        amid Acadias expansionist growth strategy88
                                                                                               Conference        whether its been an issue from  a gating issue from a growth
                                                                                                                 perspective for you guys?
                                                                                                                 [Jacobs:] Weve been very fortunate in that our shortages occur in
                                                                                                                 very unique locations, very isolated locations. Actually, on the bus
                                                                                                                 tour, the question was asked from a crowd about psychiatrists, and they
                                                                                                                 have plenty; and then also asked about nurses, and they have plenty.

                                                                                 85
                                                                                   Complaint, ¶142, citing Acadia 1Q17 earnings conference call, April 26, 2017. The conference call was held at 8:00 A.M. See, Acadia Healthcare Announces Date for
                                                                                  First Quarter 2017 Earnings Release, GlobeNewswire, April 13, 2017. Emphasis original.
                                                                                                                                                                                                                                                                    Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 93 of 107




                                                                                 88   Complaint, ¶124.

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                                                                                                                                        Alleged US-Based Misrepresentations

Misrep#                                                                                Date              Event                    Alleged US-Based Misrepresentation                             Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                                 And so we expect our facilities to be in communities that have nursing
                                                                                                                 teaching programs, to have the nurses coming through our facilities
                                                                                                                 learning about psych patients, that if theres psychiatrist medical schools
                                                                                                                 there, youll see us joint-venturing with medical schools. We already
                                                                                                                 have one with Einstein. Well be having one with the University of
                                                                                                                 Miami, whether well have one with the Ochsner group in Louisiana. So
                                                                                                                 weve been able to find psychiatrists. We have a robust recruitment
                                                                                                                 department, and we saw some of this pressure probably 4 to 5 years ago
                                                                                                                 and began ramping that up, so we can meet the needs to continue to
                                                                                                                 grow. And based upon our growth numbers, were meeting the
                                                                                                                 needs and providing good quality care.87
M34                                                                                    5/24/17 UBS Global        In addition to the just oversight of our facilities from an operational       In his prepared remarks, Turner again stressed the importance
                                                                                               Healthcare        and financial standpoint, we have overlay of our clinical services,            of Acadias quality assurance practices91
                                                                                               Conference        headed up by our Vice President of Clinical Services. And these
                                                                                                                 individuals are highly trained in the behavioral health field and help         In response to analyst questioning around negative publicity
                                                                                                                 assess our facilities and make sure all the quality and assurances are         facing Acadias competitor UHS, Jacobs denied that any
                                                                                                                 being adhered to, little checks and balances. We have similar quality          allegations of questionable business practices in the behavioral
                                                                                                                 insurance (sic) [assurance] personnel at the facility level. But we want       health space were affecting Acadia92
                                                                                                                 to also make sure from a corporate level, we are ensuring that were
                                                                                                                 delivering good patient care in our facilities.89

                                                                                                                 [Albert J. Rice  UBS Analyst:] So theres been some adverse publicity
                                                                                                                 in this space, not  hasnt been targeted at you guys at all, and thats

                                                                                 87
                                                                                  Complaint, ¶124, citing Acadia presentation at 2017 Bank of America Merrill Lynch Health Care Conference, May 16, 2017. Acadia presented at 11:00 A.M. See, Acadia
                                                                                  Healthcare to Present at Three Upcoming Conferences, BusinessWire, April 27, 2017. Emphasis original.
                                                                                 89
                                                                                   Complaint, ¶125, citing Acadia presentation at 2017 UBS Global Health Care Conference, May 24, 2017. Acadia presented at 10:30 A.M. See, Acadia Healthcare to
                                                                                  Present at Three Upcoming Conferences, BusinessWire, April 27, 2017. Emphasis original.
                                                                                 91
                                                                                      Complaint, ¶125.
                                                                                                                                                                                                                                                               Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 94 of 107




                                                                                 92   Complaint, ¶152.

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                                                                                                                                        Alleged US-Based Misrepresentations

Misrep#                                                                                Date              Event                    Alleged US-Based Misrepresentation                             Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                                 good. But has that had any impact in the marketplace as best you can
                                                                                                                 determine? Has it affected your business in anyway, either driving
                                                                                                                 volume your way or making people cautious about sending people in
                                                                                                                 your direction?
                                                                                                                 [Jacobs:] No. We hate that our  no, it hasnt. We did terrific same-store
                                                                                                                 growth in the first quarter. So this information that is out there now
                                                                                                                 about our competitor has been out there for a while, and it has had no
                                                                                                                 impact on us and  so far, and we dont see it having an impact on us. It
                                                                                                                 might have diverted their attention away from acquisitions or that sort of
                                                                                                                 thing, where we havent seen them very  we havent seen a lot of
                                                                                                                 activity from the competitor during the past couple of years on
                                                                                                                 acquisitions. So Steve Davidson and our team does a great job of
                                                                                                                 finding and sourcing and making the acquisition. So no impact, maybe a
                                                                                                                 slight positive.90
M35                                                                                      6/8/17 Jefferies        [Brian Tanquilut  Jefferies Analyst:] Brent, just to follow on to that,      In response to an analyst question regarding the Companys
                                                                                                Healthcare       whats your thought on staffing, your ability to staff these new beds as       efforts to maintain appropriate staffing levels, Turner stressed
                                                                                                Conference       youre adding? And how are you  wheres the confidence coming from            that Acadia secures the necessary mental health staff to
                                                                                                                 that you can keep staffing at sort of a 6% to 7% organic growth rate?          support the Companys expected growth94
                                                                                                                 [Turner:] Well, as Joey mentioned, weve been at this since 2011 with
                                                                                                                 Acadia, and weve shown very strong organic growth throughout those
                                                                                                                 6 straight years. When youre showing that in our business, the
                                                                                                                 requirement as you add these patients is that there would be appropriate
                                                                                                                  the staffing is going to incrementally add with those  that addition of
                                                                                                                 patients. So our confidence is much like in how were confident about
                                                                                                                 the volume coming. We work hard to capture the volume, we work
                                                                                                                 hard to recruit the staff, the nurses, the mental health techs, the

                                                                                 90
                                                                                   Complaint, ¶152, citing Acadia presentation at 2017 UBS Global Health Care Conference, May 24, 2017. Acadia presented at 10:30 A.M. See, Acadia Healthcare to
                                                                                  Present at Three Upcoming Conferences, BusinessWire, April 27, 2017.
                                                                                                                                                                                                                                                                   Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 95 of 107




                                                                                 94   Complaint, ¶126.

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                                                                                                                                          Alleged US-Based Misrepresentations

Misrep#                                                                                Date              Event                      Alleged US-Based Misrepresentation                              Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                                  physicians, whatever we need to cover that additional unit, were
                                                                                                                  working on that in advance, at both at the local hospital level as well
                                                                                                                  as our (technical difficulty) designed to source employees. But I think
                                                                                                                  ultimately, the best thing about our confidence in getting the employees
                                                                                                                  is we have the right culture and we have the right sort of morale at our
                                                                                                                  company. I think were a good place to work, a great place to work. And
                                                                                                                  so if someone is desiring to care for the patient population that we care
                                                                                                                  for, and its the mental health  people with mental health needs, then
                                                                                                                  theyre going to find Acadias facilities. And they know at the end of
                                                                                                                  the day, were doing nothing but trying to make sure were
                                                                                                                  improving the lives of those patients that are in our care. And thats
                                                                                                                  what we believe in, and thats how we have the confidence that
                                                                                                                  were going to be able to continue to access the labor to support our
                                                                                                                  growth.93
M36                                                                                      6/9/17 S-3ASR            INCORPORATION OF CERTAIN DOCUMENTS BY REFERENCE                                 The Form S-3ASR incorporated by reference the statements
                                                                                                                  The SEC allows us to incorporate by reference information into this            in the FY 16 Form 10-K and Q1 2017 Form 10-Q alleged
                                                                                                                  prospectus, which means that we can disclose important information to            herein at ¶¶112-113, supra, to be false and misleading, and
                                                                                                                  you by referring you to another document filed separately with the SEC.          stated in pertinent part96
                                                                                                                  The information incorporated by reference into this prospectus is
                                                                                                                  deemed to be part of this prospectus, except for any information
                                                                                                                  superseded by information contained directly in this prospectus or
                                                                                                                  contained in another document filed with the SEC in the future which
                                                                                                                  itself is incorporated into this prospectus. We are incorporating by
                                                                                                                  reference the following documents, which we have previously filed with
                                                                                                                  the SEC:



                                                                                 93
                                                                                   Complaint, ¶126, citing Acadia presentation at 2017 Jefferies Health Care Conference, June 8, 2017. Acadia presented at 1:30 P.M. See, Acadia Healthcare to Participate
                                                                                  in Jefferies 2017 Global Healthcare Conference, BusinessWire, June 1, 2017. Emphasis original.
                                                                                                                                                                                                                                                                 Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 96 of 107




                                                                                 96   Complaint, ¶127.

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                                                                                                                                             Alleged US-Based Misrepresentations

Misrep#                                                                                Date              Event                         Alleged US-Based Misrepresentation                          Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                                     (1) our Annual Report on Form 10-K for the fiscal year ended
                                                                                                                     December 31, 2016;
                                                                                                                     (2) our Quarterly Report on Form 10-Q for the three months ended
                                                                                                                     March 31, 2017;
                                                                                                                     (3) our Current Reports on Form 8-K filed May 10, 2017 and May 25,
                                                                                                                     2017;
                                                                                                                     (4) the information specifically incorporated by reference into our
                                                                                                                     Annual Report on Form 10-K for the fiscal year ended December 31,
                                                                                                                     2016 from our Definitive Proxy Statement on Schedule 14A filed with
                                                                                                                     the SEC on April 13, 2017; and
                                                                                                                     (5) a description of our capital stock as set forth in our Registration
                                                                                                                     Statement on Form 8-A, filed on October 31, 2011.95
M37                                                                                     7/28/17 2Q17 10-Q            Our business strategy is to acquire and develop behavioral healthcare       Acadia consistently touted its high-quality services as a
                                                                                                                     facilities and improve our operating results within our facilities and our   key factor in improving its operating results in its Forms 10-K,
                                                                                                                     other behavioral healthcare operations. We strive to improve the             signed by Jacobs and Duckworth, and in its Forms 10-Q,
                                                                                                                     operating results of our facilities by providing high-quality services,      signed by Duckworth98
                                                                                                                     expanding referral networks and marketing initiatives while meeting the
                                                                                                                     increased demand for behavioral healthcare services through expansion
                                                                                                                     of our current locations as well as developing new services within
                                                                                                                     existing locations97
M38                                                                                     7/28/17 2Q17 10-Q            [Albert J. Rice  UBS Analyst:] Okay, okay. Obviously, not as much          On the earnings call, Jacobs issued similar statements
                                                                                                Conference           for you, but to some degree, theres been discussion around the industry     regarding Acadias ability to staff its growing number of
                                                                                                Call                 about the tightness of labor supply and finding both psychiatrists and       facilities101
                                                                                                                     nurses. Any update on your thinking? What are you seeing in terms of


                                                                                 95
                                                                                      Complaint, ¶127, 153, citing Acadia form S-3 ASR, filed June 9, 2014, 4:10 P.M., p. 13.
                                                                                 97
                                                                                      Complaint, ¶112, citing Acadia 2Q17 Form 10-Q, filed July 28, 2017, 2:32 P.M., p. 28. Emphasis original.
                                                                                 98
                                                                                      Complaint, ¶112.
                                                                                                                                                                                                                                                                 Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 97 of 107




                                                                                 101   Complaint, ¶143.

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                                                                                                                                         Alleged US-Based Misrepresentations

Misrep#                                                                                Date           Event                        Alleged US-Based Misrepresentation                             Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                                 turnover rates, vacant job postings and so forth and wage updates and so        On the earnings call, Jacobs again claimed that Acadia had
                                                                                                                 forth?                                                                          not fallen to the same pressures of its competitor UHS102
                                                                                                                 [Jacobs:] We still have  as weve mentioned for the past couple of
                                                                                                                 years, we have some isolated markets where its a little tougher to find
                                                                                                                 the nurses or the psychiatrists. But weve got a great team in
                                                                                                                 recruitment. And we have provided additional resources this year
                                                                                                                 into that department, and well see them  those resources be very
                                                                                                                 fruitful. So the labor market is tight, but weve been able, Ron and
                                                                                                                 his team and the recruitment department that reports to Ron, have
                                                                                                                 been able to find the personnel that we need to continue to put up
                                                                                                                 6% same-store patient day growth here in the U.S. So I think we can
                                                                                                                 continue to do that and find the people. Their  on the salary wage
                                                                                                                 pressures, its in the 2% to 3% is what were seeing for wage increases.
                                                                                                                 And so  but we want to be competitive in all our markets with  we
                                                                                                                 compete with the med/surg hospitals and other health care providers. So
                                                                                                                 we think were in a good position and have been able to work through it
                                                                                                                 for these past several years.99

                                                                                                                 [Ana Gupte  Leerink Analyst:] The question I have is you have a peer,
                                                                                                                 and we only have the two of you to really observe, has had some
                                                                                                                 regulatory coding issues, has had clinical staffing issues  is now also
                                                                                                                 speaking about a length of stay pressure from payers and the mix
                                                                                                                 shifting to Medicaid and the like. And its somewhat corroborated by
                                                                                                                 some of the inner channel checks weve done, at least the last one. But
                                                                                                                 youre not seeing it, which is really great, and you had a good quarter. Is
                                                                                                                 this really that the pressures dont exist? Or is there something about

                                                                                 99
                                                                                   Complaint, ¶143, citing Acadia 2Q17 earnings conference call, July 28, 2017. The conference call was held at 9:00 A.M. See, Acadia Healthcare Announces Date for
                                                                                  Second Quarter 2017 Earnings Release, GlobeNewswire, July 6, 2017. Emphasis original.
                                                                                                                                                                                                                                                               Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 98 of 107




                                                                                 102   Complaint, ¶154.

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                                                                                                                                            Alleged US-Based Misrepresentations

Misrep#                                                                                Date           Event                           Alleged US-Based Misrepresentation                          Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                                    being a bestin- class in-patient operator, [and you know], can you talk
                                                                                                                    about what that might be that makes you able to avert that better?
                                                                                                                    [Jacobs:] Well, Ana, yes, we had a terrific quarter. Second quarter was
                                                                                                                    terrific. But you can look at the year-to-date numbers, and theyre
                                                                                                                    terrific. We  obviously, I think, our team is better than other people,
                                                                                                                    other companies. Obviously, I think that. We cheerlead that. I think a
                                                                                                                    factor that you cant quantify is  and Ron and all the senior
                                                                                                                    management, we have a  very much a different culture inside Acadia.
                                                                                                                    And we try to have a lot of fun, and we try to work hard, and we try to
                                                                                                                    hit our expectations, and we happen to be in markets where we can do
                                                                                                                    that. So  and the length of stay, it may go down for us. But so far, we
                                                                                                                    dont see that and we havent really seen it in the past. When acute
                                                                                                                    patient days  length of stay is 9.5 days, and if you go back to the
                                                                                                                    industry studies, this has been since the mid-90s. Average length of
                                                                                                                    stay for adults has been in the 9 to 10 days. And we are right in the
                                                                                                                    middle of that for the second quarter. So  and it could be just the
                                                                                                                    composition of our programs and our beds and our markets. And  but
                                                                                                                    more importantly, my hats off to our operations team. Ron and that
                                                                                                                    group are unbelievable.100
M39                                                                                     8/18/17 424B7               The August 18, 2017 prospectus supplement incorporated by reference         See M27 and M31
                                                                                                Prospectus          [ ] the FY 2016 Form 10-K and Q1 2017 Form 10-Q[.]103
M40                                                                                      9/6/17 Robert W.           [Benjamin Whitman Mayo  Robert W. Baird Analyst:] Maybe                    At the conference, Jacobs was asked to provide an update on
                                                                                                Baird Global        shifting gears to labor and clinical staff shortages. This has gotten some   the labor and staffing challenges Acadia was facing105
                                                                                                Healthcare          attention in the marketplace in the past year. How would you describe
                                                                                                Conference          the challenges of finding psychiatrists to cover your hospitals, finding

                                                                                 100
                                                                                   Complaint, ¶154, citing Acadia 2Q17 earnings conference call, July 28, 2017. The conference call was held at 9:00 A.M. See, Acadia Healthcare Announces Date for
                                                                                  Second Quarter 2017 Earnings Release, GlobeNewswire, July 6, 2017.
                                                                                 103
                                                                                       Complaint, ¶128, citing Acadia Form 424B7, filed August 18, 2017, 4:31 P.M.
                                                                                                                                                                                                                                                                Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 99 of 107




                                                                                 105   Complaint, ¶144.

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                                                                                                                       Alleged US-Based Misrepresentations

Misrep#                                                                          Date   Event                    Alleged US-Based Misrepresentation                           Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                the appropriate nurses. You guys seem to manage through it pretty well
                                                                                                over time. This is all you do. You have a lot of resources from a
                                                                                                recruiting standpoint, so just any update on labor churn.
                                                                                                [Jacobs:] Sure. We started about 5 years ago creating a dedicated
                                                                                                unit just to find psychiatrists for our facilities, and that has been
                                                                                                money well spent. And were continuing to add resources there. We
                                                                                                have been able to find an appropriate amount of psychiatrists to
                                                                                                grow the company. And when youre putting up 6% same-store
                                                                                                growth on patient days, youre going to need physicians and nurses.
                                                                                                Now on the physician side, thats another reason why were doing the
                                                                                                joint venture opportunities with the universities is that we would be able
                                                                                                to get first access to the graduates coming out of those programs, so we
                                                                                                can introduce them to Acadia. And quite frankly, if you remember the
                                                                                                map here in the U.S., we have opportunities from coast to coast for
                                                                                                physicians. So we have a great team there, and theyre doing a good job
                                                                                                for us. Now on the nurses side, thats more of a local issue. Our CEO
                                                                                                and HR Director are responsible for recruiting and finding the nurses at
                                                                                                the local level. The market is tighter. When youre running
                                                                                                unemployment at 4.3%, 4.4% for the whole country, that means there
                                                                                                are tightness in some markets. Some of our markets are very oscillated,
                                                                                                so its tougher there to have that nurse or find that nurse to live in that
                                                                                                location. But weve been able to do that and have been very creative
                                                                                                in finding ways to not only recruit nurses but psychiatrists. So we
                                                                                                continue to add resources to that and try to think out of the box on that.
                                                                                                And for example, weve kicked around the idea of starting our own
                                                                                                staffing company, more so for the U.K. than the U.S. The nursing
                                                                                                shortages is much more acute in the U.K. They have plenty of
                                                                                                physicians. But the nurses, they do not have. So were looking at other
                                                                                                ways of finding and keeping employees for our company. And so its an
                                                                                                                                                                                                                                          Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 100 of 107




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                                                                                                                                              Alleged US-Based Misrepresentations

Misrep#                                                                                 Date            Event                          Alleged US-Based Misrepresentation                              Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                                      ongoing process. But as you mentioned, Whit, weve been able to
                                                                                                                      manage through it.104
M41                                                                                     10/25/17 3Q17 10-Q            Our business strategy is to acquire and develop behavioral healthcare          Acadia consistently touted its high-quality services as a
                                                                                                                      facilities and improve our operating results within our facilities and our      key factor in improving its operating results in its Forms 10-K,
                                                                                                                      other behavioral healthcare operations. We strive to improve the                signed by Jacobs and Duckworth, and in its Forms 10-Q,
                                                                                                                      operating results of our facilities by providing high-quality services,         signed by Duckworth107
                                                                                                                      expanding referral networks and marketing initiatives while meeting the
                                                                                                                      increased demand for behavioral healthcare services through expansion
                                                                                                                      of our current locations as well as developing new services within
                                                                                                                      existing locations.106
M42                                                                                      2/27/18 FY17 10-K            Our business strategy is to acquire and develop behavioral healthcare          Acadia consistently touted its high-quality services as a
                                                                                                                      facilities and improve our operating results within our facilities and our      key factor in improving its operating results in its Forms 10-K,
                                                                                                                      other behavioral healthcare operations. We strive to improve the                signed by Jacobs and Duckworth, and in its Forms 10-Q,
                                                                                                                      operating results of our facilities by providing quality patient care,          signed by Duckworth111
                                                                                                                      expanding referral networks and marketing initiatives while meeting the
                                                                                                                      increased demand for behavioral healthcare services through expansion           Throughout the Class Period, Acadia also stressed in its
                                                                                                                      of our current locations as well as developing new services within              Forms 10-K that the Companys growth strategy based on
                                                                                                                      existing locations108                                                          strategic acquisitions emphasized quality of service112

                                                                                                                      Management believes our focus on behavioral healthcare and history of          Throughout the Class Period, Acadia consistently assured
                                                                                                                                                                                                      investors that it was in substantial compliance with all

                                                                                  104
                                                                                    Complaint, ¶144, citing Acadia presentation at 2017 Robert W. Baird Global Healthcare Conference, September 6, 2017. Acadia presented at 2:35 P.M. See, Acadia
                                                                                   Healthcare to Present at Baird and Wells Fargo Healthcare Conferences, BusinessWire, August 30, 2017. Emphasis original.
                                                                                  106
                                                                                        Complaint, ¶112, citing Acadia 3Q17 Form 10-Q, filed October 10, 2017, 4:32 P.M., p. 31. Emphasis original.
                                                                                  107   Complaint, ¶112.
                                                                                  108
                                                                                        Complaint, ¶112, citing Acadia FY17 Form 10-K, filed February 27, 2018, 5:17 P.M., p. 1. Emphasis original.
                                                                                  111
                                                                                        Complaint, ¶112.
                                                                                                                                                                                                                                                                     Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 101 of 107




                                                                                  112   Complaint, ¶113.

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                                                                                                                                              Alleged US-Based Misrepresentations

Misrep#                                                                                 Date            Event                          Alleged US-Based Misrepresentation                               Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                                     completing acquisitions provides us with a strategic advantage in                 regulatory requirements in its Forms 10-K, signed by Jacobs
                                                                                                                     sourcing, evaluating and closing acquisitions. We leverage our                    and Duckworth113
                                                                                                                     management teams expertise to identify and integrate acquisitions
                                                                                                                     based on a disciplined acquisition strategy that focuses on quality of
                                                                                                                     service, return on investment and strategic benefits. We also have a
                                                                                                                     comprehensive post-acquisition strategic plan to facilitate the
                                                                                                                     integration of acquired facilities that includes improving facility
                                                                                                                     operations, retaining and recruiting psychiatrists and other healthcare
                                                                                                                     professionals and expanding the breadth of services offered by the
                                                                                                                     facilities.109

                                                                                                                     The healthcare industry is subject to numerous laws, regulations and
                                                                                                                     rules including, among others, those related to government healthcare
                                                                                                                     program participation requirements, various licensure and accreditation
                                                                                                                     standards, reimbursement for patient services, health information
                                                                                                                     privacy and security rules, and government healthcare program fraud
                                                                                                                     and abuse provisions. Providers that are found to have violated any of
                                                                                                                     these laws and regulations may be excluded from participating in
                                                                                                                     government healthcare programs, subjected to loss or limitation of
                                                                                                                     licenses to operate, subjected to significant fines or penalties and/or
                                                                                                                     required to repay amounts received from the government for previously
                                                                                                                     billed patient services. Management believes that we are in
                                                                                                                     substantial compliance with all applicable laws and regulations and
                                                                                                                     is not aware of any material pending or threatened investigations
                                                                                                                     involving allegations of wrongdoing.110


                                                                                  109
                                                                                        Complaint, ¶113, citing Acadia FY17 Form 10-K, filed February 27, 2018, 5:17 P.M., p. 1 Emphasis original.
                                                                                  110
                                                                                        Complaint, ¶150, citing Acadia FY17 Form 10-K, filed February 27, 2018, 5:17 P.M., p. 10. Emphasis original.
                                                                                                                                                                                                                                                                     Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 102 of 107




                                                                                  113   Complaint, ¶150.

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                                                                                                                                             Alleged US-Based Misrepresentations

Misrep#                                                                                 Date            Event                          Alleged US-Based Misrepresentation                          Plaintiffs Characterization of Alleged Misrepresentation

M43                                                                                       5/2/18 1Q18                [Frank Morgan  RBC Analyst:] And part 2 would just be  just maybe         On the earnings call, Jacobs reiterated that the tight U.S.
                                                                                                 Conference          talk about labor in the U.S. We still hear a lot of questions and concerns   labor market would not impede Acadias growth plan115
                                                                                                 Call                about the labor markets, particularly with behavioral health care in the
                                                                                                                     U.S. What youre seeing and your thoughts on the outlook there.
                                                                                                                     [Jacobs:] And then, in the U.S., the labor market is tight as
                                                                                                                     everybody knows, but its not keeping us from building our facilities
                                                                                                                     and finding the staff to open our beds and to grow our beds. So there
                                                                                                                     is pressure there, but our teams here in the U.S. are doing a great job of
                                                                                                                     managing through that. But there are isolated markets where its tougher
                                                                                                                     than other ones, but were working through that here in the U.S. And I
                                                                                                                     feel good about where were at today and the beds that were building
                                                                                                                     and that well be able to get them open.114
M44                                                                                       5/3/18 1Q18 10-Q           Our business strategy is to acquire and develop behavioral healthcare       Acadia consistently touted its high-quality services as a
                                                                                                                     facilities and improve our operating results within our facilities and our   key factor in improving its operating results in its Forms 10-K,
                                                                                                                     other behavioral healthcare operations. We strive to improve the             signed by Jacobs and Duckworth, and in its Forms 10-Q,
                                                                                                                     operating results of our facilities by providing high-quality services,      signed by Duckworth117
                                                                                                                     expanding referral networks and marketing initiatives while meeting the
                                                                                                                     increased demand for behavioral healthcare services through expansion
                                                                                                                     of our current locations as well as developing new services within
                                                                                                                     existing locations116
M45                                                                                      5/16/18 Bank of             [Kevin Marx Fischbeck  BofA Merrill Lynch Analyst:] And I guess,           On May 16, 2018, Jacobs and Turner presented to investors,
                                                                                                 America             maybe moving back to the U.S. Its really interesting how, I guess, in       analysts and market participants at the Bank of America
                                                                                                 Merrill Lynch       the U.K. youve had a harder  youve been hit harder by the labor side      Merrill Lynch Health Care Conference on behalf of Acadia,


                                                                                  114
                                                                                    Complaint, ¶145, citing Acadia 1Q18 earnings conference call, May 2, 2018. The conference call was held at 9:00 A.M. See, Acadia Healthcare Announces Date for First
                                                                                   Quarter 2018 Earnings Release, GlobeNewswire, April 9, 2018. Emphasis original.
                                                                                  115   Complaint, ¶145.
                                                                                  116
                                                                                        Complaint, ¶112, citing Acadia 1Q18 Form 10-Q, filed May 3, 2018, 4:07 P.M., p. 29. Emphasis original.
                                                                                                                                                                                                                                                                 Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 103 of 107




                                                                                  117   Complaint, ¶112.

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                                                                                                                                         Alleged US-Based Misrepresentations

Misrep#                                                                                 Date           Event                       Alleged US-Based Misrepresentation                            Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                   Health Care    and UHS wasnt. And then in the U.S., UHS was being hit harder by the         where Turner was questioned about the difference in labor
                                                                                                   Conference     labor side than you were. I mean, how do you think about the labor            challenges between Acadias U.S. and U.K. business
                                                                                                                  rates? And is that a gating factor at all to kind of how you think about      operations119
                                                                                                                  growth?
                                                                                                                  [Turner:] Well, I think its important to note, both in the U.S. and U.K.,
                                                                                                                  were not in the same markets as UHS, right? And then quite frankly, in
                                                                                                                  the U.K., some of their service lines, theyre not as deep in the service
                                                                                                                  lines that we are. So its hard to even compare what theyre having and
                                                                                                                  what were having. Weve been very fortunate in the U.S. to have,
                                                                                                                  with the exception of maybe a few markets, to really have been able
                                                                                                                  to not just maintain our staffing, right? Were increasing staffing
                                                                                                                  because of the volume increases, the bed additions, and weve been
                                                                                                                  able to do that within our 2% to 3% merit increases. So I was
                                                                                                                  speaking with a group earlier in a meeting, and were having to
                                                                                                                  work harder to do that. Weve got to expand our corporate
                                                                                                                  recruiting for talent in the field. Its a much bigger department than
                                                                                                                  it used to be and its much more dedicated and concentrated. But
                                                                                                                  they are helping our facilities recruit and our benefit plans from our HR
                                                                                                                  departments are competitive. And so we just have to kind of continue to
                                                                                                                  be a preferred employer, be a good place for these people to work
                                                                                                                  because they have a commitment to behavioral health. And so if were
                                                                                                                  going to be a market leader, were going to continue to hopefully be a
                                                                                                                  preferred employer in those markets. But having said that, its full
                                                                                                                  employment data across the country. So its not easy, but were making
                                                                                                                  it work.118



                                                                                  118
                                                                                    Complaint, ¶146, citing Acadia presentation at 2018 Bank of America Merrill Lynch Healthcare Conference, May 16, 2018. Acadia presented at 1:40 P.M. See, Acadia
                                                                                   Healthcare to Present at the Bank of America Merrill Lynch 2018 Health Care Conference, BusinessWire, May 8, 2018. Emphasis original.
                                                                                                                                                                                                                                                             Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 104 of 107




                                                                                  119   Complaint, ¶146.

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                                                                                                                                              Alleged US-Based Misrepresentations

Misrep#                                                                                 Date            Event                           Alleged US-Based Misrepresentation                           Plaintiffs Characterization of Alleged Misrepresentation

M46                                                                                      7/31/18 2Q18 10-Q            Our business strategy is to acquire and develop behavioral healthcare        Acadia consistently touted its high-quality services as a
                                                                                                                      facilities and improve our operating results within our facilities and our    key factor in improving its operating results in its Forms 10-K,
                                                                                                                      other behavioral healthcare operations. We strive to improve the              signed by Jacobs and Duckworth, and in its Forms 10-Q,
                                                                                                                      operating results of our facilities by providing high-quality services,       signed by Duckworth121
                                                                                                                      expanding referral networks and marketing initiatives while meeting the
                                                                                                                      increased demand for behavioral healthcare services through expansion
                                                                                                                      of our current locations as well as developing new services within
                                                                                                                      existing locations120
M47                                                                                      7/31/18 2Q18                 [Albert J. Rice  Credit Suisse Analyst:] Okay. And on  my follow-up        On the earnings call, Jacobs once again represented that
                                                                                                 Conference           on the labor cost, you were up about 80 basis points. Professional fees       Acadia was able to recruit sufficient staff for its facilities123
                                                                                                 Call                 was well contained, so maybe there wasnt much contract labor. I think
                                                                                                                      thats more on that line. But can you just drill down a little bit more? Is
                                                                                                                      this still mostly U.K.? Or are you seeing pressure in the U.S. as well?
                                                                                                                      And what are you attributing it? Is it Brexit? Is it NHS moves or just the
                                                                                                                      underlying market trend?
                                                                                                                      [Jacobs:] Okay. Overall, the U.S. market is tight, but were able to
                                                                                                                      find the personnel to open up our beds and staff our facilities. So 
                                                                                                                      but it is tight here in the U.S. In the U.K., that is where there is more
                                                                                                                      of the acute shortage, and its all around immigration and allowing
                                                                                                                      workers to enter the U.K. And Brexit, as you know, put many obstacles
                                                                                                                      in place, but the NHS and the government both are working towards
                                                                                                                      freeing that up. And right now, you can recruit nurses from the
                                                                                                                      Commonwealth countries and bring them into the U.K., and were
                                                                                                                      working on that as we speak. The acute part of the labor shortage for the
                                                                                                                      company is in the U.K. But here in the U.S., when you have labor


                                                                                  120
                                                                                        Complaint, ¶112, citing Acadia 2Q18 Form 10-Q, filed July 31, 2018, 4:17 P.M., p. 31. Emphasis original.
                                                                                  121
                                                                                        Complaint, ¶112.
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                                                                                  123   Complaint, ¶147.

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                                                                                                                                             Alleged US-Based Misrepresentations

Misrep#                                                                                 Date            Event                          Alleged US-Based Misrepresentation                              Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                                     market, when you have unemployment under 4%, there are certain labor
                                                                                                                     markets that are tight.122
M48                                                                                      11/6/18 3Q18 10-Q           Our business strategy is to acquire and develop behavioral healthcare           Acadia consistently touted its high-quality services as a
                                                                                                                     facilities and improve our operating results within our facilities and our       key factor in improving its operating results in its Forms 10-K,
                                                                                                                     other behavioral healthcare operations. We strive to improve the                 signed by Jacobs and Duckworth, and in its Forms 10-Q,
                                                                                                                     operating results of our facilities by providing high-quality services,          signed by Duckworth125
                                                                                                                     expanding referral networks and marketing initiatives while meeting the
                                                                                                                     increased demand for behavioral healthcare services through expansion
                                                                                                                     of our current locations as well as developing new services within
                                                                                                                     existing locations124
M49                                                                                      11/6/18 3Q18                [Albert J. William Rice  Credit Suisse Analyst:] Maybe 2 questions, if         On the earnings call, Jacobs avoided discussing the
                                                                                                 Conference          I could. First of all, theres also been some reporting  particularly           regulatory issues that had been revealed by Aurelius Value the
                                                                                                 Call                mainly in the financial press this quarter about regulatory issues that          month before127
                                                                                                                     maybe the companys been facing. And I wanted to give you a chance to
                                                                                                                     give any comments youd like to give about that and then also to ask
                                                                                                                     you in the aftermath because it didnt seem to get picked up in the
                                                                                                                     popular press. I would think there hasnt been any change in your
                                                                                                                     interaction with regulators, but just to ask whether that is indeed the
                                                                                                                     case.
                                                                                                                     [Jacobs:] Sure, A.J. Referring to the statement Ive made in previous
                                                                                                                     earnings calls concerning regulatory issues at a few of our facilities, Im
                                                                                                                     pleased to announce that all of those have been resolved and that those
                                                                                                                     facilities do not have admission holds as of this time. As you know,


                                                                                  122
                                                                                    Complaint, ¶147, citing Acadia 2Q18 earnings conference call, July 31, 2018. The conference call was held at 9:00 A.M. See, Acadia Healthcare Announces Date for
                                                                                   Second Quarter 2018 Earnings Release, GlobeNewswire, July 16, 2018. Emphasis original.
                                                                                  124
                                                                                        Complaint, ¶112, citing Acadia 3Q18 Form 10-Q, filed November 6, 2018, 4:34 P.M., p. 31. Emphasis original.
                                                                                  125
                                                                                        Complaint, ¶112.
                                                                                                                                                                                                                                                                       Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 106 of 107




                                                                                  127   Complaint, ¶156.

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                                                                                                                                         Alleged US-Based Misrepresentations

Misrep#                                                                                 Date        Event                          Alleged US-Based Misrepresentation                             Plaintiffs Characterization of Alleged Misrepresentation

                                                                                                                  A.J., were a large company with a large number of facilities. So at any
                                                                                                                  time  and at any time, we can have an inspection go bad or an incident
                                                                                                                  occur or an investigation be instigated. So  but Im pleased to report
                                                                                                                  that for the ones weve been talking about this year, those facilities have
                                                                                                                  their admission holds removed and have their license and are building
                                                                                                                  back their census.126




                                                                                  126
                                                                                                                                                                                                                                                              Case 1:22-mc-00144 Document 3-11 Filed 05/20/22 Page 107 of 107




                                                                                     Complaint, ¶156, citing Acadia 2Q18 earnings conference call, November 6, 2018. The conference call was held at 9:00 A.M. See, Acadia Healthcare Announces Date
                                                                                   for Third Quarter 2018 Earnings Release, GlobeNewswire, October 24, 2018.

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